Case: 25-1160   Document: 00118278510      Page: 1     Date Filed: 04/29/2025   Entry ID: 6717150




                                         No. 25-1160
                        UNITED STATES COURT OF APPEALS
                                For The First Circuit
            ANDREA BECKWITH; EAST COAST SCHOOL OF SAFETY; NANCY
              COSHOW; JAMES WHITE; J. WHITE GUNSMITHING; ADAM
            HENDSBEE; THOMAS COLE; TLC GUNSMITHING AND ARMORY;
                              A&G SHOOTING,
                                      Plaintiffs-Appellees,
                                               v.
                      AARON M. FREY, in their personal capacity and in
                      their official capacity as Attorney General of Maine,
                                     Defendant-Appellant.

        ON APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE
               DISTRICT OF MAINE (CASE NO. 1:24-cv-00384-LEW)

                                          APPENDIX




                                                 AARON M. FREY
                                                 Attorney General

                                                 CHRISTOPHER C. TAUB
                                                 Chief Deputy Attorney General
                                                 THOMAS A. KNOWLTON
                                                 Deputy Attorney General
                                                 Chief, Litigation Division
                                                 PAUL SUITTER
                                                 Assistant Attorney General
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                                                 Attorneys for Defendant-Appellant
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                                                                                                            APPEAL,STANDARD

                                             U.S. District Court
                                         District of Maine (Bangor)
                                CIVIL DOCKET FOR CASE #: 1:24-cv-00384-LEW


  BECKWITH et al v. FREY                                                              Date Filed: 11/12/2024
  Assigned to: JUDGE LANCE E. WALKER                                                  Jury Demand: None
  Referred to: MAGISTRATE JUDGE KAREN FRINK WOLF                                      Nature of Suit: 950 Constitutional - State
  Case in other court: First Circuit Court of Appeals, 25-01160                       Statute
  Cause: 42:1983 Civil Rights Act                                                     Jurisdiction: Federal Question

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  Plaintiff
  EAST COAST SCHOOL OF SAFETY                                            represented by ERIN E. MURPHY
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  Plaintiff
  NANCY COSHOW                                                           represented by ERIN E. MURPHY
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                                                                                        PAUL D. CLEMENT
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  Plaintiff
  JAMES WHITE                                                            represented by ERIN E. MURPHY
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  Plaintiff
  J WHITE GUNSMITHING                                                    represented by ERIN E. MURPHY
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  Plaintiff
  ADAM HENDSBEE                                                          represented by ERIN E. MURPHY
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  Plaintiff
  A&G SHOOTING                                                           represented by ERIN E. MURPHY
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  Plaintiff
  THOMAS COLE                                                            represented by ERIN E. MURPHY
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  TLC GUNSMITHING AND ARMORY                                             represented by ERIN E. MURPHY
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                                                                                      PAUL D. CLEMENT
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  V.
  Defendant
  AARON FREY                                                             represented by CHRISTOPHER C. TAUB
  in his personal capacity and in his official                                          OFFICE OF THE ATTORNEY GENERAL
  capacity as Attorney General of Maine                                                 STATE HOUSE STATION 6
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  Amicus
  MAINE COALITION TO END                                                 represented by JULIA BRENNAN MACDONALD
  DOMESTIC VIOLENCE                                                                     (See above for address)
                                                                                        LEAD ATTORNEY
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  Amicus
  MAINE ASSOCIATION OF                                                   represented by JULIA BRENNAN MACDONALD
  PSYCHIATRIC PHYSICIANS                                                                (See above for address)
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  Amicus
  BRADY CENTER TO PREVENT GUN                                            represented by JULIA BRENNAN MACDONALD
  VIOLENCE                                                                              (See above for address)
                                                                                        LEAD ATTORNEY
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  Amicus
  GIFFORDS LAW CENTER TO                                                 represented by JULIA BRENNAN MACDONALD
  PREVENT GUN VIOLENCE                                                                  (See above for address)
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                                                                                        ATTORNEY TO BE NOTICED


   Date Filed            #    Docket Text
   11/12/2024            1 COMPLAINT against AARON FREY PAYMENT OF FILING FEE DUE WITHIN 48 HOURS. IF
                              FILING FEE IS BEING PAID WITH A CREDIT CARD COUNSEL ARE INSTRUCTED TO LOGIN
                              TO CMECF AND DOCKET Case Opening Filing Fee Paid FOUND IN THE Complaints and Other
                              Initiating Documents CATEGORY. CHECK PAYMENTS DUE WITHIN 48 HOURS., filed by ADAM
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                            HENDSBEE, EAST COAST SCHOOL OF SAFETY, JAMES WHITE, J WHITE
                            GUNSMITHING, TLC GUNSMITHING AND ARMORY, ANDREA BECKWITH,
                            THOMAS COLE, NANCY COSHOW. (Service of Process Deadline 2/10/2025) Fee due
                            by 11/14/2024. (Attachments: # 1 Exhibit A Declaration of Andrea Beckwith, # 2 Exhibit B
                            Declaration of Nancy Coshow, # 3 Exhibit C Declaration of James White, # 4 Exhibit D
                            Declaration of Adam Hendsbee, # 5 Exhibit E Declaration of Thomas Cole)(cjd) (Entered:
                            11/13/2024)
   11/12/2024            2 CIVIL COVER SHEET. (cjd) (Entered: 11/13/2024)
   11/12/2024            3 RULE 7.1 DISCLOSURE STATEMENT by ANDREA BECKWITH, THOMAS COLE,
                           NANCY COSHOW, EAST COAST SCHOOL OF SAFETY, ADAM HENDSBEE, J
                           WHITE GUNSMITHING, TLC GUNSMITHING AND ARMORY, JAMES WHITE. (cjd)
                           (Entered: 11/13/2024)
   11/12/2024            4 MOTION for Preliminary Injunction by ANDREA BECKWITH, THOMAS COLE,
                           NANCY COSHOW, EAST COAST SCHOOL OF SAFETY, ADAM HENDSBEE, J
                           WHITE GUNSMITHING, TLC GUNSMITHING AND ARMORY, JAMES WHITE (cjd)
                           (Entered: 11/13/2024)
   11/13/2024                 Filing Fee Paid via Credit Card ( Filing fee $ 405 receipt number AMEDC-3028254.), filed
                              by ANDREA BECKWITH.(SINGER, BRENT) (Entered: 11/13/2024)
   11/13/2024            5 Summons Issued as to All Defendants.

                              Counsel shall print the embossed summons and effect service in the manner in
                              accordance with Fed.R.Civ.P.4.

                              Note-If you are using Version 6 of Adobe Acrobat, be sure the PRINT WHAT field is
                              set to DOCUMENTS AND COMMENTS (Click File, then Print to check this setting).

                              (Attachments: # 1 Summons to Aaron Frey Personally)(cjd) (Entered: 11/13/2024)
   11/13/2024                 Case Randomly Reassigned to JUDGE LANCE E. WALKER. (mlm) (Entered:
                              11/13/2024)
   11/13/2024            6 CERTIFICATION for Admission Pro Hac Vice of Paul D. Clement filed by JOSHUA A.
                           TARDY on behalf of ANDREA BECKWITH, THOMAS COLE, NANCY COSHOW,
                           EAST COAST SCHOOL OF SAFETY, ADAM HENDSBEE, J WHITE GUNSMITHING,
                           TLC GUNSMITHING AND ARMORY, JAMES WHITE (Total admission fee $ 200
                           receipt number AMEDC-3028390.) The District of Maine is a CM/ECF NextGen Court. If
                           PHV counsel has not previously been granted electronic filing rights with the District of
                           Maine, PHV counsel will now need to submit a PRO HAC VICE request in this District
                           via PACER at www.pacer.uscourts.gov (TARDY, JOSHUA) (Entered: 11/13/2024)
   11/13/2024            7 CERTIFICATION for Admission Pro Hac Vice of Kevin Wynosky filed by JOSHUA A.
                           TARDY on behalf of ANDREA BECKWITH, THOMAS COLE, NANCY COSHOW,
                           EAST COAST SCHOOL OF SAFETY, ADAM HENDSBEE, J WHITE GUNSMITHING,
                           TLC GUNSMITHING AND ARMORY, JAMES WHITE (Total admission fee $ 200
                           receipt number AMEDC-3028401.) The District of Maine is a CM/ECF NextGen Court. If
                           PHV counsel has not previously been granted electronic filing rights with the District of
                           Maine, PHV counsel will now need to submit a PRO HAC VICE request in this District
                           via PACER at www.pacer.uscourts.gov (TARDY, JOSHUA) (Entered: 11/13/2024)
   11/13/2024            8 CERTIFICATION for Admission Pro Hac Vice of Matthew D. Rowen filed by JOSHUA
                           A. TARDY on behalf of ANDREA BECKWITH, THOMAS COLE, NANCY COSHOW,
                           EAST COAST SCHOOL OF SAFETY, ADAM HENDSBEE, J WHITE GUNSMITHING,
                           TLC GUNSMITHING AND ARMORY, JAMES WHITE (Total admission fee $ 200
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                                                                            Filed: 04/29/2025       Entry ID: 6717150
                            receipt number AMEDC-3028403.) The District of Maine is a CM/ECF NextGen Court. If
                            PHV counsel has not previously been granted electronic filing rights with the District of
                            Maine, PHV counsel will now need to submit a PRO HAC VICE request in this District
                            via PACER at www.pacer.uscourts.gov (TARDY, JOSHUA) Modified on 11/18/2024 to
                            add name of pro hac vice attorney (mlm). (Entered: 11/13/2024)
   11/13/2024            9 CERTIFICATION for Admission Pro Hac Vice of Erin E. Murphy filed by JOSHUA A.
                           TARDY on behalf of ANDREA BECKWITH, THOMAS COLE, NANCY COSHOW,
                           EAST COAST SCHOOL OF SAFETY, ADAM HENDSBEE, J WHITE GUNSMITHING,
                           TLC GUNSMITHING AND ARMORY, JAMES WHITE (Total admission fee $ 200
                           receipt number AMEDC-3028409.) The District of Maine is a CM/ECF NextGen Court. If
                           PHV counsel has not previously been granted electronic filing rights with the District of
                           Maine, PHV counsel will now need to submit a PRO HAC VICE request in this District
                           via PACER at www.pacer.uscourts.gov (TARDY, JOSHUA) (Entered: 11/13/2024)
   11/13/2024           10 NOTICE of APPROVAL by Clerk's Office re 8 Certification for Admission Pro Hac Vice,,
                           7 Certification for Admission Pro Hac Vice,, 9 Certification for Admission Pro Hac Vice,,
                           6 Certification for Admission Pro Hac Vice,, Attorney PAUL D. CLEMENT,KEVIN
                           WYNOSKY,ERIN E. MURPHY,MATTHEW D. ROWEN added for all plaintiffs to this
                           specific case only.

                              Maine has transitioned to the NextGen ECF filing system; therefore, to complete the
                              admissions process, Attorney Clement, Wynosky, Rowen, and Murphy must register for a
                              PACER account and/or request the appropriate e-filing rights in the District of Maine via
                              PACER at www.pacer.uscourts.gov by 11/20/2024. NOTE: Counsel appearing Pro Hac
                              Vice MUST click on the PRO HAC VICE link when requesting e-filing rights via PACER.
                              For more details on NextGen/PACER go to our website at www.med.uscourts.gov. (lrt)
                              (Entered: 11/13/2024)
   11/22/2024           11 Consent MOTION to Extend Time to File Answer to Complaint, CONSENT MOTION to
                           Set Briefing Schedule by AARON FREY (KNOWLTON, THOMAS). Modified on
                           11/25/2024 to add motion part and clean up docket text (clp). (Entered: 11/22/2024)
   11/25/2024           12 ORDER granting 11 CONSENT Motion to Extend time to File Answer to Complaint,
                           CONSENT MOTION to Set Briefing Schedule By JUDGE LANCE E. WALKER. (clp)
                           (Entered: 11/25/2024)
   11/25/2024                 Set Deadlines per order no. 12: Answer Deadline as to AARON FREY due by 1/31/2025;
                              Deadlines as to 4 MOTION for Preliminary Injunction-Responses due by 1/3/2025, Reply
                              due by 1/17/2025. (clp) (Entered: 11/25/2024)
   01/03/2025           13 RESPONSE in Opposition re 4 MOTION for Preliminary Injunction filed by AARON
                           FREY. Reply due by 1/17/2025. (Attachments: # 1 Exhibit 1 - Rep. Cloutier Test (LD
                           2238, # 2 Exhibit 2 - Rep. Craven Test. (LD 2238), # 3 Exhibit 3 - Rep. Speaker Talbot
                           Ross Test. (LD 2238 & LD 2224), # 4 Exhibit 4 - Sen. Rotundo Test. (LD 2238 & LD
                           2224), # 5 Exhibit 5 - Rep. Rielly Test. (LD 2238), # 6 Exhibit 6 - Sen. Vitelli Test. (LD
                           2238), # 7 Exhibit 7 - Rep. Zager Test. (LD 2238), # 8 Exhibit 8 - AAP Report, # 9 Exhibit
                           9 - Handgun Waiting Periods Reduce Gun Deaths (Luca, M), # 10 Exhibit 10 - Anderson
                           Test. (LD 2238), # 11 Exhibit 11 - Cain Test. (LD 2238 & LD 2224), # 12 Exhibit 12 -
                           Stark Test. (LD 2238), # 13 Exhibit 13 - Moltz Test. (LD 2238), # 14 Exhibit 14 - Maine
                           CDCP Report to the Legislature, Feb 2023)(TAUB, CHRISTOPHER) (Entered:
                           01/03/2025)
   01/03/2025           14 NOTICE of Appearance by PAUL E. SUITTER on behalf of AARON FREY (SUITTER,
                           PAUL) (Entered: 01/03/2025)


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   01/03/2025           15 AFFIDAVIT of Robert Spitzer re 13 Response in Opposition to Motion,,, filed by AARON
                           FREY. (Attachments: # 1 Exhibit A - vita2024, # 2 Exhibit B - Table Intoxication
                           GunsLaws, # 3 Exhibit C - Intoxication Weapons Laws, # 4 Exhibit D - Table Licensing
                           Laws, # 5 Exhibit E - LicenseLaws)(TAUB, CHRISTOPHER) (Entered: 01/03/2025)
   01/03/2025           16 AFFIDAVIT of John Donohue re 13 Response in Opposition to Motion,,, filed by AARON
                           FREY. (Attachments: # 1 Exhibit A - Donohue CV)(TAUB, CHRISTOPHER) (Entered:
                           01/03/2025)
   01/03/2025           17 AFFIDAVIT of Randolph Roth re 13 Response in Opposition to Motion,,, filed by
                           AARON FREY. (Attachments: # 1 Exhibit A - Roth CV)(TAUB, CHRISTOPHER)
                           (Entered: 01/03/2025)
   01/10/2025           18 Consent MOTION for Leave to File Amicus Curiae Brief by MAINE GUN SAFETY
                           COALITION, MAINE COALITION TO END DOMESTIC VIOLENCE, MAINE
                           ASSOCIATION OF PSYCHIATRIC PHYSICIANS, BRADY CENTER TO PREVENT
                           GUN VIOLENCE, GIFFORDS LAW CENTER TO PREVENT GUN VIOLENCE
                           Responses due by 1/31/2025. (Attachments: # 1 Exhibit A - Proposed Amicus Curiae
                           Brief)(MACDONALD, JULIA) (Entered: 01/10/2025)
   01/10/2025           19 ORDER granting 18 Motion for Leave to File Amicus Curiae Brief By JUDGE LANCE E.
                           WALKER. (clp) (Entered: 01/10/2025)
   01/10/2025           20 AMICUS BRIEF re 13 Response in Opposition to Motion by MAINE GUN SAFETY
                           COALITION, MAINE COALITION TO END DOMESTIC VIOLENCE, MAINE
                           ASSOCIATION OF PSYCHIATRIC PHYSICIANS, BRADY CENTER TO PREVENT
                           GUN VIOLENCE, GIFFORDS LAW CENTER TO PREVENT GUN VIOLENCE.
                           (MACDONALD, JULIA) Modified on 1/10/2025 to add Amicus language (clp). (Entered:
                           01/10/2025)
   01/14/2025           21 NOTICE of Hearing on Motion 4 MOTION for Preliminary Injunction: Motion Hearing
                           set for 2/11/2025 at 11:00 AM in Portland Courtroom 1 before JUDGE LANCE E.
                           WALKER. (clp) (Entered: 01/14/2025)
   01/17/2025           22 **FILED IN ERROR* REPLY to Response to Motion re 4 MOTION for Preliminary
                           Injunction RELIEF filed by MAINE GUN SAFETY COALITION. (HOCKENBURY,
                           MICHAEL) Modified on 1/17/2025 to add filed in error notation-this was re-filed at ECF
                           No. 24 (clp). (Entered: 01/17/2025)
   01/17/2025           23 **FILED IN ERROR** RESPONSE in Opposition re 4 MOTION for Preliminary
                           Injunction RELIEF filed by ADAM HENDSBEE, MAINE GUN SAFETY COALITION,
                           MAINE COALITION TO END DOMESTIC VIOLENCE, MAINE ASSOCIATION OF
                           PSYCHIATRIC PHYSICIANS, BRADY CENTER TO PREVENT GUN VIOLENCE,
                           GIFFORDS LAW CENTER TO PREVENT GUN VIOLENCE, THOMAS COLE, TLC
                           GUNSMITHING AND ARMORY, AARON FREY, ANDREA BECKWITH, EAST
                           COAST SCHOOL OF SAFETY, NANCY COSHOW, JAMES WHITE, J WHITE
                           GUNSMITHING. Reply due by 1/31/2025. (HOCKENBURY, MICHAEL) Modified on
                           1/17/2025 to add filed in error notation--this was filed at ECF No. 24(clp). (Entered:
                           01/17/2025)
   01/17/2025           24 REPLY to Response to Motion re 4 MOTION for Preliminary Injunction filed by ADAM
                           HENDSBEE, THOMAS COLE, TLC GUNSMITHING AND ARMORY, ANDREA
                           BECKWITH, EAST COAST SCHOOL OF SAFETY, NANCY COSHOW, JAMES
                           WHITE, J WHITE GUNSMITHING. (TARDY, JOSHUA) (Entered: 01/17/2025)




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   01/17/2025           25 NOTICE of Docket Entry Modification regarding 23 Response in Opposition to Motion,,
                           22 Reply to Response to Motion: Modified on 1/17/2025 by the Clerk's office to add filed
                           in error notation--this was correctly filed at ECF No. 24. (clp) (Entered: 01/17/2025)
   01/31/2025           26 MOTION to Dismiss Personal-capacity Claim, with Incorporated Memorandum of Law
                           by AARON FREY Responses due by 2/21/2025. (KNOWLTON, THOMAS) (Entered:
                           01/31/2025)
   01/31/2025           27 Defendant Aaron Frey's ANSWER to 1 Complaint,,, by AARON FREY.(KNOWLTON,
                           THOMAS) (Entered: 01/31/2025)
   02/11/2025           28 Minute Entry for proceedings held before JUDGE LANCE E. WALKER: Oral Argument
                           Hearing held re 4 MOTION for Preliminary Injunction. Matter taken under advisement.
                           (Court Reporter: Michelle Feliccitti) (clp) (Entered: 02/11/2025)
   02/12/2025           29 NOTICE/CORRESPONDENCE Re: NOTICE OF SUPPLEMENTAL AUTHORITY by
                           All Plaintiffs (Attachments: # 1 Exhibit A)(TARDY, JOSHUA) Modified on 2/12/2025 to
                           clean up duplicate exhibit text (clp). (Entered: 02/12/2025)
   02/13/2025           30 ORDER ON PLAINTIFFS' MOTION FOR PRELIMINARY INJUNCTIVE RELIEF
                           granting 4 Motion for Preliminary Injunction By JUDGE LANCE E. WALKER. (clp)
                           (Entered: 02/13/2025)
   02/17/2025           31 NOTICE OF APPEAL as to 30 Order on Motion for Preliminary Injunction by AARON
                           FREY . ( Filing fee $ 605 receipt number AMEDC-3070374.)

                              NOTICE TO FILER: A transcript Report/Order form MUST be completed and submitted
                              to the First Circuit Court of Appeals. The form can be found under the Forms & Fees
                              section on their website at https://www.ca1.uscourts.gov.

                              NOTICE TO COUNSEL: Counsel should register for a First Circuit CM/ECF Appellate
                              Filer Account at https://pacer.psc.uscourts.gov. Counsel should also review the First Circuit
                              requirements for electronic filing by visiting the CM/ECF Information section at
                              https://www.ca1.uscourts.gov/cmecf (SUITTER, PAUL) (Entered: 02/17/2025)
   02/17/2025           32 MOTION to Stay Preliminary Injunction Order Pending Appeal by AARON FREY
                           Responses due by 3/10/2025. (TAUB, CHRISTOPHER) (Entered: 02/17/2025)
   02/18/2025                 COPIES of Notice of Appeal Sent to Counsel Re: 31 Notice of Appeal, filed by AARON
                              FREY. (jlm) (Entered: 02/18/2025)
   02/18/2025           33 APPEAL COVER SHEET Re: 31 Notice of Appeal. (jlm) (Entered: 02/18/2025)
   02/18/2025           34 CLERK'S CERTIFICATE Re: 31 Notice of Appeal, Documents sent to the U.S. Court of
                           Appeals. (jlm) (Entered: 02/18/2025)
   02/18/2025                 Abbreviated Appeal Record Transmitted Electronically to U.S. Court of Appeals re 31
                              Notice of Appeal. (jlm) (Entered: 02/18/2025)
   02/18/2025           35 USCA Case Number 25-1160 for 31 Notice of Appeal, filed by AARON FREY. (jlm)
                           (Entered: 02/18/2025)
   02/18/2025           36 Unopposed MOTION to Stay Further Proceedings Pending Appeal by AARON FREY
                           Responses due by 3/11/2025. (TAUB, CHRISTOPHER) (Entered: 02/18/2025)
   02/19/2025           37 ORDER granting 36 Unopposed Motion to Stay Further Proceedings Pending Appeal By
                           JUDGE LANCE E. WALKER. (clp) (Entered: 02/19/2025)



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   02/19/2025           38 CLERK'S FIRST SUPPLEMENTAL CERTIFICATE Re: 31 Notice of Appeal. Documents
                           Sent to U.S. Court of Appeals (clp) (Entered: 02/19/2025)
   02/19/2025                 Supplemental Record on Appeal transmitted to US Court of Appeals re 31 Notice of
                              Appeal (clp) (Entered: 02/19/2025)
   03/03/2025           39 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings Hearing on Motion
                           for Preliminary Injunction (ECF No. 4) held on February 11, 2025 before Judge Lance E.
                           Walker. Court Reporter/Transcriber: Michelle Feliccitti, Telephone Number: 2074323114.
                           NOTICE RE REDACTION OF TRANSCRIPTS: The parties have seven (7) calendar
                           days to file with the Court a Notice of Intent to Request Redaction of this transcript.
                           If no such Notice is filed, the transcript will be made remotely electronically available
                           to the public without redaction after 90 calendar days. The policy is located on our
                           website at www.med.uscourts.gov. Transcript may be viewed at the court public terminal
                           or purchased through the Court Reporter/Transcriber before the deadline for Release of
                           Transcript Restriction. After that date it may be obtained through PACER. Release of
                           Transcript Restriction set for 6/2/2025. (FELICCITTI, MICHELLE) (Entered: 03/03/2025)
   03/10/2025           40 RESPONSE in Opposition re 32 MOTION to Stay Preliminary Injunction Order Pending
                           Appeal filed by ADAM HENDSBEE, THOMAS COLE, TLC GUNSMITHING AND
                           ARMORY, ANDREA BECKWITH, EAST COAST SCHOOL OF SAFETY, NANCY
                           COSHOW, JAMES WHITE, J WHITE GUNSMITHING. Reply due by 3/24/2025.
                           (TARDY, JOSHUA) (Entered: 03/10/2025)
   03/11/2025           41 REPLY to Response to Motion re 32 MOTION to Stay Preliminary Injunction Order
                           Pending Appeal filed by AARON FREY. (SUITTER, PAUL) (Entered: 03/11/2025)
   03/12/2025           42 ORDER ON PLAINTIFFS' MOTION TO STAY PRELIMINARY INJUNCTION ORDER
                           PENDING APPEAL denying 32 Motion to Stay Preliminary Injunction Order Pending
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   03/12/2025           43 CLERK'S SECOND SUPPLEMENTAL CERTIFICATE Re: 31 Notice of Appeal,
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   03/12/2025                 Supplemental Record on Appeal transmitted to US Court of Appeals re 31 Notice of
                              Appeal. (jlm) (Entered: 03/12/2025)



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                                     UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF MAINE




        ANDREA BECKWITH, EAST COAST SCHOOL
        OF SAFETY, NANCY COSHOW, JAMES
        WHITE, J WHITE GUNSMITHING, ADAM
        HENDSBEE, A&G SHOOTING, THOMAS
        COLE, and TLC GUNSMITHING AND
        ARMORY,

                       Plaintiffs,                      Civil Action No. ______

                        v.

        AARON FREY, in his personal capacity and
        in his official capacity as Attorney General
        of Maine,

                       Defendant.




                                         PLAINTIFFS’ COMPLAINT
                                      (INJUNCTIVE RELIEF SOUGHT)

              Plaintiffs Andrea Beckwith, East Coast School of Safety, Nancy Coshow, James White, J

       White Gunsmithing, Adam Hendsbee, A&G Shooting, Thomas Cole, and TLC Gunsmithing and

       Armory bring this civil action against Defendant Aaron Frey, in his personal capacity and in his

       official capacity as Attorney General of Maine. Plaintiffs allege the following based on personal

       knowledge as to all facts relating to them, and on information and belief as to all other matters.

                                               INTRODUCTION

              1.      Maine recently enacted a law that forces people to wait 72 hours before they can

       acquire a firearm. Maine Bill LD 2238 (SP 958), which is now codified at Title 25, Section 2016

       of the Maine Revised Statutes (“Section 2016”), does not purport to be tethered to the time it takes



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       to conduct a background check, or to any other investigatory efforts into whether someone is

       disqualified from exercising Second Amendment rights. To the contrary, it forces law-abiding

       citizens to wait 72 hours to acquire a firearm even if they pass the requisite background check in

       a matter of minutes, which most people do. The law is instead just an unadorned effort to delay

       the exercise of Second Amendment rights, on the theory that people who seek to acquire firearms

       are likely animated by murderous or suicidal intentions that may subside if they are forced to wait

       out a three-day “cooling-off period.”

               2.     That kind of “cooling-off period” measure has no historical pedigree whatsoever—

       and, indeed, would have been “unimaginable at the founding.” Rocky Mt. Gun Owners v. Polis,

       701 F.Supp.3d 1121, 1142 (D. Colo. 2023). To be sure, a few states adopted waiting periods to

       acquire a firearm in the early twentieth century to facilitate the advent of then-novel background

       checks, which at the time were a cumbersome and time-consuming endeavor. But some of those

       measures were abandoned as background checks became much easier to process, and federal law

       now takes the opposite approach, imposing a three-day limit on how long a background check may

       delay the acquisition of a firearm. Pure “cooling-off period” laws, by contrast, did not appear until

       the late twentieth century, and most of the few that are on the books date back only to the twenty-

       first. That is not because it took two centuries to reach the unremarkable conclusion that some

       small number of the many people who seek to acquire firearms want to do so for illicit (and

       immediate) purposes. It is because generations of lawmakers have recognized that delaying the

       exercise of Second Amendment rights simply because the government is wary of anyone who

       wants to exercise them is fundamentally incompatible with the fundamental right to keep and bear

       arms.

               3.     One need look no further than the Plaintiffs in this case to see the devastating effect




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       that Section 2016 has had on law-abiding citizens in Maine and will continue to have absent this

       Court’s intervention. Plaintiff Andrea Beckwith is a domestic-abuse survivor who has dedicated

       her life to helping other women who are trying to escape and recover from abusive situations. She

       offers self-defense classes to victims and survivors of domestic violence and other tragic

       experiences all throughout Maine. A certified firearms instructor, Beckwith used to be able to help

       women promptly secure a firearm to defend themselves after providing them with the training

       needed to safely operate and store it, giving victims of physical, sexual, and emotional abuse a

       critical measure of security in a most perilous time. Now, however, she must send them home

       unarmed for three days—three days in which their abusers will now know that they cannot legally

       secure the means to defend themselves.

              4.      Others, like Plaintiff Nancy Coshow, have been forced to spend hours trekking back

       and forth between their home and a gun store just to secure the means to exercise their Second

       Amendment rights—even when they have already lawfully owned firearms for years without

       incident. And still others have abandoned efforts to purchase firearms entirely, as evidenced by

       the massive drops in sales that Plaintiffs J White Gunsmithing, A&G Shooting, and TLC

       Gunsmithing and Armory have all experienced since Section 2016 took effect.

              5.      Section 2016’s “cooling-off period” is unconstitutional, but also flouts common

       sense. Many firearm purchasers are repeat customers, buying (at least) their second firearm; if one

       of them is bent on violence or self-harm, Section 2016 will do little to prevent it. By contrast, the

       first-time purchasers whose rights Section 2016 impedes are often the very people whose need for

       a firearm is most acute. Again, consider the problem of domestic abuse. In many cases, the abuser

       already has a firearm, and even if law enforcement confiscates that firearm pursuant to a court

       order, the abuser can often acquire one illegally, or dupe a friend or family member into loaning




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       him one. The victim, meanwhile, is disarmed at the moment when she is most vulnerable. If she

       remains desperate to defend herself and her children, she may feel compelled to access a firearm

       through other means, thereby eliminating the possibility that a responsible, federally licensed

       dealer or firearms instructor can intervene with life-saving safety guidance and suggestions for

       alternative or additional resources. That result—doing little to stop lawbreakers from getting a

       gun, while imposing significant roadblocks for law-abiding citizens and driving them into the

       shadows—has nothing to recommend it.

              6.       Because Section 2016 burdens law-abiding citizens’ right to keep and bear arms in

       an ahistorical manner for an ahistorical reason that is at odds with the Framers’ decision to entrust

       the people with arms, it violates the Second Amendment. The Court should promptly declare it

       unconstitutional and enter an order preliminarily and permanently enjoining its enforcement.

                                        JURISDICTION AND VENUE

              7.       The Court has subject-matter jurisdiction under 28 U.S.C. §§1331 and 1343

       because Plaintiffs allege that Section 2016 violates the U.S. Constitution and seek relief under 42

       U.S.C. §1983.

              8.       Venue is proper in this District under 28 U.S.C. §1391(b) because the Office of the

       Maine Attorney General resides here, and because a substantial part of the events or omissions

       giving rise to the claim occurred here.

              9.       This case is properly assigned to the Bangor office under Local Rule 3(b) because

       a substantial part of the events or omissions giving rise to the claim occurred in Piscataquis County

       (where Plaintiff James White lives and where Plaintiff JW Gunsmithing is located), Somerset

       County (where Plaintiff Adam Hendsbee lives and where Plaintiff A&G Shooting is located), and

       Penobscot County (where Plaintiff Thomas Cole lives and where Plaintiff TLC Gunsmithing and

       Armory is located).


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                                                    PARTIES

              10.     Andrea Beckwith is a resident of Auburn, Maine, who owns and operates East Coast

       School of Safety, an organization that specializes in providing firearms classes and self-defense

       training to victims of domestic violence.

              11.     Nancy Coshow is a resident of Bridgton, Maine, who sought to acquire a handgun

       for self-defense purposes and passed an immediate background check, but was unable to acquire

       a firearm for 72 hours because of Section 2016.

              12.     James White is a resident of Guilford, Maine, who owns J White Gunsmithing, a

       federally licensed firearms dealer with a storefront at 306 Wharff Road, Guilford, Maine 04443.

       White is also a current member of the Maine House of Representatives, representing District 30.

              13.     Adam Hendsbee is a resident of Fairfield, Maine, who owns A&G Shooting, a

       federally licensed firearms dealer with a storefront at 214 Center Road, Fairfield, Maine 04937.

              14.     Thomas Cole is a resident of Hampden, Maine, who owns TLC Gunsmithing &

       Armory, a federally licensed firearms dealer specializing in selling firearms at weekend gun shows

       throughout the state of Maine.

              15.     Aaron Frey is Maine’s 58th Attorney General. As the state’s chief law-enforcement

       officer, he enforces all civil violations created by state law. See Me. Stat. tit. 17-A, §4-B(1). He

       maintains offices at 111 Sewall Street, Augusta, Maine 04330. Plaintiffs sue Frey in both his

       personal capacity and in his official capacity.

                                                BACKGROUND

       I.   “Cooling-Off Period” Laws Are A Late-Twentieth-Century Regulatory Innovation That
            Remain Uncommon Even Today.

              16.     The Second Amendment provides that “the right of the people to keep and bear

       Arms[] shall not be infringed.” U.S. Const. amend. II. From the founding to the present, federal



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       and state authorities have grappled with the best way to respect that right while keeping firearms

       out of the hands of those who pose a credible threat to the physical safety of others. But in “the

       early days of the Republic,” there was no “open, widespread, and unchallenged” practice, N.Y.

       State Rifle & Pistol Ass’n, Inc. v. Bruen, 597 U.S. 1, 36 (2022) (quoting NLRB v. Noel Canning,

       573 U.S. 513, 572 (2014) (Scalia, J., concurring in judgment)), of imposing a waiting period before

       someone could take possession of a firearm. See, e.g., Silvester v. Harris, 41 F.Supp.3d 927, 962

       (E.D. Cal. 2014) (“[T]here is no evidence to suggest that waiting periods imposed by the

       government would have been accepted and understood to be permissible under the Second

       Amendment.”).1 To the contrary, from the very beginning, courts recognized that “the right of the

       people to keep and bear arms” “necessarily involves the right to purchase and use them in such a

       way as is usual” whenever the need to do so arises. Andrews v. State, 50 Tenn. 165, 177-78 (1871).

               17.     Waiting-period provisions first came onto the scene in the twentieth century, around

       the same time that some states started adopting various types of background checks. See Silvester

       v. Harris, 843 F.3d 816, 831 (9th Cir. 2016) (Thomas, C.J., concurring); Rocky Mt. Gun Owners,

       701 F.Supp.3d at 1137 (“[N]o law requiring a waiting period was enacted in the United States until

       1923.”); David B. Kopel, Background Checks for Firearms Sales & Loans: Law, History, and

       Policy, 53 Harv. J. Leg. 303, 360 (2016) (same). These waiting periods were designed to facilitate

       the background-check process, which was a much more time-consuming endeavor back then. For

       example, California—one of the first states to enact such a law back in 1923—initially imposed a

       one-day wait for retail handgun purchases, during which dealers were required to provide




           1
            The district court opinion in Silvester v. Harris was later reversed on other grounds on appeal,
       843 F.3d 816 (9th Cir. 2016); the Supreme Court abrogated the Ninth Circuit decision in Bruen,
       see Baird v. Bonta, 81 F.4th 1036, 1043 (9th Cir. 2023) (recognizing abrogation). Plaintiffs cite
       the Silvester district court and court of appeals opinions for the purposes of their historical analysis.

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       information identifying the purchaser to the local police or county clerk. Silvester, 843 F.3d at

       823-24. New Jersey, another early adopter in 1927, imposed a seven-day waiting period similarly

       requiring the dealer to forward the purchaser’s information to the licensing authority for a

       background investigation. See Law of Mar. 30, 1927, ch. 321, §6(4)(b), 1927 N.J. Laws 742, 746.

       The District of Columbia followed in 1932 with a 48-hour waiting period requiring the dealer to

       forward the purchaser’s information to the D.C. police within six hours. See Act of July 8, 1932,

       ch. 465, §8, 47 Stat. 650, 652. Three years after that, in 1935, South Dakota passed its own 48-

       hour waiting period with a six-hour notification requirement. See Law of Mar. 14, 1935, ch. 208,

       §9, 1935 S.D. Laws 355, 357. In the 1970s, 1980s, and 1990s, waiting-period laws enjoyed a brief

       renaissance, as additional states sought to facilitate background checks in the pre-Internet era.

       Silvester, 843 F.3d at 824; see also, e.g., State v. Mendoza, 920 P.2d 357, 368 (Haw. 1996)

       (Hawaii); 1975 Senate Bill 185, Wis. Legis. (Mar. 15, 1976), https://tinyurl.com/3f8xr6uy

       (Wisconsin).

              18.     While these waiting periods helped facilitate investigations into the purchaser, they

       also came at a significant cost to law-abiding citizens. In 2015, a New Jersey woman was fatally

       stabbed by her ex-boyfriend (against whom she had a restraining order) while waiting for the state

       to process her application to own a handgun. Greg Adomaitis, N.J. gun association calls Berlin

       woman’s death an ‘absolute outrage’, NJ.com (June 5, 2015), https://tinyurl.com/mn32h8f. And

       in Wisconsin, a woman was killed by her stalker before she could take possession of the handgun

       she was attempting to purchase. See Kopel, supra, at 309-10.

              19.     With the advent of modern federal background-check requirements and the

       National Instant Criminal Background Check System (“NICS”), waiting-period laws no longer

       serve an investigatory purpose, as most background checks are completed in a matter of minutes.




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       Many states that used to have waiting periods have thus abandoned them over the past few decades.

       See, e.g., 1995 Or. Laws ch. 729 (S.B. 1096) §13 (Oregon); 1997 Ind. Legis. Serv. P.L. 17-1997

       §§6, 8 (H.E.A. 1669) (West) (Indiana; §6 repeals a 7-day waiting period while §8 adds an instant-

       background check requirement); 2009 S.D. Sess. Laws ch. 122 (SB 70) §1 (South Dakota); 2015-

       2016 Wis. Legis. Serv. 22 (2015 S.B. 35) (West) (Wisconsin); see also Brendan O’Brien, Wisconsin

       Governor Signs Bill Repealing Handgun Waiting Period, Reuters (June 24, 2015),

       https://tinyurl.com/228uby2t (observing that “the instant national background check system makes

       the waiting period law obsolete,” and quoting the then-Governor’s remark that repealing the

       waiting-period law “allows Wisconsin’s law to catch up with the 21st century”); Tenn. Bur. Invest.,

       Guidelines for Federal Firearms Licensees 1-2, https://tinyurl.com/5yx9rc52 (last visited Nov. 12,

       2024) (noting that Tennessee’s “fifteen-day waiting period between purchase and delivery of a

       handgun was eliminated effective November 1, 1998,” the same day “[t]he Tennessee Instant

       Check Law became effective”).2

              20.     Federal law followed a similar trajectory. Congress initially mandated background

       checks for most firearm sales in the Brady Handgun Violence Prevention Act of 1993. Although

       the Brady Act contemplated a nationwide system of instant background checks, the technology

       necessary to facilitate that system did not yet exist when Congress passed the law. So the Brady




          2
            Oregon, Indiana, Tennessee, South Dakota, and Wisconsin are not the only states that appear
       to have tried and abandoned waiting-period laws since they came on the scene in 1923. While
       Alabama, Connecticut, Iowa, Massachusetts, Missouri, New York, North Carolina, Pennsylvania,
       and Virginia had some version of a waiting-period law as of 1990, “during which at least some of
       the” buyer’s eligibility “information … [was] verified,” U.S. Dep’t of Justice, Off. Justice Prog.,
       Bur. of Justice Stats., Identifying Persons, Other Than Felons, Ineligible to Purchase Firearms 23,
       107 (May 1990), https://tinyurl.com/2s3tpz8x, that no longer appears to be the case, see Everytown
       for Gun Safety, Which states require a waiting period before gun purchases?,
       https://tinyurl.com/6zpcnpkr (last visited Nov. 12, 2024) (listing the current 13 states with waiting-
       period laws, which do not include the aforementioned jurisdictions).

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       Act gave the FBI five years to lay the groundwork for what ultimately became NICS, and, in the

       meantime, Congress embraced a five-day waiting period to facilitate local law enforcement

       officials conducting cumbersome background checks. See Printz v. United States, 521 U.S. 898,

       902-04 (1997). But mindful of the constitutional concerns with that approach, once NICS came

       online, Congress abandoned the five-day waiting period and replaced it with an affirmative

       protection to ensure that delays in processing the checks would not impede the lawful exercise of

       Second Amendment rights: A licensed firearms dealer may proceed with a sale three business days

       after requesting a background check, even if the background check has not yet been completed.

       See 18 U.S.C. §922(t)(1)(B)(ii); see also U.S. Dep’t of Justice, Presale Handgun Checks, the Brady

       Interim Period, 1994-98 (June 1999), https://tinyurl.com/2nrdckfs.

              21.     While Congress and some states with waiting periods responded to the advent of

       NICS and related improvements to background-check processes by abandoning lengthy waiting-

       period laws, a handful of others responded by trying to re-justify laws originally intended to

       facilitate a background check. California is illustrative. After adopting a one-day waiting period

       for retail sales of pistols, revolvers, and concealable firearms in 1923, California extended the

       period to five days in 1965, and then again to 15 days in 1975, both times primarily “to allow more

       time for more extensive background checks.” Silvester, 843 F.3d at 824. It was not until 1979 that

       the state even hinted (as a litigating position) that the law might serve a “cooling-off” function too.

       See People v. Bickston, 154 Cal.Rptr. 409, 410 (Cal. App. Dep’t Super. Ct. 1979). And the

       California legislature did not expressly embrace a cooling-off approach until 1996. Silvester, 41

       F.Supp.3d at 946-47. By then, California had switched to an electronic background check system

       that allowed most checks to be processed far more expeditiously than previously. Although the

       legislature apparently recognized at that point that it no longer had a good justification to force




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       Californians to wait 15 days to acquire a firearm, it still was not willing to trust law-abiding citizens

       who have passed a background check with a firearm. (Indeed, at the time, California was not even

       willing to admit that the Second Amendment protects the right to keep and bear arms at all.) So

       California reduced its waiting period, but only to ten days, contending that law-abiding citizens

       should have to wait out a “‘cooling off’ period” before they can acquire a handgun, even if they

       have already passed the requisite background check. Id. at 947.

               22.     The Ninth Circuit upheld California’s “cooling-off period” law under the means-

       end balancing test that it used to apply in Second Amendment cases. See Silvester, 843 F.3d at

       828. But Bruen subsequently—and emphatically—rejected any role for means-end balancing in

       the Second Amendment context, abrogating the Ninth Circuit’s decision and others applying

       similar tests. 597 U.S. at 22-23. And, to put it mildly, “cooling-off periods” do not sit comfortably

       with Supreme Court precedent. Bruen explicitly cautioned against efforts to impose obstacles for

       the sole purpose of delaying a law-abiding citizen’s ability to carry a firearm. Id. at 38 n.9. And

       United States v. Rahimi distinguished between permissible efforts to keep firearms out of the hands

       of “citizens who have been found to pose a credible threat to the physical safety of others” and

       constitutionally suspect efforts to “broadly restrict arms use by the public generally.” 144 S.Ct.

       1889, 1900-01 (2024).

               23.     Unfortunately, those pronouncements have not stopped a few states (including

       Maine) from breaking with historical tradition and enacting unadorned “cooling-off period” laws

       for the first time in their histories. For example, Colorado recently passed a three-day cooling-off

       period that starts when the seller initiates a background check. See Colo. Rev. Stat. §18-12-115.

       Positing that “[d]elaying immediate access to firearms … can help prevent impulsive acts of

       firearm violence, including homicides and suicides,” the legislature effectively subjected all




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       firearm sales in Colorado to a three-day hold, even if the buyer passes a background-check

       instantly. 2023 Colo. Legis. Serv. Ch. 125 §1(2)(a) (H.B. 23-1219) (West). Vermont followed

       suit, enacting its own three-day “cooling-off” period that starts once a buyer passes a background

       check, on the theory that doing so will “help to prevent impulsive … violence,” H.230, §1(10),

       https://tinyurl.com/msddz287, despite the Governor’s “significant concerns about the provision’s

       constitutionality,” Vt. J. Senate 1952 (May 12, 2023), https://tinyurl.com/25t3nfvs. See Vt. Stat.

       Ann. Tit. 13, §4019a. New Mexico recently joined the bandwagon too, passing a seven-day

       “cooling-off period” with the “primary purpose” of “preventing impulsive suicides and

       homicides.” Ortega v. Lujan Grisham, --- F.Supp.3d ---, 2024 WL 3495314, at *4 (D.N.M. 2024).

       In total, accounting for the post-Bruen states pursuing unadorned “cooling-off period” laws, 13

       states (including Maine) plus the District of Columbia currently have some sort of waiting-period

       law, although several are subject to a variety of exceptions.

              24.     While a few district courts have preliminarily upheld a few of these measures after

       Bruen, they have done so on reasoning that is incredibly difficult to square with Supreme Court—

       and even pre-Bruen circuit court—precedent. See Rocky Mt. Gun Owners, 701 F.Supp.3d at 1142

       (positing that the Second Amendment likely does not protect the right to acquire arms at all); Vt.

       Fed’n of Sportsmen’s Clubs v. Birmingham, No. 2:23-cv-710, 2024 WL 3466482, at *25-26 (D.

       Vt. July 18, 2024) (analogizing “cooling-off period” laws to “historical statutes that restrict[ed]

       the carry or use of firearms by intoxicated people, as well as the distribution of alcohol in settings

       ‘where firearms were present’”); Ortega, 2024 WL 3495314, at *37-38 (analogizing “cooling-off

       period” laws to historical laws “prohibiting the sale of firearms to” “blacks … Indians; propertyless

       whites; non-Protestants or potentially unruly Protestants”). But see, e.g., Teixeira v. Cnty. of

       Alameda, 873 F.3d 670, 678 (9th Cir. 2017) (en banc) (“[T]he core Second Amendment right to




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       keep and bear arms for self-defense ‘wouldn’t mean much’ without the ability to acquire arms.”

       (quoting Ezell v. City of Chicago, 651 F.3d 684, 704 (7th Cir. 2011))); Brown v. ATF, 704 F.Supp.3d

       687, 700-01 (N.D. W. Va. 2023) (collecting cases).

       II.       Maine Enacts A “Cooling-Off Period” Law.

                 25.   On April 30, 2024, Maine decided to join this group of outliers. After having gone

       more than 200 years of statehood without any waiting period whatsoever, Maine enacted Maine

       Bill LD 2238 (SP 958), which passed into law on April 30, 2024, without the Governor’s signature,

       and took effect by operation of law on August 9, 2024. The title of the bill is “An Act To Reduce

       Suicides and Violent Crimes By Requiring a 72-hour Waiting Period after the Sale of a Firearm.”

       The bill adds a new Section 2016 to Title 25 of the Maine Revised Statutes.

                 26.   Under Section 2016, “[a] seller may not knowingly deliver a firearm to a buyer

       pursuant to an agreement sooner than 72 hours after the agreement.”3 25 Me. Rev. Stat. Ann.

       §2016(2). This 72-hour period does not purport to be tied to the time needed to conduct a

       background check or perform any other kind of investigation into one’s suitability to acquire a

       handgun. Section 2016 instead just requires everyone in the state to wait three days to acquire a

       firearm, even if they pass a background check in a matter of minutes (as most people do), and even

       if they already lawfully own a firearm and have long done so without incident. Section 2016 is

       thus an unadorned “cooling-off period” measure, as its title and sponsor forthrightly



             3
            “Firearm” is defined as “any weapon, whether loaded or unloaded, which is designed to expel
       a projectile by the action of an explosive and includes any such weapon commonly referred to as
       a pistol, revolver, rifle, gun, machine gun or shotgun,” as well as “[a]ny weapon which can be
       made into a firearm by the insertion of a firing pin, or other similar thing, or by repair.” 25 Me.
       Rev. Stat. Ann. §2016(1)(C); see 17-A Me. Rev. Stat. Ann. §2(12-A). “Buyer” and “seller” are
       defined, respectively, as “a person, not including a firearm dealer, who receives possession or
       ownership of a firearm through an agreement,” and “a person or firearm dealer that owns a firearm
       and that is transferring ownership of the firearm to a buyer pursuant to an agreement.” 25 Me.
       Rev. Stat. Ann. §2016(1)(B), (E); see also id. §2016(1)(A) (defining “agreement”).

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       acknowledged. See Cate McCusker, 72-hour gun purchase waiting period now Maine law as of

       Friday morning, WMTW8 (Aug. 9, 2024), https://tinyurl.com/3at977wf (interviewing state

       senator who sponsored Section 2016).

              27.     Section 2016 is a civil statute enforceable by the Attorney General, and it carries a

       fine of between $200-$500 for a first violation and $500-$1,000 for each subsequent one. 25 Me.

       Rev. Stat. Ann. §2016(3); see also 17-A Me. Rev. Stat. Ann. §4-B(1) (“All civil violations … are

       enforceable by the Attorney General, the Attorney General’s representative or any other

       appropriate public official in a civil action to recover what may be designated a fine, penalty or

       other sanction.”).

              28.     Section 2016 applies to all firearm sales in Maine unless (A) the seller knows the

       buyer works as a law-enforcement officer, a corrections officer, or a certain type of security guard;

       (B) the buyer holds a firearms-dealer license; or (C) the seller and buyer are family members; the

       gun is a curio, relic, or antique; or federal or state law exempts the transaction from background-

       check requirements. Id. §2016(4); see also id. §2016(1)(B).

              29.     These features make Section 2016 one of the broadest waiting-period provisions in

       the country. For example, several of the other waiting-period states have an exception for buyers

       who have already secured a concealed handgun license; Section 2016 does not. Cf., e.g., Fla. Stat.

       §790.0655(2)(a); N.M. Stat. §30-7-7.3. Some states have an exception for people certified in

       hunting-safety seeking to buy a rifle or shotgun; Section 2016 does not. Cf., e.g., Fla. Stat.

       §790.0655(2)(c). Some states have an exception for private gun sales; Section 2016 does not. Cf.,

       e.g., id. §790.0655(1)(a). Other states allow law enforcement to waive the waiting period upon

       finding that the buyer is facing a threat to herself or her family; Section 2016 does not. Cf. Minn.

       Stat. §624.7132, subd. 4. Still other states at least limit the waiting-period requirement to handgun




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       sales; Section 2016 does not. Cf., e.g., Md. Code Ann., Pub. Safety §§5-101(r), 5-123(a), 5-

       124(a)(1). In short, given that only 13 states (plus the District of Columbia) have any type of

       waiting period at all, it is fair to say that Section 2016 is an outlier even among outliers.

       III. Section 2016 Is Having Immediate And Devastating Effects On Law-Abiding Residents
            And Federally Licensed Firearm Dealers All Throughout Maine.

              30.     In the brief period that it has been on the books, Section 2016 has already had a

       devastating impact on both individuals and firearms dealers throughout Maine. Indeed, the

       dramatic drop-off in sales that several dealers have experienced is a powerful illustration of the

       significant burdens the three-day waiting period imposes on the fundamental right that the Second

       Amendment protects.

              31.     Plaintiffs Andrea Beckwith & East Coast School of Safety.            Andrea Beckwith

       is a life-long Maine resident who owns and operates East Coast School of Safety (“East Coast

       SOS”) and is a certified as a firearms instructor by the National Rifle Association and the U.S.

       Concealed Carry Association. East Coast SOS specializes in private lessons, group courses,

       seminars, and retreats specifically designed to provide victims of domestic violence with training

       on first-aid and basic self-defense, including an introduction to safe firearm use and storage, as

       well as trauma counseling. Through these courses, Beckwith seeks to help victims and survivors

       of domestic violence take back their lives with confidence; East Coast SOS’s motto is “self defense

       at your comfort level.” Ex.A ¶¶1, 9-13.

              32.     Beckwith’s devotion to helping domestic-violence victims is rooted in her own

       tragic experience with domestic violence. Beckwith acquired her first weapon after her abusive

       then-husband threatened her with a loaded gun. She credits her pastor with saving her life by

       convincing her to leave him and providing her with the support and resources—including a key to

       the church—to get herself on her feet. Although she ultimately obtained a protective order against



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       her abuser, she recognized that the order alone would not stop him from carrying out his threats of

       violence: He retained a private investigator to stalk her movements for months, and she knew that

       he had easy access to firearms. Beckwith decided that the only way to ensure her safety was by

       obtaining a firearm of her own and taking self-defense classes. On nights when her abuser or his

       friends would repeatedly pelt the camper in which she was temporarily living with rocks, she

       would sleep with her gun within reach. Beckwith believes that her abuser’s knowledge that she

       had a gun and firearms training was the primary deterrent preventing him from acting on his

       threats. Ex.A ¶¶4-7.

              33.     Around the time she left her abuser, Beckwith began volunteering with an anti-sex

       trafficking organization called Thrive New England. She soon realized that the survivors she met

       were paralyzed by fear, often lacking the confidence even to leave their own home. This

       experience inspired her to begin teaching self-defense classes, and ultimately led her to found East

       Coast SOS. In recent years, Beckwith has also founded a 501(c)(3) organization that fundraises

       to subsidize the cost of training events and to sponsor women who would not otherwise be able to

       enroll. Through East Coast SOS, Beckwith estimates that she has trained thousands of women

       across the state who have sought self-defense training after an experience during which they felt

       threatened and realized that police were too far away to help. Among her former students is a

       victim of the horrifying 2023 Lewiston shooting; until the victim went through Beckwith’s

       training, she was so traumatized by the shooting that she struggled to leave her home. Ex.A ¶¶8-

       9, 13-14.

              34.     Because Beckwith has become well known throughout the state for working with

       domestic-violence victims, several times in a typical month she will be connected with a woman

       who is facing a credible and imminent threat of violence from a former or current intimate partner.




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       When this happens, Beckwith drops whatever she is doing and meets the woman as soon as

       possible at the closest gun range. Beckwith is familiar with myriad studies showing that domestic-

       violence victims face the highest risk of danger in the first few months after leaving their abuser—

       and, as a domestic-violence survivor herself, she knows first-hand how fraught the first several

       days can be. Ex.A ¶¶15-16.

              35.     When Beckwith meets with a woman in crisis, she brings along several models of

       handguns for her to test. Once the woman decides which model she is most comfortable with,

       Beckwith provides a few hours of basic instruction so that the woman can safely operate the

       firearm and competently defend herself—and, often, her children. Beckwith then connects the

       woman with a nearby gun shop where, pending the instant background check required by federal

       law, the woman used to be able to purchase the firearm and leave feeling safer that same night.

       Ex.A ¶17.

              36.     That is no longer the case, however, under Section 2016. Now, a woman trying to

       escape an abusive partner who poses a credible and imminent threat to her physical safety must

       wait three days before she can secure a firearm to defend herself—a fact of which her abuser

       unfortunately will likely be all too aware. Ex.A ¶¶19, 21.

              37.     Plaintiff Nancy Coshow.       Nancy Coshow is a grandmother who lives on a

       roughly five-acre, heavily wooded property in Bridgton. She is licensed to carry a concealed

       firearm in Maine and has previously been licensed in two other states. She has been extensively

       trained on how to safely store and operate her firearms, both for recreation and for self-defense.

       Ex.B ¶¶1-2.

              38.     Because their home is visually secluded from the road and neighbors, and because

       various physical limitations would make it difficult to defend themselves if they were victims of




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       violent crime, Coshow and her husband are particularly concerned with their safety. To that end,

       either she or her husband—recently, almost always her husband—routinely carries a handgun for

       self-defense purposes. Although Coshow and her husband have followed this practice for years,

       they have become especially vigilant of late in light of several recent crimes in the area that

       appeared to target senior citizens, as well as another violent crime against a young woman in town.

       Ex.B ¶¶2-4.

              39.     Coshow’s husband underwent major back surgery on October 16, 2024. As a result

       of the surgery, his mobility is expected to be significantly reduced for at least three months. And

       because of that incapacitation, Coshow spent the weeks leading up to his procedure preparing to

       take over primarily responsibility for all household chores, from grocery shopping, to cleaning, to

       self-defense. Ex.B ¶5.

              40.     Coshow suffers from arthritis in her hands, which makes operating her current

       higher-caliber handguns difficult and painful. She accordingly sought to purchase a smaller

       handgun which she could comfortably operate. On October 8, 2024, she drove approximately 40

       miles (roughly 75 minutes) to Northeastern Firearms in Turner, Maine, where she sought to

       purchase a Kel-Tec P17. Ex.B ¶¶4-6.

              41.     Because Northeastern Firearms is a federally licensed firearm dealer, federal law

       required it to conduct a background check on Coshow to confirm that transferring ownership of

       the Kel-Tec would not give rise to a violation of certain other laws. 18 U.S.C. §922(t). After

       informing Coshow of that requirement and collecting the required information from her, the

       Northeastern Firearms employee contacted NICS to electronically verify that Coshow was eligible

       to purchase the Kel-Tec. Ex.B ¶6.

              42.     A few minutes later, the Northeastern Firearms employee informed Coshow that




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       she had passed the background check. At that point, Coshow paid in full using her credit card and

       became the lawful owner of the Kel-Tec. Nevertheless, the Northeastern Firearms employee

       informed her that, solely because of Section 2016, Northeastern Firearms could not transfer

       possession of the Kel-Tec to Coshow for 72 more hours, until October 11, 2024. Ex.B ¶6.

              43.     Unable to take immediate possession of the firearm, Coshow drove the 40 miles

       and 75 minutes back to her residence. On October 11, 2024—in the midst of last-minute

       preparations for her husband’s surgery—Coshow drove the 40 miles and 75 minutes back to

       Northeastern Firearms and finally took possession of the Kel-Tec. Ex.B ¶7.

              44.     Plaintiffs James White & J White Gunsmithing. James White is a Navy

       veteran, a current member of the Maine House of Representatives, and the owner of J White

       Gunsmithing, a federally licensed firearm dealer in Guilford. Because J White Gunsmithing is the

       only gun shop in town, and one of the last gun shops on the way to remote hunting and camping

       grounds in northern Maine, it often sells firearms to customers with a time-sensitive need to acquire

       one. Ex.C ¶¶1-2.

              45.     Sometimes, the time-sensitive need results from a tragedy. In recent years, J White

       Gunsmithing sold a firearm to a young woman facing threats from a former intimate partner. White

       also personally helped a local doctor and his wife quickly secure firearms after they were

       threatened by a man addicted to painkillers when the doctor refused to refill the addict’s

       prescription. Ex.C ¶¶6-7.

              46.     Other times, the time-sensitive need is recreational. During hunting season, J White

       Gunsmithing frequently sells rifles to hunters who need to obtain or replace a firearm on short

       notice. In some instances, a hunter has arrived in northern Maine only to realize that something is

       wrong with his rifle (or even that he forgot it altogether). Other times, a hunter needs to buy a new




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       firearm because the one she brought was damaged in an accident. For example, hunters frequently

       rest their firearms against pick-up trucks, and it is not uncommon for someone to forget to move

       one before backing the truck up. During a year’s hunting season, White estimates that his store

       serves four people who need to buy a new firearm in these circumstances. Sometimes, the time-

       sensitivity is particularly acute: A hunter may have a time-limited permit to hunt moose or bear,

       or may have a nonrefundable hunting guide booked. Ex.C ¶8.

              47.    When a customer selects a firearm for purchase, a J White Gunsmithing employee

       collects the required identification information from the customer and calls the NICS hotline to

       initiate the required background check. Most of these calls produce an approved background check

       and an instant “proceed” determination from NICS. A relatively small number culminate in a

       failed background check and a “deny” determination. Calls to NICS can also produce a “delay”

       directive if NICS determines that it needs additional time to process the background check. Ex.C

       ¶3.

              48.    Because Section 2016 forces all transactions into a three-day hold, even when NICS

       instantly issues a “proceed,” it has devastated J White Gunsmithing’s sales volume: Handgun sales

       are down 50% and rifle sales are down 25% from the typical August and September sales figures.

       Ex.C ¶4.

              49.    Plaintiffs Adam Hendsbee & A&G Shooting.             Adam Hendsbee owns A&G

       Shooting, a federally licensed firearm dealer in Fairfield. Hendsbee cares deeply about doing

       business in an ethical and professional manner. He is eager to get to know his customers and to

       help them assess their needs, and he always endeavors to sell the right gun to the right person.

       Among other things, when he knows or suspects that a customer is buying his or her first firearm,

       Hendsbee has an in-depth conversation with the customer to go over basic firearm safety and




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       proper use, and always encourages the customer to enroll in a firearms safety course for further

       instruction and skill development. During the course of this conversation, Hendsbee evaluates the

       customer’s maturity and state of mind to ensure that the sale will not endanger either the customer

       or the community. If Hendsbee is not confident that the customer is going to do the right thing

       with the firearm, he turns the customer away. Ex.D ¶¶1-2.

              50.     Hendsbee also implements practices to identify potential straw-purchasers, and he

       routinely turns away customers (irrespective of their NICS check) when he suspects they may be

       attempting to purchase a firearm for improper or illegal purposes. He also reports suspected illegal

       purchase attempts to the Bureau of Alcohol, Tobacco, Firearms and Explosives, which has

       commended him for effectively blocking illegal purchases and for working collaboratively with

       law enforcement. Ex.D ¶3.

              51.     A&G Shooting is located near a very busy truck stop along the highway, and a

       significant portion of its business comes from truck drivers and other interstate travelers who

       casually stop into the store to browse its inventory. Section 2016 has unsurprisingly caused A&G

       to lose a significant number of sales to those customers, because truck drivers and out-of-state

       residents passing through are now unable to take a purchased firearm with them, even if they pass

       a background check instantly. In addition to causing A&G to lose these firearm sales, Section

       2016 has decreased attendant sales of firearm accessories. Ex.D ¶¶5-7

              52.     Like J White Gunsmithing, A&G Shooting also sells firearms to people with a time-

       sensitive need to acquire a firearm. A&G has found itself in such a situation twice since Section

       2016 took effect. In the first instance, a single woman from a nearby town came to the store on a

       Thursday because her local police officer recommended that she purchase a firearm for home

       defense. The woman had just learned that she had a stalker looking through the windows and




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       harassing her on her property. Although the police issued a restraining order against the accused

       individual, they also recommended that the woman obtain a firearm for self-defense. Hendsbee

       worked with her for over an hour to pick out a firearm that she would be comfortable with and

       encouraged her to sign up for training to learn additional skills and safety practices. After

       Hendsbee collected the woman’s identifying information, NICS issued a “proceed” determination,

       and she paid for the firearm in full. But because of Section 2016, she could not take possession of

       the firearm for 72 more hours. And because A&G is closed on Sundays and Mondays, the next

       available day for her to pick up the firearm was the following Tuesday. The woman was visibly

       shaken to learn that she would have to wait four more days to obtain the means for effective self-

       defense. Ex.D ¶9.

              53.     The following Friday, a married couple whose home had been burgled the previous

       night came into the store seeking to purchase a gun for home-defense. Once again, A&G was

       faced with a customer with a time-sensitive need to acquire a firearm, but once again, Section 2016

       forced the couple to wait until the following Tuesday to obtain the means for effective home-

       defense. Ex.D ¶9.

              54.     Plaintiffs Thomas Cole & TLC Gunsmithing & Armory. Thomas Cole is a

       retired Marine who lives in Hampden, Maine. Cole owns and operates TLC Gunsmithing &

       Armory, a federally licensed firearm dealer, and employs his adult daughter to help with the

       business. TLC Gunsmithing does not have a storefront, and although it does have a website, it

       sells firearms almost exclusively at weekend gun shows throughout Maine. Although that low-

       overhead business model can be profitable, it requires a significant investment to accumulate and

       store inventory in advance of a show, as well as significant costs for Cole and his daughter to travel

       to the show, pay the vendor registration fee, and secure lodging. For example, TLC Gunsmithing




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       incurred roughly $2,000 in travel and incidental expenses for Cole and his daughter to travel to a

       annual gun show at the Augusta Armory from August 24-25, 2024. Last year, TLC Gunsmithing

       sold approximately 20 firearms at the Augusta Armory gun show. This year, however, TLC

       Gunsmithing sold none—meaning that the show was a $2,000 loss. Ex.E ¶¶1-3, 5.

              55.     Section 2016 has caused TLC Gunsmithing’s sales to plummet. Because gun shows

       are two-day weekend affairs, Section 2016 makes it impossible to transfer possession of any

       firearm sold during the show, even if the purchaser instantly passes a background check. And after

       each show, Cole and his daughter return to their home, which may be hours away. So if a customer

       buys a firearm from TLC Gunsmithing during a gun show, to take possession, either the customer

       will need to travel to Hampden, or Cole and the customer will need to make alternate arrangements.

       Any alternate arrangements will necessarily involve additional expense: Cole or his daughter will

       have to extend their stay near the gun show, meet the customer at a mutually agreeable location

       after the gun show ends, or ship the firearm to another federal firearm licensee closer to the

       customer, so the other licensee can consummate the sale (typically at an additional cost). Ex.E ¶4.

              56.     A few weeks after losing roughly $2,000 in Augusta, TLC Gunsmithing

       participated in a gun show in Bangor, where it managed to sell five guns—an improvement

       reflecting the fact that Cole lives in the greater Bangor area, so he could arrange to meet up and

       transfer the gun after the show with minimal inconvenience or expense. Even still, the costs of

       participating in the show were still significant enough that TLC Gunsmithing barely broke even.

       Because of the failure to recoup costs incurred as a result of the Augusta and Bangor gun shows,

       TLC Gunsmithing canceled plans to sell at any gun show where overnight travel would be

       required. Ex.E ¶5.

              57.     On September 21 and 22, TLC Gunsmithing participated in another gun show in




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       nearby Lincoln, once again failing to sell a single gun. Given this continued inability to turn a

       profit, Cole made the difficult decision to pause TLC Gunsmithing’s operations. Simply put, the

       business is unable to sustain additional financial losses. Ex.E ¶6.

               58.     If this Court does not enjoin Section 2016, Cole will be forced to liquidate TLC

       Gunsmithing’s substantial firearms inventory, and he has already reached out to auction houses to

       discuss potential arrangements to do so. However, if the law is amended by the legislature or

       enjoined by this Court, Cole intends to resume TLC Gunsmithing’s operations. Ex.E ¶6.

                                            CLAIM FOR RELIEF
                                         Second Amendment Violation
                                               42 U.S.C. §1983

               59.     Plaintiffs re-allege and incorporate by reference the preceding paragraphs as though

       fully set out herein.

               60.     The Second Amendment secures “the right of the people to keep and bear Arms.”

       U.S. Const. amend. II.       Because “the Constitution presumptively protects” arms-bearing

       “conduct,” the state must “justify” any law that regulates that conduct “by demonstrating that it is

       consistent with the Nation’s historical tradition of firearm regulation.” Bruen, 597 U.S. at 24. To

       do so, it must identify an appropriate and well-established “‘historical analogue’” that

       “burden[ed]” a citizen’s Second Amendment rights in a “similar” manner and for a “similar

       reason[].” Rahimi, 144 S.Ct. at 1898, 1903 (quoting Bruen, 597 U.S. at 30).

               61.     Section 2016’s “cooling-off period” prevents law-abiding citizens from taking

       possession of the firearms they wish to keep and bear for at least 72 hours. It therefore restricts

       arms-bearing conduct covered by the plain text of—and “presumptively protect[ed]” by—the

       Second Amendment. Bruen, 597 U.S. at 17.

               62.     Section 2016’s “cooling-off period” is not “consistent with the Nation’s historical

       tradition of firearm regulation.” Id. at 24. When a state restricts arms-bearing conduct, it bears


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       the burden to identify “well-established and representative historical analogue[s]”—in other

       words, not “outliers”—that are “relevantly similar” in how and why they burden the rights that the

       Second Amendment protects. Id. at 29-30, 34. Put differently, a state must demonstrate that

       historical analogues burdened the right to keep and bear arms “for similar reasons” as the modern

       regulation, i.e., “to address [the] particular” public policy “problem[].” Rahimi, 144 S.Ct. at 1898.

       And “[e]ven when” a historical analogue “regulate[d] arms-bearing for a” similar “reason” as a

       modern regulation, the modern regulation will not “be compatible with the right if [the modern

       regulation] does so to an extent beyond what was done at the founding.” Id.

              63.     There is no longstanding tradition in this country of forcing law-abiding citizens to

       wait to acquire firearms. While some states adopted waiting-period laws in the early- and mid-

       twentieth-century, those laws were imposed to facilitate background checks or other investigatory

       efforts to determine whether someone is prohibited from possessing a firearm. “Cooling-off

       period” laws, by contrast, are not tethered to any such efforts; they simply delay the exercise of

       Second Amendment rights for the sake of delay, on the theory that even law-abiding citizens who

       have passed a background check cannot be trusted with a firearm. So even assuming twentieth-

       century waiting-period laws could be justified as a response to the introduction of background

       check requirements, the handful of “cooling-off period” laws which did not come about for nearly

       another half century address a fundamentally different “why”—and one that is fundamentally

       incompatible with the Second Amendment.

              64.     Because Section 2016 “is [not] consistent with the Nation’s historical tradition of

       firearm regulation,” Bruen, 597 U.S. at 24, it violates the Second Amendment.




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                                              PRAYER FOR RELIEF

              Wherefore, Plaintiffs pray that this Court:

              1.      issue an order and judgment declaring that Section 2016 violates the Second

       Amendment both on its face and as applied to law-abiding citizens purchasing a handgun for self-

       defense who pass a background check in less than 72 hours;

              2.      preliminarily and permanently enjoin enforcement of Section 2016;

              3.      award Nancy Coshow nominal damages against Aaron Frey in his personal

       capacity;

              4.      award costs and attorneys’ fees pursuant to 42 U.S.C. §1988 and any other

       applicable statute or authority; and

              5.      provide any other and further relief as the Court may deem just and appropriate.




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                                                  Respectfully submitted,

                                                  /s/Joshua A. Tardy
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       November 12, 2024




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                                         EXHIBIT A

                                Declaration of Andrea Beckwith




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                                     UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF MAINE




        ANDREA BECKWITH, EAST COAST SCHOOL
        OF SAFETY, NANCY COSHOW, JAMES
        WHITE, J WHITE GUNSMITHING, ADAM
        HENDSBEE, A&G SHOOTING, THOMAS
        COLE, and TLC GUNSMITHING AND
        ARMORY,

                       Plaintiffs,                     Civil Action No. ______

                        v.

        AARON FREY, in his personal capacity and
        in his official capacity as Attorney General
        of Maine,

                       Defendant.




                                DECLARATION OF ANDREA BECKWITH

              I, Andrea Beckwith, declare under penalty of perjury that the following is true and correct

       to the best of my knowledge, information, and belief:

              1.      I am a life-long Maine resident and the owner-operator of East Coast School of

       Safety (“East Coast SOS”), which I founded in 2012. Additional information on East Coast SOS

       can be found online at https://eastcoastsos.com/. I currently live and raise my three children in

       Auburn, Maine. I make this declaration based on my personal knowledge.

              2.      I have regularly carried a gun for self-defense for over a decade. I have previously

       been registered to carry a concealed weapon in the State of Maine and am currently in the process

       of renewing my concealed-carry registration. I intend to purchase another handgun for self-

       defense purposes soon but will be unable to promptly acquire it owing to Section 2016.


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              3.      I vividly remember the first time I considered buying a gun: late one night, while

       traveling with my children, I had an unnerving encounter with an unknown man in an empty

       parking lot. In that moment, I realized that I would have been unable to effectively defend my

       family if the man attempted to take one of my children. And although that was the first time I

       wished I had a gun, it would not be the last.

              4.      Several months later, my marriage deteriorated into domestic violence. My then-

       husband was always very possessive and controlling, limiting my access to a car, to money, and

       even to my family and friends. But over the course of several months, his conduct escalated from

       emotional abuse into both physical and sexual assault. On multiple occasions during this period,

       he threw things at me, brandished a loaded gun, and made concrete threats of violence if I

       attempted to leave him.

              5.      I am extremely fortunate that, when my pastor found out about this abuse, he

       intervened and encouraged me to leave my husband for the safety of myself and my children. He

       gave me a key to the church and critical support in the aftermath of our separation as I struggled

       to get on my feet. During this period, I lived in a camper on property owned by my parents. I

       credit my pastor’s support during this period with saving my life.

              6.      Even after leaving my accuser, I remained unsafe and anxious, well aware of my

       acute vulnerabilities and constantly looking over my shoulder. For instance, although I had

       obtained a protective order against my abuser, I knew that the order alone could not guarantee my

       safety. And although the protective order allowed law enforcement to confiscate his guns, I

       actually asked the police executing the order not to confiscate his guns, out of fear that doing so

       would only enrage him and make him more likely to carry out his threats of violence against me.

       I also knew that, even if the police were able to secure all his guns, he could still easily obtain




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       another from a friend or family member. Since I was unable to rely solely on the protective order

       for my safety, I bought a firearm and began taking as many classes as I could to gain proficiency

       in self-defense.

              7.      During this period, my abuser frequently stalked my movements around town, and

       enlisted his friends, siblings, and a private investigator to do the same. Occasionally, I would be

       woken up in the middle of the night by the sound of my abuser or his friends throwing rocks at my

       camper to scare me. On these nights, I would sleep with my gun within reach. Ultimately, I believe

       that my abuser’s knowledge that I had a gun and had been trained in self-defense was the primary

       deterrent preventing him from harming me.

              8.      My experience as a domestic-violence victim led me to devote my life to protecting

       and empowering women, with the goal of preventing other women from going through what I

       went through and helping them take back their lives when they do. As I was planning to leave my

       abuser, I began volunteering with an anti–sex-trafficking organization called Thrive New England.

       I quickly came to realize that the survivors I worked with were paralyzed by fear, often lacking the

       confidence even to leave their own home. But I also realized that just a modicum of self-defense

       training would go a long way towards giving them the confidence to take their lives back. That

       insight is ultimately what inspired me to begin teaching self-defense classes, leading directly to

       the founding of East Coast SOS.

              9.      Today, I am certified as a firearms instructor by both the National Rifle Association

       and the U.S. Concealed Carry Association. Through East Coast SOS, I have trained thousands of

       women across the state of Maine seeking instruction on firearms self-defense. Many women come

       to me on the recommendation of local law enforcement. Other women come after an experience

       in which they felt threatened and realized that they could not fight off an attacker themselves, and




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       that the police were too far away to guarantee their safety.

              10.     In addition to firearms-training classes, I offer classes and seminars on first aid and

       nonlethal self-defense strategies. I offer these courses both in group settings and in one-on-one

       settings. Although most of my classes are designed for adult women, I also teach classes geared

       specifically towards children and, occasionally, co-ed groups. That said, I have found that

       women—and particularly those who are suffering or have suffered domestic violence—show

       greater willingness to participate and ask questions in a woman-only setting.

              11.     In the past, I have hosted most of my classes and seminars at an indoor gun range

       in Windham, Maine, though the range is currently for sale and I am unsure whether I will be able

       to continue teaching at that location in the future. I also frequently travel throughout the state to

       host courses at local gun clubs and at other locations by request. In the past year, I have been

       contacted by various women’s associations—including motorcycle groups and even a book club—

       asking me to put on a self-defense training course. My long-term goal is to open a facility of my

       own where I can host these classes without incurring facility rental expenses.

              12.     I also host annual retreats for alumni of my classes, primarily designed to empower

       and support domestic-violence victims and survivors. These retreats offer opportunities for

       victims, survivors, and allies to network, form support groups, refresh their self-defense skills, and

       meet with trauma counselors in both group and individual settings.

              13.     My classes, seminars, and retreats are all organized around the goal of helping

       victims and survivors of domestic violence to take back their lives with confidence. East Coast

       SOS’ motto is “self-defense at your comfort level,” which conveys my goal of meeting women

       where they are and providing them with whatever skills and knowledge they need to feel safer and

       more comfortable in their communities. One of my students in recent years was a victim of the




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       horrific 2023 Lewiston shooting who watched her friend get shot and suffer severe injuries on that

       tragic day. After the shooting, the victim was so paralyzed by fear that she was nearly unable to

       leave her home. After going through my training, she regained a sense of security, enabling her to

       feel more comfortable going about her day-to-day life.

              14.     Because my classes, seminars, and retreats are expensive to put on, I charge my

       clients modest tuition fees. However, many domestic-violence victims and survivors face financial

       hardship, making it difficult for them to enroll. It is an unfortunate phenomenon that abusive

       partners often control household finances and limit victims’ access to bank accounts. And women

       are often forced to exhaust whatever meager savings they may have been able to accumulate to

       support themselves and their families after leaving their abuser. To avoid having to turn away

       women in financial need, I founded a non-profit 501(c)(3) organization known as AWE (an

       acronym for “Academy of Women Empowerment”) that raises funds to subsidize the cost of

       classes and retreats. Through this fundraising, I estimate that I have been able to provide free

       firearms self-defense training to hundreds of women and children over the past 10 years.

              15.     The nature of my work and my reputation for working with domestic-violence

       victims frequently brings me into direct contact with women facing credible, imminent threats of

       physical violence from a current or former intimate partner. Although I wish that this scenario

       were less common, in an average month, I expect to be introduced to between three and five

       women facing a credible, imminent threat of physical violence. These connections generally occur

       because the victim directly reaches out, or because someone in my network passes on the victim’s

       contact information. Although each of these instances is heartbreaking, I take pride in doing

       whatever I can to help these women feel safer in their time of crisis.

              16.     When I am connected with a woman facing a credible, imminent threat of physical




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       violence, my practice is to ask her to meet me at the closest gun range at her earliest opportunity.

       I will frequently change or rearrange my schedule to accommodate a victim’s availability, as

       helping these women in their time of crisis is my utmost priority. Many studies show that

       domestic-violence victims face the highest risk of death in their first 3 months after leaving their

       abuser. And I know from my own experiences how fraught and anxiety-ridden the first several

       days can be.

              17.     As soon as I can meet with a woman facing a credible, imminent threat of physical

       violence, my practice is to bring along several models of handguns suitable for self-defense for

       her to test. Once the woman decides which model she is most comfortable with, I provide a few

       hours of basic instruction so that she can safely operate the firearm and competently defend herself

       (and, if she is a mother, her children too). Then I connect her with a local gun shop where, at least

       before Section 2016 took effect, she could purchase the gun and, pending the instant background

       check required by federal law, leave feeling safer that same night. As part of that process, I call

       the gun shop so it knows to look out for the woman and to help her with exactly what she needs to

       buy.

              18.     After that initial encounter with a woman facing a credible, imminent threat of

       physical violence, I stay in close contact with her to ensure her continued safety. I also encourage

       her to take other classes with me or another instructor to gain additional self-defense skills. And I

       frequently accompany the woman to any court hearings as a source of moral support if she elects

       to bring divorce, custody, or protection-from-abuse proceedings.

              19.     Maine’s new waiting-period law makes it impossible for people to legally acquire

       a gun for self-defense purposes without waiting-out a 72-hour “cooling-off” period. There are

       countless problems with this law, not least that it deprives law-abiding women facing a credible,




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       imminent threat of violence of any meaningful opportunity to defend themselves. It also directly

       affects and interferes with one of my core business activities: helping women in acute crisis

       lawfully obtain a firearm so that they are immediately in a position to defend themselves and their

       families.

              20.     It is hard for me to imagine a clearer infringement of the Second Amendment. Yet

       for obvious reasons, women facing credible, imminent threats of violence encounter significant

       hindrances and barriers to challenging the lawsuit in court themselves. For one thing, retaining a

       lawyer and filing a lawsuit is expensive, and domestic-violence victims are often severely limited

       in their ability to access funds. As my own experience shows, abusers routinely control victims’

       finances, and leaving an abuser often requires a woman to exhaust all available savings to secure

       housing and food for herself and her children. Besides this financial burden, hiring a lawyer and

       filing a complaint takes time, and it is simply unrealistic to expect a woman to do so in the three

       days during which she faces so many other necessary expenses, and during which her primary

       focus is keeping herself and her children alive. Moreover, coming forward as a plaintiff forces a

       woman facing a credible, imminent threat of violence to put herself at additional risk, by raising

       her profile and publicly accusing her abuser at a time when further escalation could prove deadly.

       And if that all were not enough, feelings of shame and embarrassment associated with the stigma

       of domestic abuse will often deter women harmed by Section 2016 from coming forward.

              21.     As a practical matter, the waiting-period law makes no sense. A domestic abuser

       plainly does not respect the law and will always be able to acquire a firearm—including through

       illegal means if necessary. So the waiting-period law will do nothing to prevent him from

       impulsive violence or self-harm. By contrast, the waiting-period law makes it impossible for a

       victim of domestic abuse to lawfully obtain a gun and effectively defend herself and her children.




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       The State of Maine should encourage women in these circumstances to come forward, acquire a

       gun, and be trained on safe and effective self-defense techniques. Yet instead, the waiting-period

       law pushes victims even further into the shadows and empowers their abusers, who now know that

       their victim will be unarmed for at least 72 hours. Indeed, the fact that abusers know that their

       victims will not be able to obtain a gun for 72 hours makes that initial period after leaving an

       abuser even more fraught, as it may serve to incentivize abusers bent on violence to act quickly

       during the period in which they have a perceived advantage.

                                                  *     *   *

              I declare under penalty of perjury that the foregoing is true and correct to the best of my

       knowledge, information, and belief.




                                   12 2024
              Executed on November __,

                                                      ___________________________

                                                      Andrea Beckwith




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                                         EXHIBIT B

                                 Declaration of Nancy Coshow




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                                     UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF MAINE




        ANDREA BECKWITH, EAST COAST SCHOOL
        OF SAFETY, NANCY COSHOW, JAMES
        WHITE, J WHITE GUNSMITHING, ADAM
        HENDSBEE, A&G SHOOTING, THOMAS
        COLE, and TLC GUNSMITHING AND
        ARMORY,

                       Plaintiffs,                     Civil Action No. ______

                        v.

        AARON FREY, in his personal capacity and
        in his official capacity as Attorney General
        of Maine,

                       Defendant.




                                     DECLARATION OF NANCY COSHOW

              I, Nancy Coshow, declare under penalty of perjury that the following is true and correct to

       the best of my knowledge, information, and belief:

              1.      I am licensed to carry a concealed weapon in Maine and have previously been

       licensed in two other states. I have been extensively trained on how to safely store and operate

       firearms, both for recreation and for self-defense. Among other things, I took an advanced safety

       training course to obtain my Range Safety Officer designation. I have also taken significant First

       Aid training. I make this declaration based on my personal knowledge.

              2.      I live alone with my husband on a roughly five-acre, heavily wooded property in

       Bridgton, Maine. I am in my late 60s, and my husband is 70. We have no family in the area; our

       two adult children and their children live out of state. As we age, we have become increasingly



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       aware of our safety, and sensitive to physical limitations that would make it difficult for us to

       defend ourselves if we were the victims of violent crime. For instance, I suffer from arthritis in

       my hands, knees, and back that limits my mobility to such an extent that the state of Maine has

       issued me a handicapped-parking permit. My husband also has a handicapped parking permit.

              3.      Our awareness of our safety has heightened in recent years because of several

       violent crimes in the surrounding area that have appeared to specifically target senior citizens as

       well as another particularly vicious attack in town against a young woman. Our concerns are

       compounded further still given that our house is visually secluded from the road and neighbors.

       Because of these concerns, it has been our practice for many years that one of us always carries a

       handgun for self-defense purposes.

              4.      My husband and I used to share this self-defense duty, but for the past several years,

       arthritis in my hands has made it difficult and painful for me to operate the higher-caliber handguns

       that we currently own. Once my arthritis progressed to the point where it became difficult and

       painful to operate the higher-caliber handguns, my husband became solely responsible for carrying

       a gun for self-defense.

              5.      My husband underwent major back surgery on October 16, 2024. In advance of

       the surgery, his doctors informed him that his mobility will be significantly reduced for at least

       three months following the surgery. As a result of his expected incapacitation, in advance of his

       procedure, I took steps to prepare to take over primary responsibility for all household chores,

       from grocery shopping, to cleaning, and including self-defense. As part of that process, I sought

       to purchase a smaller handgun that I could carry and use more comfortably.

              6.      On October 8, 2024, I traveled to Northeastern Firearms, a federally licensed

       firearms dealer approximately 40 miles (roughly 75 minutes) away in Turner, Maine. I intended




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                                         EXHIBIT C

                                  Declaration of James White




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                                     UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF MAINE




        ANDREA BECKWITH, EAST COAST SCHOOL
        OF SAFETY, NANCY COSHOW, JAMES
        WHITE, J WHITE GUNSMITHING, ADAM
        HENDSBEE, A&G SHOOTING, THOMAS
        COLE, and TLC GUNSMITHING AND
        ARMORY,

                       Plaintiffs,                     Civil Action No. ______

                        v.

        AARON FREY, in his personal capacity and
        in his official capacity as Attorney General
        of Maine,

                       Defendant.



                                       DECLARATION OF JAMES WHITE

              I, James White, declare under penalty of perjury that the following is true and correct to

       the best of my knowledge, information, and belief:

              1.      I am a Navy veteran and the owner of J White Gunsmithing, a federally licensed

       firearm dealer with a storefront at 306 Wharff Road, Guilford, Maine 04443. I founded the

       business in 2001 as a way to use my skills and passion for gunsmithing to build custom, one-of-a-

       kind guns for customers. Since then, I hired my wife to manage the paperwork and my son Jake

       to oversee the growing portion of the business devoted to firearm sales. In 2022, I was elected to

       the Maine House of Representatives, representing District 30. Because of my duties in Augusta,

       my son has taken over as the primary manager of the business, which now focuses primarily on

       gun sales. I make this declaration based on my personal knowledge and on information reported



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       to me in my capacity as the owner of J White Gunsmithing.

              2.     Because of its location—it is the only gun shop in town, and one of the last gun

       shops on the way to remote hunting and camping grounds in northern Maine—J White

       Gunsmithing often sells guns to customers with a time-sensitive need to acquire a firearm.

              3.     When a customer comes in to buy a firearm, we work with the customer to assess

       his or her needs and to offer recommendations on the appropriate firearm and any accessories to

       purchase. After a customer selects a firearm for purchase, one of my employees collects the

       required identification information from the customer and calls the National Instant Criminal

       Background Check System (“NICS”) hotline to initiate the required background check. Most of

       these phone calls culminate with an approved background check and an instant “proceed”

       determination from NICS. By contrast, a relatively small number of calls to NICS culminate with

       a failed background check and a “deny” determination. Besides “proceed” and “deny,” calls to

       NICS can also culminate with a “delay” directive, when NICS needs additional time to process the

       background check.     In many cases, NICS calls back in less than hour with a “proceed”

       determination. If the “delay” directive remains pending after three days, federal law allows the

       store to proceed with the sale if the buyer is 21 years of age or older. (Buyers aged 18-20 are

       delayed ten days under federal law.)

              4.     Given the types of customers we often serve, Section 2016 has had a disastrous

       effect on the business. Because Section 2016 forces all transactions into a three-day hold, even

       when NICS instantly issues a “proceed,” we can no longer promptly sell a firearm to a customer

       with a time-sensitive need to acquire one. As a result, since Section 2016 went into effect, our

       handgun sales are down 50% and rifle sales down 25% from the typical sales volume in prior years

       for August and September.




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              5.      While that is devastating for my business, I am also extremely sensitive to Section

       2016’s effect on my customers, because it makes it impossible for a customer with a legitimate,

       time-sensitive need to lawfully acquire a gun. Two experiences that customers have shared with

       me over the years have weighed particularly heavily on my mind. Although J White Gunsmithing

       sold guns to these customers long before Section 2016 took effect, I cannot help but think how

       differently their stories might have turned out under the new law.

              6.      The first involves a young woman who grew up in town. Her boyfriend was an

       older man, well known around town for physical aggression. One day, she came into the store,

       confided in my son that she had been physically abused, that she had left her abuser, and that she

       had obtained a restraining order against him to protect herself and her child. After consulting with

       law enforcement, she was quite aware that response times to her then-residence could be close to

       an hour. The young lady had been raised around firearms and was quite competent with the use

       and storage of them. She purchased a handgun from my store and left with an improved peace of

       mind, knowing that she could protect herself and her child if necessary.

              7.      I also think back on the experience of a local physician who I am friends with

       through church. One day, the doctor called me in a state of concern after he had refused to refill a

       prescription for a man who had been abusing opioids. The doctor had left his practice for the day,

       but before he had reached his home, the man returned to the clinic with a firearm threatening to

       kill the doctor. Claiming to know where the doctor lived, the man left the office and drove out of

       the parking lot. The doctor feared for his family’s safety, as they lived at the end of a dirt road

       where emergency response times would have been roughly an hour. He was also worried about

       the safety of the church congregation, as it was public knowledge that he and his wife were very

       involved in the church. He asked me to if I would be armed and vigilant at that night’s prayer




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       meeting, which I was happy to do. I also lent the doctor two of my personal firearms until the

       police apprehended and charged the man who made the threats. Shortly thereafter, the doctor

       purchased a firearm to defend his wife and daughter in case such an occurrence ever happened

       again.

                8.    J White Gunsmithing also frequently sells firearms to outdoorsmen who, for one

       reason or another, need to acquire or replace one on short notice. Sometimes, a hunter has made

       it all the way to northern Maine for a hunting trip only to realize that he has forgotten his hunting

       rifle at home. Other times, a hunter needs a new gun after something happens to his original gun

       at the hunting camp. For example, roughly four times a year, a hunting-season customer needs a

       new rifle because his was run over after it was leaning up against the side of a pick-up truck and

       someone backed-up the truck without moving the rifle. If a hunter in that scenario is in the middle

       of a seven-day hunting permit for moose or bear, Section 2016 now means that his hunt is

       effectively over. And if a hunter in that scenario has an upcoming, nonrefundable reservation for

       a hunting guide, Section 2016 effectively requires him to eat the cost of the hunt.

                9.    Section 2016 has many problems, but one of its most illogical features is the refusal

       to make any exceptions for people who already own guns or who already have a state-issued

       hunting permit and are seeking to buy a hunting rifle.

                10.   If a customer who has been carrying a firearm legally in the state of Maine decides

       it is time to upgrade even though he currently owns a firearm, Section 2016 nonetheless prohibits

       him from purchasing a new firearm and taking it home that day. This prohibits a customer from

       trading his old gun in for a new gun in a single transaction. But when law-enforcement agencies

       around the state upgrade their side arms, their duty pistols are traded in and their new duty pistols

       are transferred at the same time, allowing the taxpayers to realize the trade-in value immediately.




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                                         EXHIBIT D

                                Declaration of Adam Hendsbee




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                                      UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF MAINE




       ANDREA BECKWITH, EAST COAST SCHOOL OF
       SAFETY, NANCY COSHOW, JAMES WHITE, J
       WHITE GUNSMITHING, ADAM HENDSBEE,
       A&G SHOOTING, THOMAS COLE, and TLC
       GUNSMITHING AND ARMORY,

                       Plaintiffs,
                                                        Civil Action No. ______
                       v.

       AARON FREY, in his personal capacity and in
       his official capacity as Attorney General of
       Maine,

                       Defendant.



                                     DECLARATION OF ADAM HENDSBEE

               I, Adam Hendsbee, declare under penalty of perjury that the following is true and correct

       to the best of my knowledge, information, and belief:

               1.      I am the owner of A&G Shooting, a federally licensed firearm dealer. A&G has

       been in business since 2011. Since 2020, we have had a storefront at 214 Center Road, Fairfield,

       Maine 04937. I make this declaration based on my personal knowledge.

               2.      I care deeply about doing business in an ethical and professional manner. I

       always endeavor to get to know my customers and to ensure that I am selling the right guns to

       the right people. This is especially important when I know or suspect that a customer is buying

       his or her first firearm. I have in-depth conversations with them to make sure they are getting the

       right firearm for their needs and that they are getting a firearm for the right reasons. I take the

       time to go over basic firearm safety and proper use of the firearm, like proper loading and




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       unloading, as well as disassembly and cleaning. I always recommend that they take a firearms

       safety course for further safety instruction and skill development. During these conversations I

       am not only getting to know my customers, but also evaluating their maturity and state of mind.

       I must be comfortable that the sale will not endanger the customer or the community. In other

       words, just because a customer passes a background check does not mean they will be able to

       buy a firearm from my store. If I am not confident that they are going to do the right thing with a

       firearm, I deny the sale.

              3.      On an annual basis, for as many times that the FBI’s National Instant Criminal

       Background Check System (NICS) denies a sale, I generally deny a far greater amount on my

       own judgment, because I believe the customer to be unfit or unsafe. For my store, the NICS

       system denies around 5 to 10 attempted purchases a year. Usually half of these denials get

       overturned with an appeal from the customer based off of an error with the NICS system. In

       contrast, my store averages 4 to 6 denials per month based on customer/employee interactions.

       None of these denials are overturned. Many of these purchases I deny because I believe them to

       be potential straw purchases. I report many of the suspected straw purchase attempts directly to

       ATF investigators. The ATF has commended me for effectively blocking illegal purchases and

       for working collaboratively with local, state, and federal law enforcement agencies.

              4.      Because of Section 2016’s negative impact on my in-person customer base, I

       anticipate an increase in online sales, where the customer only has to come to my store once (to

       pick the gun up) instead of twice (first to buy the gun, and then to pick it up). Although this pivot

       to online sales may be necessary for A&G’s continued success, it is unfortunate that a law

       designed to promote public safety will in fact leave me with less opportunity to interact with

       customers, to vet them in person, and eliminate the line of defense only available through in-




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       person interactions.

              5.      My business is located right off the highway next to a very busy truck stop in

       Fairfield. A significant portion of my overall sales come from interstate travelers and truck

       drivers. These customers are generally traveling through, and stop to casually browse our

       inventory. Many, if not most, of these customers we will probably never see again. When one of

       them selects a firearm for purchase, I or one of my employees will collect the required

       identification information from the customer and call the NICS hotline to initiate the required

       background check. Most of these phone calls culminate with an approved background check and

       an instant “proceed” directive from NICS. By contrast, less than 1% of calls to NICS culminate

       with a failed background check and a “deny” directive. Besides “proceed” and “deny,” calls to

       NICS can also culminate with a “delay” directive, in circumstances where NICS needs additional

       time to process the background check. In many cases, NICS calls back in less than hour with a

       “proceed” directive. If the “delay” directive remains pending after three days, federal law allows

       me to proceed with the sale.

              6.      But Section 2016 subjects every one of these customers to a three day “hold,”

       regardless of the customer getting a “proceed” directive on a NICS background check. This

       three-day hold has negatively impacted sales to this portion of my business. Most are not able or

       willing to travel back to our location to complete the sale. We offer to ship firearms to a location

       more convenient for the customer to pick up, but this comes with another set of inconveniences,

       as well as additional expenses in the form of shipping and transfer fees. After accounting for

       these additional inconveniences and fees, a casual customer is often not interested in buying the

       firearm.

              7.      Section 2016 has caused compounding harm to my business because, when I sell




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       a firearm, I typically sell numerous accessories to go along with it. So for every firearm sale I

       lose because of Section 2016, I also lose corresponding sales of accessories.

              8.      Section 2016 makes particularly little sense for my regular customers who already

       currently own other firearms. Over 95% of the customers that I deal with on a yearly basis are

       already current firearm owners. Many of these customers like to trade in firearms that they

       currently own towards something new. It makes no sense to me that these customers will walk

       into my store with a firearm in hand, find a firearm that they would like to trade towards,

       complete and pass a NICS background check, only to leave with the firearm that they came in

       with and return sometime after the 72 hours has passed with that firearm again to make the trade

       and complete the sale. Many of these customers are well trained and hold valid concealed carry

       permits, yet everyone has to wait 72 hours to make a legal purchase.

              9.      Since Section 2016 has been in effect, it not only has caused a financial burden

       for my store and a major inconvenience for my customers, but also a safety hazard for Maine

       citizens. I have witnessed this hazard first-hand. On the first Thursday after Section 2016 took

       effect, I had a single woman from a nearby town come into the store because her town police

       officer had recommended that she purchase a firearm for home defense. She had just learned

       that she had a stalker looking through her windows and harassing her on her own property. The

       local police issued a restraining order against the accused individual and suggested to the victim

       that she should consider a firearm for self-defense. I worked with her for over an hour picking

       out the right firearm that she would be comfortable with as well as getting her signed up for

       some training. She completed the NICS background check successfully and paid for the firearm.

       I let her know that since Section 2016 was now in effect and we are closed on Sunday and

       Mondays, the soonest she would be able to take possession of the firearm would be the following




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                                         EXHIBIT E

                                  Declaration of Thomas Cole




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                                     UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF MAINE




        ANDREA BECKWITH, EAST COAST SCHOOL
        OF SAFETY, NANCY COSHOW, JAMES
        WHITE, J WHITE GUNSMITHING, ADAM
        HENDSBEE, A&G SHOOTING, THOMAS
        COLE, and TLC GUNSMITHING AND
        ARMORY,

                       Plaintiffs,                     Civil Action No. ______

                        v.

        AARON FREY, in his personal capacity and
        in his official capacity as Attorney General
        of Maine,

                       Defendant.



                                     DECLARATION OF THOMAS COLE

              I, Thomas Cole, declare under penalty of perjury that the following is true and correct to

       the best of my knowledge, information, and belief:

              1.      I am a retired Marine living in Hampden, Maine.         I own and operate TLC

       Gunsmithing, a federally licensed firearm dealer, and employ my adult daughter to help with the

       business. I make this declaration based on my personal knowledge.

              2.      TLC Gunsmithing does not have a storefront, and although it does have a website,

       we sell guns almost exclusively at weekend gun shows throughout Maine.            Because TLC

       Gunsmithing is federally licensed, federal law requires it to conduct a background check for all

       sales at gun shows. See 18 U.S.C. §922(t). And even for non-federally licensed firearms dealers,

       Maine law would still require background-checks for all firearm sales at gun shows. See 25 Me.



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       Rev. Stat. §2013(2).

              3.      Although a business model focused on gun shows offers relatively low overhead

       cost, it does require a significant investment to accumulate and store inventory in advance of a

       show, as well as significant travel and incidental costs associated with traveling to the gun show,

       securing lodging and meals, and paying the fees that gun shows assess on participating vendors.

       For example, TLC Gunsmithing incurred roughly $2000 in travel and incidental expenses for me

       and my daughter to travel to an annual gun show at the Augusta Armory from August 24-25, 2024.

       At the 2023 iteration of this gun show, we sold approximately 20 guns. This year, however, TLC

       Gunsmithing sold zero.

              4.      Section 2016 is directly responsible for TLC Gunsmithing’s plummeting sales

       figures. Because gun shows are Saturday-Sunday affairs, Section 2016 makes it impossible to

       transfer possession of any firearm sold during the show. And after each show, my daughter and I

       return to Hampden, which may be hours away from the gun show. If a customer buys a firearm

       from TLC Gunsmithing during a gun show, to take possession of it, either the customer would

       need to travel to Hampden, or we would need to make alternate arrangements involving additional

       expense: I or my daughter would have to extend our stay near the gun show or meet the customer

       at a mutually agreeable location after the gun show ends, or we would have to ship the firearm to

       another federal firearm licensee closer to the customer, so the other licensee can consummate the

       transfer (which licensees often charge a fee to do).

              5.      A few weeks after losing roughly $2000 in Augusta, I participated in a gun show in

       Bangor, where I managed to sell five guns—an improvement I attribute to the fact that I live in the

       greater Bangor area, so I could arrange to meet up and transfer the gun after the show with minimal

       inconvenience. Although I live close enough to Bangor to avoid incurring significant




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                                   UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF MAINE


       ANDREA BECKWITH, et al.,                 )
                                                )
                   Plaintiffs,                  )
                                                )
                       v.                       )           Civil Action No. 1:24-cv-00384-LEW
                                                )
       AARON M. FREY, in his personal capacity )
       and in his official capacity as Attorney )
       General of Maine,                        )
                                                )
                   Defendant.                   )


                                  DEFENDANT’S NOTICE OF APPEAL

              Please take notice that Defendant Aaron M. Frey, in his official as the Attorney General of

       the State of Maine, hereby appeals to the United States Court of Appeals for the First Circuit from

       the “Order on Plaintiffs’ Motion for Preliminary Injunctive Relief” (ECF No. 30), dated February

       13, 2025.



       Dated: February 17, 2025                     Respectfully submitted,


                                                    AARON M. FREY
                                                    Attorney General


                                                    _/s/ Paul E. Suitter________
                                                    CHRISTOPHER C. TAUB
                                                    Chief Deputy Attorney General
                                                    Christopher.C.Taub@maine.gov

                                                    THOMAS A. KNOWLTON
                                                    Deputy Attorney General
                                                    Chief, Litigation Division
                                                    Thomas.A.Knowlton@maine.gov




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                                           Assistant Attorney General
                                           Paul.Suitter@maine.gov

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                                           Tel. (207) 626-8800
                                           Fax (207) 287-3145

                                           Counsel for Defendant Aaron M. Frey, in his
                                           personal capacity and his official capacity as
                                           Attorney General of the State of Maine




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                                        CERTIFICATE OF SERVICE

               I hereby certify that on February 17, 2025, I electronically filed this document and any

       attachments with the Clerk of the Court using the CM/ECF system, which will send notification

       of such filing to all registered participants as identified in the CM/ECF electronic filing system for

       this matter.


       Dated: February 17, 2025                       Respectfully submitted,


                                                      AARON M. FREY
                                                      Attorney General


                                                      /s/ Paul. E. Suitter______________________

                                                      PAUL E. SUITTER
                                                      Assistant Attorney General
                                                      Paul.Suitter@maine.gov

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                                                      6 State House Station
                                                      Augusta ME 04333-0006
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                                                      Fax (207) 287-3145

                                                      Counsel for Defendant Aaron M. Frey, in his
                                                      personal capacity and his official capacity as
                                                      Attorney General of the State of Maine




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                                   UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF MAINE

       ANDREA BECKWITH, et al.,                      )
                                                     )
                   Plaintiffs,                       )
                                                     )
                       v.                            )       Civil Action No. 1:24-cv-00384-LEW
                                                     )
       AARON FREY, in his personal capacity          )
       and in his official capacity as Attorney      )
       General of Maine,                             )
                                                     )
                   Defendant.                        )



                                  DECLARATION OF ROBERT SPITZER

              I, Dr. Robert Spitzer, declare under the penalty of perjury that the following is true and

       correct:

              The Office of the Maine Attorney General has asked me to provide an expert opinion

       pertaining to firearms waiting periods and related restrictions in the United States in the above-

       captioned matter. This expert report and declaration (“Declaration”) provides that opinion and is

       based on my own personal knowledge and experience; if I am called as a witness, I could and

       would testify competently to the truth of the matters discussed in this Declaration.

                                 BACKGROUND AND QUALIFICATIONS

              1.       I am a Distinguished Service Professor of Political Science Emeritus at the State

       University of New York at Cortland. I was also a visiting professor at Cornell University for

       thirty years. I am currently an adjunct professor at the College of William & Mary School of

       Law. I earned my Ph.D. in Government from Cornell University. I reside in Williamsburg,

       Virginia.




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                2.     I am the author of 16 books on many American politics subjects, including six on

       gun policy. I have been studying and writing about gun policy for nearly forty years. My first

       publication on the subject appeared in 1985.1 Since then, I have published six books and over

       one hundred articles, papers, and essays on gun policy. My expertise includes the history of gun

       laws, gun policy in American politics, and related historical, legal, political, and criminological

       issues. My book, The Politics of Gun Control, has been in print since its initial publication in

       1995. It examines firearms policy in the United States through the lenses of history, law, politics,

       and criminology. The ninth edition of the book was recently published by Routledge Publishers

       (2024). My two most recent books on gun policy, Guns across America (Oxford University

       Press, 2015, 2017) and The Gun Dilemma (Oxford University Press, 2023), both deal extensively

       with the study of historical gun laws, a subject I have been studying and writing on for over ten

       years. I am frequently interviewed and quoted in the national and international media on gun-

       related matters. For nearly thirty years, I have been a member of the National Rifle Association

       and of Brady (formerly, the Brady Campaign to Prevent Gun Violence).

                3.     I have provided written testimony as an expert witness in the following cases (in

       addition to this case): Worman v. Healey, No. 1:17-10107-WGY (D. Mass.); Hanson v. District

       of Columbia, No. 1:22-cv-02256 (D.D.C.); Brumback v. Ferguson, No. 22-cv-3093 (E.D.

       Wash.); Sullivan v. Ferguson, No. 3:22-cv-05403 (W.D. Wash.); Miller v. Bonta, No. 3:19-cv-

       1537 (S.D. Cal.); Duncan v. Bonta, No. 17-cv-1017 (S.D. Cal.); Fouts v. Bonta, No. 19-cv-1662

       (S.D. Cal.); Rupp v. Bonta, No. 17-cv-00746 (C.D. Cal.); Gates v. Polis, No. 1:22-cv-01866 (D.

       Colo.); Oakland Tactical Supply LLC v. Howell Twp., No. 18-cv-13443 (E.D. Mich.); State v.

       Misch, No. 173-2-19 Bncr (Vt. Super. Ct. Bennington County); Nat’l Ass’n for Gun Rights, Inc.



       1
           Robert J. Spitzer, “Shooting Down Gun Myths,” America (June 8, 1985), 468–69.
                                                        2



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       v. City of Highland Park, No. 22-cv-4774 (N.D. Ill.); Nat’l Ass’n for Gun Rights v. Campbell,

       No. 22-cv-11431 (D. Mass.); Abbott v. Connor, No. 20-00360 (D. Haw.); Nat’l Ass’n for Gun

       Rights v. Shikada, No. 1:22-cv-00404 (D. Haw.); Yukutake v. Shikada, No. 1:22-cv-00323 (D.

       Haw.); Nat’l Ass’n for Gun Rights v. Lopez, No. 1:22-CV-00404 (D. Haw.); Abbot v. Lopez, No.

       20-00360 (D. Haw.); Santucci v. City & County of Honolulu, No. 1:22-cv-00142 (D. Haw.);

       Yukutake v. Lopez, No. 1:22-cv-00323 (D. Haw.); Baird v. Bonta, No. 19-cv-00617 (E.D. Cal.);

       Nichols v. Newsom, No. 11-cv-9916 (C.D. Cal.); Delaware State Sportsmen’s Ass’n, Inc. v.

       Delaware Dept. of Safety and Homeland Sec., No. 1:22-cv-00951 (D. Del.); Fitz v. Rosenblum,

       No. 22-cv-01859 (D. Ore.); Harrel v. Raoul, No. 3:23-cv-00141 (S.D. Ill.); Mitchell v. Atkins,

       No. 19-cv-5106 (W.D. Wash.); Keneally v. Raoul, No. 23-cv-50039 (N.D. Ill.); McGregor v.

       County of Suffolk, No. 2:23-cv-01130 (E.D.N.Y.); Lane v. James, No. 22-cv-10989 (S.D.N.Y.);

       Rocky Mountain Gun Owners v. The Town of Superior, No. 22-cv-02680 (D. Colo.); Wiese v.

       Bonta, No. 17-cv-00903 (E.D. Cal.); Harrel v. Raoul, No. 23-cv-141-SPM (S.D. Ill.); Langley v.

       Kelly, No. 23-cv-192-NJR (S.D. Ill.); Barnett v. Raoul, No. 23-cv-209-RJD (S.D. Ill.); Fed.

       Firearms Licensees of Illinois v. Pritzker, No. 23-cv-215-NJR (S.D. Ill.); Herrera v. Raoul, No.

       23-cv-532 (N.D. Ill.); Banta v. Ferguson, No. 23-cv-00112 (E.D. Wash.); Hartford v. Ferguson,

       No. 23-cv-05364 (W.D. Wash.); Koppel v. Bonta, No. 8:23-cv-00813 (C.D. Cal.); Doe v. Bonta,

       No. 8:23-cv-01324 (C.D. Cal.); Calce v. City of New York, No. 1:21-cv-08208-ER (S.D.N.Y.);

       D.B. v. Sullivan, No. 22-CV-282 (MAD)(CFH) (N.D.N.Y.); Richey v. Sullivan, No. 1:23-cv-344

       (AMN-DJS) (N.D.N.Y.); Commonwealth of Pennsylvania v. Tomlinson, No. CP-31-CR-217-

       2023 (Pa. Court of Common Pleas); Nat’l Ass’n for Gun Rights v. Polis, No. 1:2024-cv-00001

       (D. Colo.); O’Neil v. Neronha, No. 1:23-cv-00070 (D. RI); State of Washington v. Gator’s

       Custom Guns (Cowlitz County Superior Court Case No. 23-2-00897-08); Guardian Arms, LLC,


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       et al. v. State of WA, et al., No.: 23-2-01761-34; Virginia Citizens Defense League et al. v. City

       of Roanoke et al., CL-2474; Garcia v. Polis, No. 1:23-cv-02563-JLK (D. Colo.); Rocky

       Mountain Gun Owners v. Polis, No.: 1:23-cv-1077-PAB-NRN (D. Colo.); Ortega v. Lujan

       Grisham, No. 1:24-cv-00471-JB-SCY (D. N.M.); Vermont Federation of Sportsmen’s Clubs v.

       Birmingham, No. 2:23-cv-00710-WKS (D. Vt.); Yzaguirre v. District of Columbia, 24-cv-01828

       (D.D.C.); Clemendor v. District of Columbia, 24-cv-01955 (D.D.C); State of New Jersey v. Fox,

       Docket No. FO-14-123-20, FO-14-141-21; State of New Jersey v. Ricciardi, Docket No. FO-14-

       54-21, FO-14-149-22, DOL Nos. 24-01899, 24-01900; Birney et al., v. Delaware Department of

       Safety and Homeland Security, et al. (C.A. No. K23C-07-019 RLG).

              4.      I have co-authored amicus briefs in numerous cases, including Nordyke v. King,

       319 F.3d 1185 (9th Cir. 2003); Republic of Iraq v. Beaty, 556 U.S. 848 (2009); McDonald v.

       Chicago, 561 U.S. 742 (2010); Ezell v. Chicago, 651 F.3d 684 (7th Cir. 2011); and People of the

       State of Illinois v. Aguilar, Illinois Supreme Court, No. 08 CR 12069 (2012).

              5.      I have also presented written testimony to the U.S. Congress on “The Second

       Amendment: A Source of Individual Rights?” submitted to the Judiciary Committee,

       Subcommittee on the Constitution, Federalism, and Property Rights, U.S. Senate, Washington,

       D.C., September 23, 1998; “Perspectives on the ‘Stand Your Ground’ Movement,” submitted to

       the Judiciary Committee, Subcommittee on the Constitution, Civil Rights and Human Rights,

       U.S. Senate, Washington, D.C., October 29, 2013; and “The Hearing Protection Act to

       Deregulate Gun Silencers,” submitted to Committee on Natural Resources, Subcommittee on

       Federal Lands, the U.S. House of Representatives, Hearings on the Sportsmen’s Heritage and

       Recreational Enhancement Act (SHARE Act), Washington, D.C., September 12, 2017.




                                                        4



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              6.      A true and correct copy of my current curriculum vitae is attached as Exhibit A to

       this Declaration.

                                  RETENTION AND COMPENSATION

              7.      I have been retained by the Office of the Attorney General of Maine to render

       expert opinions in this case. I am being compensated at a rate of $500 per hour for record review

       and consultation, document preparation, and other non-testimony services, and $750 per hour for

       deposition and trial testimony. My compensation is not contingent on the results of my expert

       analysis or the substance of my opinions or testimony in this matter.

                                                  OPINIONS

       I.    GUN PURCHASE WAITING PERIODS

              8.      Gun purchase waiting periods and related background checks as they are

       understood and implemented today did not exist early in the country’s history. Yet no special

       wisdom is required to discern why. Three important differences between early America and the

       modern era explain why.

              9.   First, in the modern era, gun and ammunition purchases can be made easily and

       rapidly from tens of thousands of licensed gun dealers,2 private sales, gun shows, and through

       internet sales. This modern sales system was key to the enactment of waiting periods. No “Guns-

       R-Us” outlets existed in the 1600s, 1700s, or most of the 1800s. In the eighteenth century and

       before, the vast majority of firearms available in American were European imports. Among

       American gunsmiths, according to early American historian Brian DeLay, most American

       gunsmith work consisted of repair work, not the construction of firearms from scratch.



       2
        As of 2022, there were nearly 78,000 licensed gun dealers. “Gun Dealers in the United States,”
       Everytown for Gun Safety, https://everytownresearch.org/wp-
       content/uploads/sites/4/2021/05/Inside-the-Gun-Shop-One-Pager.pdf
                                                       5



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       Moreover, for the few that did manufacture firearms from start to finish, “it would have taken an

       early American gunsmith around a week of work to produce a basic, utilitarian longarm from

       scratch.”3 According to DeLay, “repairs consumed the vast majority of [their] work. . . .”4

              10.     Rapid, convenient gun sales processes did not exist in the U.S. until the end of

       the nineteenth century, when mass production techniques, improved technology and materials,

       and escalating marketing campaigns all made guns relatively cheap, prolific, reliable, and easy to

       get. As Kennett and Anderson note, “By the 1880s gunmaking had completed the transition from

       craft to industry.”5 The rise of handgun mail order purchasing through such companies as

       Montgomery Ward and Sears in the 1870s and 1880s brought cheap handguns to buyers’ doors.6

       When the adverse consequences of the spread of cheap handguns began to be felt, states enacted

       numerous anti-gun carry and other restrictions in the late 1800s and early 1900s.7

              11.     Second, no organized system of gun waiting periods and background checking

       could feasibly exist until the modern era. In fact, the contemporary uniform federal background

       check system with a five business day waiting period was established by the Brady Handgun

       Violence Prevention Act in 1993. The waiting period was phased out in 1998 and replaced with




       3
         Brian DeLay, “The Myth of Continuity in American Gun Culture,” California Law Review
       113(forthcoming 2025): 71; available at SSRN: https://ssrn.com/abstract=4546050 or
       http://dx.doi.org/10.2139/ssrn.4546050. The lengthy and painstaking process of producing a long
       gun from start to finish utilizing eighteenth century materials and methods is carefully chronicled
       in the hour-long film, “Gunsmith of Williamsburg,” produced by Colonial Williamsburg,
       narrated by NBC reporter David Brinkley, 1969; https://www.youtube.com/watch?v=X_O1-
       chxAdk The film reports that the process to construct one long gun took 300 hours.
       4
         DeLay, “The Myth of Continuity in American Gun Culture,” 72.
       5
         Lee Kennett and James LaVerne Anderson, The Gun in America (Westport, CT: Greenwood
       Press, 1975), 97.
       6
         Kennett and Anderson, The Gun in America, 99-100. Sears ended handgun catalog sales in
       1924, and other companies followed as pressure for government intervention rose. (194)
       7
         Robert J. Spitzer, “Gun History in the United States and Second Amendment Rights,” Law and
       Contemporary Problems 80(2017): 59-60, 63-67.
                                                       6



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       an instant background check system. No such system was operational when the law was passed,

       but bill supporters accepted the waiting period phase-out as part of the compromise to win

       passage of the bill.8 As of this writing, 13 states plus D.C. have waiting period laws for at least

       some firearm purchases ranging in length from three to 30 days.9 By its nature, a gun waiting

       period simply delays an otherwise lawful purchase for two sound reasons: to complete a proper

       background check to insure that the individual is not among those not qualified to have a gun;

       and to provide a cooling off period for those who seek to obtain a gun impulsively for homicidal

       or suicidal reasons.10

               12.    Third, as historian Randall Roth reports, homicide rates in the colonies and early

       Federal era were generally low, and when homicides occurred, guns were seldom used because

       of the time involved loading them, their unreliability, and (especially for pistols) their

       inaccuracy. More specifically, muzzle loading firearms were problematic as implements for

       murder: they did not lend themselves to impulsive use unless already loaded (and it was

       generally unwise to leave them loaded for extended periods because their firing reliability

       degraded over time). Nearly all firearms at the time were single shot weapons, meaning that

       reloading time rendered them all but useless if a second shot was needed in an interpersonal

       conflict.11


       8
         107 Stat. 1536. Robert J. Spitzer, The Politics of Gun Control, 9th ed. (NY: Routledge, 2024),
       221-28.
       9
         “Waiting Periods,” Giffords Law Center, https://giffords.org/lawcenter/gun-laws/policy-
       areas/gun-sales/waiting-periods/. In 2023 Minnesota enacted a law that provides for a 30 day
       waiting period for the purchase of handguns and assault weapon purchases from dealers.
       10
          E.g. Michael Luca, Deepak Malhotra, and Christopher Poliquin, “Handgun waiting periods
       reduce gun deaths,” PNAS 114(October 16, 2017): 12162-12165,
       https://www.pnas.org/doi/full/10.1073/pnas.1619896114.
       11
          Randolph Roth, American Homicide (Cambridge, MA: Belknap Press, 2012), 61-144, 216-21;
       Randolph Roth, “Why Guns Are and Aren’t the Problem: The Relationship between Guns and


                                                         7



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               13.     Beyond these considerations, waiting periods can only exist through the

       interdiction of the government, or dealers, or both. Given the logical absence of historical twins

       to modern waiting periods in earlier American history, were there similar, analogous historical

       gun laws? A close examination of historical laws, ordinances, and regulations shows a long

       history in this country of (1) temporarily restricting or regulating weapons access based on

       assumptions about risks posed by an individual’s perceived mental condition with respect to

       alcohol intoxication, and (2) enacting and enforcing licensing/permitting laws, which by their

       nature incorporated the passage of time between the attempt by individuals to acquire or use

       weapons and the granting of permission by the government to then do so. The Plaintiffs’

       Complaint in this case asserts that “[t]here is no longstanding tradition in this country of forcing

       law-abiding citizens to wait to acquire firearms.”12 The account below will demonstrate that this

       assertion is incorrect.

       II.   GUNS AND INTOXICATION

               14.     An instructive and analogous historical parallel to modern waiting period laws is

       the intersection of historic gun laws pertaining to alcohol use and intoxication with weapons

       possession and use. Just as those considered mentally ill are similarly understood to reflect a kind

       of “diminished capacity” such that they also may be deprived of access to weapons, alcohol

       intoxication was a basis for preventing gun acquisition or use because it diminished capacity,




       Homicide in American History,” in Jennifer Tucker, Barton C. Hacker, and Margaret Vining,
       eds., A Right to Bear Arms? (Washington, D.C.: Smithsonian Institution Scholarly Press, 2019),
       116-17. See also Roger Lane, Murder in America (Columbus, OH: Ohio State University Press,
       1997), 344-45.
       12
          Plaintiffs’ Complaint, Beckwith et al. v. Frey, U.S. District Court for the District of Maine,
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       judgment, and reason. The effects of alcohol consumption in reducing and degrading an

       individual’s judgment, reasoning, coordination, and skill were well understood in early America.

               15.     For example, the foremost American physician of the eighteenth century, Dr.

       Benjamin Rush, published a highly influential and widely read tract in 1785 titled, An Inquiry

       into the Effects of Ardent Spirits Upon the Human Body and Mind. (The phrase “ardent spirits”

       referred to strong distilled liquors.) In addition to his pioneering work in medicine, Rush was a

       signer of the Declaration of Independence, advisor to public officials including Thomas

       Jefferson, and a social activist. After first noting in his tract the physiological effects of

       inebriation and alcoholism, Rush then turned to its mental effects. “Not less destructive are the

       effects of ardent spirits upon the human mind. They impair the memory, debilitate the

       understanding, and pervert the moral faculties. . . . But the demoralizing effects of distilled spirits

       do not stop here. They produce not only falsehood, but fraud, theft, uncleanliness and murder.”13

               16.     It is no crime to be intoxicated from alcohol consumption—a fact no less true

       today than hundreds of years ago. Similarly, the purchase of alcohol for those eligible to drink is

       and has been perfectly legal, with the exception of the Prohibition period in the 1920s. When

       alcohol consumption is combined with other activities or circumstances, however, it has been

       and is subject to a variety of regulatory measures, including state sanctions, such as those arising

       from operating a motor vehicle while under the influence of alcohol. When inebriation ends,

       drivers may resume driving, subject to any restrictions imposed by the government for prior

       instances of driving while drunk, such as license suspension for a fixed period.




       13
          Benjamin Rush, An Inquiry into the Effects of Ardent Spirits Upon the Human Body and Mind,
       6th ed. (NY: Cornelius Davis, 1811; first pub. 1785), 7,
       https://digirepo.nlm.nih.gov/ext/mhl/2569025R/PDF/2569025R.pdf
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              17.     That aside, the government has long imposed a wide range of regulatory measures

       pertaining to the adverse consequences of alcohol consumption (including but not limited to

       those pertaining to weapons), incorporating “pricing and taxation measures, regulating the

       physical availability of alcohol, restricting alcohol marketing, education and persuasion

       strategies, drunk-driving countermeasures, modifying the drinking context, and treatment and

       early intervention.”14

              18.     In the century and a half before the American Revolution, “the colonists of North

       America tended to regard heavy drinking as normal”15 as such beverages “were considered

       important and invigorating foods, whose restorative powers were a natural blessing.”16 Reliance

       on alcoholic beverages was also common because of the baneful health effects of drinking

       contaminated water. Despite the normality of heavy drinking, drunkenness was also recognized

       even in this early period as a significant problem to be “condemned and punished”17 partly for

       the reasons described by Benjamin Rush. Early weapons laws (see below) reflected this

       understanding. During this period, the adverse consequences of excessive drinking were

       mitigated to a significant degree because it largely occurred through community taverns where

       social pressures and a system of tavern licensing, dating to the 1600s, encouraged “responsible

       oversight”18 by tavern owners.




       14
          Thomas F. Babor, et al., Alcohol: No Ordinary Commodity: Research and Public Policy, 3rd
       ed. (NY: Oxford University Press, 2023), Ch. 1, p. 9.
       15
          “Alcohol in America: Taking Action to Prevent Abuse,” National Library of Medicine,
       https://www.ncbi.nlm.nih.gov/books/NBK217463/
       16
          Paul Aaron and David Musto, “Temperance and Prohibition in America: A Historical
       Overview,” in Alcohol and Public Policy: Beyond the Shadow of Prohibition, Mark H. Moore
       and Dean R. Gerstein, eds. (Washington, D.C.: National Academies Press, 1981), 131.
       17
          Aaron and Musto, “Temperance and Prohibition in America,” 132.
       18
          Aaron and Musto, “Temperance and Prohibition in America,” 133.
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              19.     The post-Revolution period, however, witnessed a dramatic change in alcohol

       products as cheaper and more abundant distilled spirits, like domestic whiskey, exploded in

       production and demand. As production and consumption skyrocketed, earlier safeguards

       declined, and public drunkenness became much more common.19 Coinciding with these changes,

       attitudes began to change as well, as alcohol came to be thought of increasingly as “an addicting

       and even poisonous drug,” the excessive consumption of which led to a host of familial,

       behavioral, social, and other problems.20 This growing societal awareness of the adverse

       consequences of alcohol consumption gave rise to the temperance movement and the Anti-

       Saloon Leagues of the nineteenth and early twentieth centuries, culminating in the adoption of

       the Eighteenth (Prohibition) Amendment to the Constitution in 1919, which was then repealed by

       the Twenty-first Amendment in 1933.

              20.     Even though attitudes about alcohol use evolved over time, laws restricting or

       punishing the handling, carrying, or use of firearms while intoxicated appeared among the very

       earliest weapons regulations in America. From the 1600s through the early 1900s, laws were

       enacted in at least 30 states that regulated, restricted, and punished inebriation in connection with

       the ownership or use of weapons. These regulations included laws enacted in at least 20 states

       that criminalized the carrying or use of firearms when intoxicated. At least 15 states had laws

       that regulated the commercial sale or distribution of alcohol when firearms were also present; at

       least two states barred gun sales to those who were intoxicated; at least six states enacted laws

       prohibiting drunkenness in connection with militia activity; and one state (Arizona) barred

       providing guns to Native Americans if intoxicated (see Exhibits B and C).



       19
         Aaron and Musto, “Temperance and Prohibition in America,” 134-36.
       20
         “Alcohol in America”; W.J. Rorabaugh, The Alcohol Republic (NY: Oxford University Press,
       1979), 125-46.
                                                        11



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              21.     To parse the data chronologically, in the 1600s, at least seven intoxication laws

       were enacted in at least three states (which at the time were colonies); in the 1700s at least nine

       laws were enacted in seven colonies/states; in the 1800s at least 28 laws were enacted in 19

       states ; and in the 1900s at least 32 laws were enacted in 15 states (note that some states enacted

       laws across more than one century). As noted, a number of these measures appeared very early in

       the Nation’s history, punctuating the country’s enduring struggle with “demon rum.”

              22.     In 1623, 1631, and again in 1632, for example, Virginia enacted measures all

       directing that “[n]o commander of any plantation, shall either himself or suffer others to spend

       powder unnecessarily, that is to say, in drinking or entertainments.”21 One presumes that the

       expenditure of powder pertained both to firearms discharges and perhaps to the separate ignition

       of gun powder. Most important, however, is that the actions under regulation were barred

       specifically when “drinking” was involved. In a 1655 Virginia law, alcohol-fueled revelry was

       subject to fines for any who would “shoot any guns at drinking,” although the law carved out two

       special occasions for regulatory exemption: “marriages and funerals only excepted.”22 While this

       admittedly amusing law was prompted by concern over whether colonists would hear an alarm

       warning of a Native American attack, the law’s enactment was necessitated by rowdy “frequent

       shooting of guns at drinking” which the law dubbed “beastly vice spending much powder in

       vaine” that could otherwise be used in fending off an attack or for other purposes. Thus, the law

       applied only to the intersection of shooting and drinking, not all shooting, recognizing yet again




       21
          1623 Va. Acts 127 Acts of March 5th, 1623, 29; 1631 Va. Acts 173, Acts of February 24th,
       1631, Act L; 1632 Va. Acts 198, Acts of September 4th, 1632, Act XLIV.
       22
          1655 Va. Acts 401, Acts of March 10, 1655, Act XII. Early in the country’s history, alcoholic
       beverages played an especially important role in marrying and burying. Eric Burns, The Spirits of
       America (Philadelphia, PA: Temple University Press, 2004), 16-17.
                                                        12



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       the early understanding that alcohol-fueled firearms use led to undesirable (and therefore

       prohibitory) behavior.

              23.     In 1636 Rhode Island enacted a measure to punish any who would engage in

       “shooting out any gun . . . drinking in any tavern alehouse . . . on the first day of the week more

       than neccesity requireth.” Any who did so would find themselves in the stocks or fined five

       shillings.23 In 1663 Massachusetts criminalized any on board of ships docked at any colonial

       harbor where those on board would “be drunk within their vessels by day or night” and “shoot

       off any gun after the daylight is past, or on the sabbath day.” The fine was a substantial twenty

       shillings for every gun so fired.24 In 1750 Pennsylvania enacted a law “For Suppressing Idleness,

       Drunkenness, And Other Debaucheries” that punished with “penalties and forfeitures” any who

       fired guns or set off fireworks without a special license to do so.25

              24.     Such measures proliferated in the nineteenth and early twentieth centuries, most

       commonly as a bar to weapons carrying or discharging. For example, the Tennessee legislature

       granted a locality the authority to penalize “shooting and carrying guns” along with drinking in

       1825.26 In 1868, Kansas enacted a law to punish anyone found to carry a deadly weapon while

       “under the influence of intoxicating drink.”27 Nevada enacted measures in 1881 and 1885 that




       23
          1636-1748 R.I. Pub. Laws 31, At A General Assembly Held For Rhode Island Colony At
       Newport 6th of May, 1679. 1636.
       24
          The Charters and General Laws Of The Colony And Province Of Massachusetts Bay Page
       190, Image 197 (1814) available at The Making of Modern Law: Primary Sources. 1663.
       25
          1750 Pa. Laws 208, An Act For The More Effectual Preventing Accidents Which May Happen
       By Fire, And For Suppressing Idleness, Drunkenness, And Other Debaucheries.
       26
          1825 Tenn. Priv. Acts 306, An Act to Amend an Act Passed at Murfreesboro, October 20,
       1821, Incorporating Winchester and Reynoldsburgh, ch. 292.
       27
          The General Statutes of the State of Kansas, to Which the Constitutions of the United State of
       Kansas, Together with the Organic Act of the Territory of Kansas, the Treaty Ceding the
       Territory of Louisiana to the United States, and the Act Admitting Kansas into the Union are
       Prefixed 378, Image 387 (1868) available at The Making of Modern Law: Primary Sources.
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       punished anyone who discharged firearms in various public spaces while “under the influence of

       liquor.”28 An 1883 Wisconsin law made it “unlawful for any person in a state of intoxication, to

       go armed with any pistol or revolver.”29 In 1878, 1880, and 1908, Mississippi enacted laws that

       made it illegal “to sell to any minor or person intoxicated” any pistol or other named weapon30

       (minors and those intoxicated were more than occasionally treated together within these laws, a

       clear indication of their inferior legal status31). In 1907, Arizona enacted a law making it

       “unlawful for any constable or other peace officer in the Territory of Arizona, while under the

       influence of intoxicating liquor of any kind, to carry or have on his person a pistol, gun, or other

       firearm.”32

              25.     In 1879 and again in 1883, Missouri enacted a law to fine or imprison anyone

       who carried concealed or brandished “any kind of fire arms” or other listed weapons “when




       28
          1881 Nev. Stat. 19-20, An Act to Prohibit the Use of Firearms in Public Places, ch. 7, § 1;
       David E. Aily, The General Statutes of the State of Nevada. In Force. From 1861 to 1885,
       Inclusive. With Citations of the Decisions of the Supreme Court Relating Thereto 1076, Image
       1084 (1885) available at The Making of Modern Law: Primary Sources. An Act to Prohibit the
       Use of Firearms in Public Places, § 1.
       29
          1883 Wis. Sess. Laws 290.
       30
          1878 Miss. Laws 175-76, An Act To Prevent The Carrying Of Concealed Weapons And For
       Other Purposes, ch. 46, §§ 2-3; Josiah A. Patterson Campbell, The Revised Code of the Statute
       Laws of the State of Mississippi: With References to Decisions of the High Court of Errors and
       Appeals, and of the Supreme Court, Applicable to the Statutes 776-777, Image 776-777 (1880)
       available at The Making of Modern Law: Primary Sources; Laws regulating carrying and
       brandishing firearms, who can own them, where they can be brought, etc., Ch. 20, §§ 293-300, in
       The Charter and Code of the Ordinances of Yazoo City (1908).
       31
          E.g. William H. Bridges, Digest of the Charters and Ordinances of the City of Memphis, from
       1826 to 1867, Inclusive, Together with the Acts of the Legislature Relating to the City, with an
       Appendix 50, Image 50 (1867) available at The Making of Modern Law: Primary Sources. Police
       Regulations of the State. Selling Liquors or Weapons to Minors. § 4864.
       32
          1907 Ariz. Sess. Laws 15, An Act to Prohibit Officers from Carrying Firearms While Under
       the Influence of Liquor and for Other Purposes, ch. 16, § 1. Arizona became a state in 1912.
                                                        14



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       intoxicated or under the influence of intoxicating drinks.”33 At least 20 similar laws were also

       enacted in Missouri between 1873 and 1917 that applied to counties, cities, and towns (see

       Exhibits B and C).

              26.     A Maryland state law from 1884 pertaining to Baltimore stated that anyone found

       to be “drunk or disorderly” who was also carrying a concealed pistol or other weapon was

       subject to confiscation of the weapon and a fine.34 Rhode Island enacted a similar law—fine plus

       weapon confiscation—in 1893.35 An 1899 South Carolina law said that “any person who shall

       engage in any boisterous conduct, under the influence of intoxicating liquors” who discharged a

       firearm of any kind near a road would be subject to a fine and jail.36 A 1909 Idaho law

       criminalized anyone who “shall have or carry any such weapon upon or about his person when

       intoxicated, or under the influence of intoxicating drinks.”37

              27.     While the focus of these laws was on regulating persons who had weapons while

       drinking or drunk, another category of laws in early America restricted the sale or distribution of

       alcohol in the proximity of persons with firearms. A 1679 Massachusetts law prohibited bringing

       or selling “any wine, strong liquor, cider, or any other inebriating drinckes, excepting beere of a




       33
          MO. REV. STAT. § 1274 (1879), reprinted in 1 The Revised Statutes of the State of Missouri
       1879 224 (John A. Hockaday et al. eds. 1879); 1883 Mo. Laws 76, An Act to Amend Section
       1274, Article 2, Chapter 24 Of The Revised Statutes Of Missouri, Entitled “Of Crimes And
       Criminal Procedure,” § 1.
       34
          John Prentiss Poe, The Maryland Code. Public Local Laws, Adopted by the General Assembly
       of Maryland March 14, 1888. Including also the Public Local Acts of the Session of 1888
       Incorporated Therein 522-523, Image 531-532 (Vol. 1, 1888) available at The Making of
       Modern Law: Primary Sources. 1884.
       35
          General Laws of the State of Rhode Island and Providence Plantations to Which are Prefixed
       the Constitutions of the United States and of the State Page 1010, Image 1026 (1896) available at
       The Making of Modern Law: Primary Sources. 1893.
       36
          1899 S.C. Acts 97, An Act to Prevent Drunkeness and Shooting Upon The Highway, No. 67, §
       1.
       37
          1909 Id. Sess. Laws 6, § 1.
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       penny a-quart” on and in the proximity of militia training days unless they were licensed to do so

       “from the hands of two magistrates” or the commanding military officer then present.38 In 1746,

       New Jersey enacted a law penalizing anyone who would “presume to sell any strong Liquor. . .

       in such Days or Times. . . at the Place of Mustering or Training [of militias], or within a Mile

       thereof. . . .”39 Similarly, a 1756 Delaware law forbade militia companies from meeting within a

       half mile of any inn or tavern. It also punished any attempting to sell “any strong liquor” in a

       booth or tent in proximity of a militia training area.40 Also in 1756, Maryland enacted a similar

       measure to penalize attempts to sell “strong liquor” at the time and location of militia musters.41

       Pennsylvania enacted the same type of measure in 1780.42 Such measures extended into the

       nineteenth century.43 These laws make abundantly clear that diminished capacity caused by



       38
          “Order p[ro]hibbiting retayling strong drinckes at traynings,” Boston, May 28th, 1679. Beer
       had a lower alcohol content than other alcoholic beverages.
       39
          An Act for better settling and regulating the Militia of this Colony of New-Jersey, for the
       repelling Invasions, and Suppressing Insurrections and Rebellions. Passed May 8, 1746. Section
       3. Officers and Soldiers to behave well while under Arms; and, Section 23. Penalty on selling
       strong Liquor near the mustering Place.
       40
          An Act for Establishing a Militia in this Government (Delaware, 1756).
       41
          An Act for Regulating the Militia of the Province of Maryland (MD General Assembly, Lower
       House, L.H.J. Liber No. 48, Assembly Proceedings, May 22, 1756).
       42
          An Act for the Regulation of the Militia of the Commonwealth of Pennsylvania (20 March,
       1780), § 57, Penalty on Officers Misbehaving while on Parade; § 60, Rules and regulations, 12th
       rule.
       43
          Acts & Resolves of Vermont, 25, no. 24, An Act to Prevent Traffic in Intoxicating Liquors for
       the Purpose of Drinking, §15 (1852); An Act for the More Effectual Suppression of Drinking
       Houses and Tippling Shops, §10, Acts & Resolves of the General Assembly of the State of
       Rhode Island (1853); Temporary Buildings within One Mile of Muster Field, Used for Sale of
       Intoxicating Liquors, May Be Removed, Acts and Resolves of Maine, Ch. 265 “An Act to
       Organize and Discipline the Militia,” §73 (1856); 1859 Conn. Acts 62, Temporary Erections for
       Sale of Liquors or Gaming, Near Parade Ground, May Be Abated as Nuisances. In Public Acts
       Passed by the General Assembly of the State of Connecticut, Ch. 82, §5; Amendments to Militia
       Regulations, Ohio Senate Bill No. 7, § 1, in The State of Ohio: General and Local Acts Passed,
       and Joint Resolutions Adopted by the Sixty-Seventh General Assembly at Its Regular Session
       (1886); Selling Liquors on Camp Grounds Prohibited, § 22 of Chapter 102—An Act to Revise,
       Amend, and Codify the Statutes Relative to the Militia in Acts and Resolutions Passed at the
       Regular Session of the Twenty-Sixth General Assembly of the State of Iowa (1896).
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       alcohol consumption when gun carrying and use was also occurring was serious enough to

       proscribe the intersection of the two by law.

              28.     Aside from these laws restricting the civilian commercial sale of alcohol, colonies

       and then states also enacted laws that directly restricted or punished drunkenness among militia

       ranks44 for the obvious reason that excessive alcohol consumption undermined military order,

       morale, and effectiveness.45 To be sure, alcohol was also very much a part of soldiering during

       this time. For example, General George Washington “insisted on alcohol for his men”46 during

       the Revolutionary War, but like any good commander, he wanted to tightly control its

       dissemination and consumption. The normal daily alcohol ration for Washington’s men was four

       ounces.47

              29.     States and localities enacted similar laws in the nineteenth and twentieth

       centuries. A Chicago, Illinois ordinance from 1851 imposed a series of strict and wide-ranging

       regulations concerning licensing for the storage, transport, and handling of gun powder and gun

       cotton that included this prohibition: “no permit shall be granted to any retailer of intoxicating




       44
          E.g. An Act for regulating and ordering the Troops that are, or may be raised, for the Defence
       of this Colony, Article 19 (11 May, 1775); An Act For the better ordering of the Militia of this
       Province §19 Savannah, GA (25 March, 1765); An Act for Regulating the Militia of the Province
       of Maryland (MD General Assembly, Lower House, L.H.J. Liber No. 48, Assembly Proceedings,
       May 22, 1756); An Act to regulate the Militia of the Common-Wealth of Pennsylvania, §§ IX-X
       (1777); An Act for the Regulation of the Militia of this State (South Carolina) § 5 Regulations
       for the government of the militia, Rule 7 (1782).
       45
          This concern is reflected in Frederick William Baron von Steuben, Baron von Steuben’s
       Revolutionary War Drill Manual (NY: Dover Publications, 1985; first pub. 1779, rev’d. 1794),
       82, 105.
       46
          Burns, The Spirits of America, 16.
       47
          Burns, The Spirits of America, 16. During the terrible winter at Valley Forge, Pa., of 1777-78,
       Washington doubled the daily alcohol ration for the men to eight ounces per day.
                                                        17



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       liquors or to any intemperate person.”48 St. Paul, Minnesota enacted a similar measure in 1858.49

       Delaware enacted laws in 1911 and 1919 that made it “unlawful for any person or persons, or a

       member of any firm, or the agents or officers of any corporation to sell to a minor, or any

       intoxicated person, any revolver, pistol, or revolver or pistol cartridges.”50

               30.    The whole point of these laws—to keep firearms from the hands of the

       intoxicated while they were in a state of intoxication—provides a remarkable parallel to the

       “cooling off” purpose of modern waiting period laws. The intoxicated could generally acquire or

       reacquire guns after they sobered up, just as in the modern era gun license applicants can acquire

       their guns after the “cooling off” period.

               31.    Thus, “sobering up” might be thought of as the historical equivalent of “cooling

       off.”

       III. HISTORICAL WEAPONS LICENSING LAWS

               32.    Weapons licensing or permitting was a widespread and varied regulatory tool

       utilized in America. By one definition, licensing is the “permission by competent authority to do

       an act which, without such permission, would be illegal. . . .”51 Despite the difference of

       hundreds of years, licensing in early America functioned largely in the way it functions today.

               33.    While different in its particulars, historical weapons licensing and permitting laws

       did, and do, operate in a manner similar to modern waiting periods, in that they are predicated on




       48
          George Manierre, The Revised Charter and Ordinances of the City of Chicago: To Which are
       Added the Constitutions of the United States and State of Illinois 123-125, Image 131-133 (1851)
       available at The Making of Modern Law: Primary Sources.
       49
          The Charter and Ordinances of the City of St. Paul, (To August 1st, 1863, Inclusive,) Together
       with Legislative Acts Relating to the City 166-167, Image 167-168 (1863) available at The
       Making of Modern Law: Primary Sources. 1858.
       50
          Vol. 26 Del. Laws 28, 28- 29 (1911); Vol. 30 Del. Laws 55, 55-56 (1919).
       51
          Henry C. Black, Black’s Law Dictionary, 6th ed. (St. Paul, MN: West Publishing, 1991), 634.
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       a process whereby a license applicant provides or submits some kind of information which is

       then evaluated and judged to be acceptable or not. If the judgment is affirmative, the license is

       granted. By its nature, then, licensing contemplates the passage of some period of time (even if it

       be brief) between the time the application for permission to do something is submitted (such as a

       hunting license application) and the license or permission is granted. In addition, licensing

       generally represented a more mature and nuanced form of regulation that in many instances

       succeeded or supplemented more rigid but less complicated laws (see discussion below). The

       same might be said of modern waiting periods, in that they are a more nuanced and sophisticated

       policy tool to winnow out those who might pose a threat with possession of a firearm. In

       addition, licensing by its nature thwarts any unrestricted ability to acquire or use firearms on

       demand.

              34.     Colonial, state, and local laws encompassing the licensing or permitting of

       dangerous weapons and substances date to the 1600s and 1700s, but became more wide-ranging

       and widespread in the 1800s and early 1900s. These laws mostly pertained to those weapons and

       substances that posed a threat to public safety: concealable weapons, including handguns,

       fighting knives, various types of clubs, and explosives (ranging from firecrackers and gunpowder

       to nitroglycerine after its invention). This is consistent with what became the widespread use of

       licensing by the nineteenth century, which was employed “to regulate and control a host of

       economic activities, trades, callings, and professions” though “the overall justification for

       licensing was the same as the police power generally—the public good and the people’s

       welfare.” 52


       52
         William J. Novak, People’s Welfare: Law and Regulation in Nineteenth Century America
       (Chapel, Hill, NC: University of North Carolina Press, 1996), 90. For example, Bangor, Maine


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              35.     At least 89 licensing requirement laws were enacted in at least 34 states for

       individuals as a pre-requisite for their weapons carrying or ownership during this time (including

       Maine53); laws in 18 states did so in the 1800s and 29 did so in the 1900s (some states enacted

       laws in multiple centuries; see Exhibits D and E). Laws in at least 27 states regulated firearms

       discharging through licensing, with 13 of those states doing so from the 1700s up to the start of

       the Civil War, and another 20 states doing so between the end of the Civil War and 1900 (some

       states enacted laws in both periods). Laws in at least 12 states licensed hunting with firearms

       from the 1800s through the early 1900s. At least 20 states had laws that licensed the commercial

       sale, transport, or firing of weapons at locations like shooting galleries from the 1600s through

       the early 1900s. Laws in at least 22 states licensed the possession, handling, or transport of

       gunpowder and other explosives from the 1600s through the early 1900s. Laws in at least 17

       states required those selling or otherwise providing weapons to individuals to record and keep

       information pertaining to the buyers of weapons in the late 1800s and the early 1900s as the sales

       process matured and became regulated.

              36.     In addition, at least 15 states imposed licensing requirements on specified

       marginalized groups (variously including Native Americans, non-citizens, non-state residents, or

       minors). In the pre-Civil War period, at least 13 states allowed for licensing of enslaved persons

       or free Blacks. And nine states enacted regulatory taxes on firearms.



       enacted an ordinance in 1878 to license a variety of private activities with public consequences,
       including making or repairing any drains or aqueducts, the sale of various goods, the parking of
       commercial vehicles, activities that might block streets, and the use of explosives. Injurious
       Practices, §§ 27 & 28, BANGOR, CHARTER AND ORDINANCES OF THE CITY (Burr &
       Robinson 1878), https://firearmslaw.duke.edu/assets/1878,-me,-bangor,-injurious-practices,--27-
       &-28.pdf
       53
          An Ordinance Relating to Concealed Weapons, §§ 1-5, reprinted in City of Portland Auditor's
       Fifty-First Annual Report of the Receipts and Expenditures of the City of Portland [Maine] for
       the Financial Year of 1909, 152-53 (1910).
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              37.     A great many laws pertaining to weapons carrying, discharge, commercial sales,

       and gunpowder licensing generally were first enacted in or for municipalities (populated areas),

       since the misuse of weapons posed a far greater and more identifiable risk to public safety in

       areas where larger numbers of people lived in close proximity to each other, and because

       observing, monitoring, and enforcing these measures by local governments was more feasible in

       jurisdictions where larger numbers of people lived in more geographically defined and confined

       areas. Municipal laws are no less significant than state laws for three reasons: first, social and

       public safety problems arising from weapons typically appeared first in places where large

       numbers of people congregated and lived—i.e., cities and towns. These problems multiplied in

       the nineteenth century as the U.S. began to transition from an overwhelmingly rural nation to a

       majority urban one. Second, given that municipalities are legal creatures of state governments,

       localities’ ability to enact these or other laws presumes that they did so as allowable public

       policy under state law. Third, the initial enactment of municipal regulations often led to

       subsequent enactment of similar state-wide regulations.

              38.     These licensing categories were generally instances where the prevailing legal

       standard had been to criminalize the activity or practice outright—criminalizing concealed

       carrying, banning weapons discharge in cities and towns, banning weapons from marginalized

       groups, etc. The governing units enacting licensing for these activities were now allowing

       firearms or other dangerous weapons or substances to be used or possessed with the granting of a

       license to do so, when their possession or use would otherwise be subject to criminal penalties.

       The proliferation of licensing represented in most instances a new and more mature form of

       government regulation of the activities in question.




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              39.     With regard to concealed carry of pistols and other dangerous weapons, for

       example, from the 1700s through the early 1900s every state in the country restricted or

       criminalized such carrying.54 With the spread of licensing requirements in the post-Civil War

       nineteenth century, however, governing units were now allowing legal weapons carrying, subject

       to the review criteria as conducted by local officials who were empowered to grant carry

       licenses. The criteria for the granting of these licenses were generally highly discretionary for the

       individuals or bodies granting them. In some laws, no criteria were specified; in others, the

       criteria were vague or broad, but often included wording that the applicants must be persons of

       good character or sound judgment, again emphasizing the determinative judgment of those

       granting the licenses. They usually set a time limit for permits, ranging from a month to a year

       (see below).

              40.     Regarding hunting licenses, many earlier laws criminalized various hunting

       practices, dating back to the 1600s, for reasons related to protection of private property and

       lands, conservation, and safety.55 The hunting related laws listed here are all instances where

       hunting was allowed through permitting by a governing entity, meaning that the permits or

       licenses could be withdrawn if the licensees violated whatever rules the laws imposed (such as

       hunting out of season). Licensing related to Indigenous people, enslaved persons, and free

       persons of color is examined in more detail below.

              A.      Licensing of Weapons Carrying or Possession




       54
          Spitzer, “Gun Law History in the United States and Second Amendment Rights,” 63-67;
       Robert J. Spitzer, “Understanding Gun Law History after Bruen: Moving Forward By Looking
       Back,” Fordham Urban Law Journal 51(October 2023): 99-100, 105-15.
       55
          Spitzer, “Gun Law History in the United States and Second Amendment Rights,” 73-74.
                                                        22



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               41.     This analysis identified 89 concealed weapons carry license laws enacted by 34

       states from the post-Civil War period through the early 1900s: 35 of these laws were enacted by

       18 states between the end of the Civil War and 1900, and 53 were enacted by 29 states in the

       early 1900s (some states enacted laws in both centuries). Generally speaking, these laws

       criminalized the concealed carrying of various weapons, but all of the laws examined here

       carved out exceptions for those who applied for, and received, a carry license. In addition, most

       permit laws imposed a time limit on permit duration, generally ranging from a month to a year,

       regardless of other criteria.

               42.     Broadly speaking, these laws fell into two categories: those that specified criteria

       for granting a license, and those that did not: 54 of the 89 laws included discretionary criteria for

       the issuing of licenses, whereas the other 35 did not. Thus, about 60% of these licensing laws

       included discretionary criteria. Of the latter (no discretionary criteria listed) category, it is

       possible that criteria were specified in other laws, documents, oaths, or the like, but that were not

       specified in the laws enacting a weapons licensing scheme.

             43.       In 1871, Missouri enacted a measure to license the otherwise illegal practice of

       concealed carrying of handguns and other named weapons, including “any other dangerous or

       deadly weapon” in St. Louis by means of “written permission from the Mayor.”56 St. Louis

       enacted its own municipal version of this law in 1892.57 A similar measure was enacted for




       56
          Everett Wilson Pattison, The Revised Ordinance of the City of St. Louis, Together with the
       Constitution of the United States, and of the State of Missouri; the Charter of the City; and a
       Digest of the Acts of the General Assembly, Relating to the City Page 491-492, Image 499-500
       (1871).
       57
          The Municipal Code of St. Louis (St. Louis: Woodward 1901), p.738, Sec. 1471. 1892;
       Chapter 18. Of Misdemeanors, Sec. 1471.
                                                          23



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       Kansas City, Missouri, in 1880.58 Jersey City, New Jersey enacted a licensing scheme in 1871

       for concealed weapons carrying of pistols and other dangerous weapons, defined in the law as

       “any gun, pistol, cannon, or fowling piece or other fire-arms. . . .”59 As this wording makes

       clear, this extended to long guns as well (a fowling piece is a long-barreled shotgun for shooting

       small animals60). Jersey City’s 1873 law laid out a broadly discretionary set of criteria for

       granting licenses, described below (as determined by the city’s municipal court), that bears great

       similarity to contemporary gun licensing schemes:

              The Municipal Court of Jersey City may grant permits to carry any of the weapons
              named in the first section to such persons as should, from the nature of their
              profession, business or occupation, or from peculiar circumstances, be allowed so
              to do; and may, in granting such permits, impose such conditions and restrictions
              in each case as to the court shall seem proper.61

             44.      The Jersey City ordinance added that carry permits would not be granted “to any

       person until the court is satisfied that such person is temperate, of adult age, and capable of

       exercising self-control.”62

             45.      Hyde Park, Illinois enacted a similar licensing law for concealed weapons

       carrying, including handguns, in 1876. In this instance, the licenses were granted “by written




       58
          An Ordinance in the Revision of the Ordinances Governing the City of Kansas (Kansas City,
       MO; Isaac P. Moore’s Book and Job, 1880), p. 264, Sec. 3. 1880; Chapter XXXIV. Public
       Safety, Sec. 3.
       59
          Ordinances of Jersey City, Passed By The Board Of Aldermen since May 1, 1871, under the
       Act Entitled “An Act to Re-organize the Local Government of Jersey City,” Passed March 31,
       1871, and the Supplements Thereto Page 46, Image 46 (1874) available at The Making of
       Modern Law: Primary Sources. 1871.
       60
          https://www.thefreedictionary.com/fowling+piece.
       61
          Ordinances of Jersey City, Passed By The Board Of Aldermen since May 1, 1871, under the
       Act Entitled “An Act to Re-organize the Local Government of Jersey City,” Passed March 31,
       1871, and the Supplements Thereto Page 86- 87, Image 86-87 (1874) available at The Making of
       Modern Law: Primary Sources. 1873.
       62
          Ordinances of Jersey City, Passed By The Board Of Aldermen since May 1, 1871.
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       permission of the Captain of Police.”63 Evanston, Illinois’s concealed carry licensing law of 1893

       granted licensing issuance authority to the city mayor.64

             46.      New York City criminalized the carrying of “a pistol of any description concealed

       on his person” in 1881 but provided for a legal carry license exception:

              Any person, except as provided in this article, who has occasion to carry a pistol
              for his protection, may apply to the officer in command at the station-house of the
              precinct where he resided, and such officer, if satisfied that the applicant is a proper
              and law abiding person, shall give said person a recommendation to the
              superintendent of police, or the inspector in command at the central office in the
              absence of the superintendent, who shall issue a permit to the said person allowing
              him to carry a pistol of any description.65

             47.      This provision also allowed for non-residents who had occasional business in the

       city to apply for permits as well. An 1884 New York state law barred the carrying or possession

       of named weapons, including fighting knives and types of clubs, from those under eighteen,

       unless they possessed a license to do so. Licenses could only be granted for up to one year and

       were subject to revocation “at the pleasure of the mayor.”66 A year later, the law was extended to




       63
          Consider H. Willett, Laws and Ordinances Governing the Village of Hyde Park Together with
       Its Charter and General Laws Affecting Municipal Corporations; Special Ordinances and
       Charters under Which Corporations Have Vested Rights in the Village. Also, Summary of
       Decisions of the Supreme Court Relating to Municipal Corporations, Taxation and Assessments
       Page 64, Image 64 (1876) available at The Making of Modern Law: Primary Sources. 1876.
       Misdemeanors, § 39.
       64
          George W. Hess, Revised Ordinances of the City of Evanston : Also Special Laws and
       Ordinances of General Interest Page 131-132, Image 143-144 (1893) available at The Making of
       Modern Law: Primary Sources.
       65
          Elliott Fitch Shepard, Ordinances of the Mayor, Aldermen and Commonalty of the City of
       New York, in Force January 1, 1881; Adopted by the Common Council and Published by Their
       Authority Page 214-215, Image 214-215 (1881) available at The Making of Modern Law:
       Primary Sources.
       66
          George R. Donnan, Annotated Code of Criminal Procedure and Penal Code of the State of
       New York as Amended 1882-5 Page 172, Image 699 (1885) available at The Making of Modern
       Law: Primary Sources. 1884.
                                                         25



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       all cities in the state and included “any pistol or other firearms of any kind.”67 (This would have

       included long guns as it did not specify only concealed carry.) In 1891, the state extended

       permitting to Buffalo covering handguns and other dangerous weapons.68

             48.      Wheeling, West Virginia enacted a law in 1881 making it “unlawful for any

       person to carry” various named weapons, including a “colt” revolver, or to “carry about his

       person, hid from common observation” any pistol or other named weapon without a permit from

       the mayor.69 Under the heading “License,” an 1882 law applying to St. Paul, Minnesota

       criminalized any concealed weapons carrying, absent such licensing.70

             49.      An 1888 Salt Lake City, Utah ordinance barred the carrying of “any concealed

       weapon” unless the person obtained a permit from the city mayor.71 New Haven, Connecticut

       enacted a similar anti-carry law in 1890, extending to pistols, unless the person first obtained a

       permit either from the mayor or police superintendent.72 Oakland, California enacted a similar

       law in 1890 making it unlawful “to wear or carry concealed about his person” a pistol or other

       listed weapon unless the person obtained a permit from the mayor. The permit was good for up




       67
          George R. Donnan, Annotated Code of Criminal Procedure and Penal Code of the State of
       New York as Amended 1882-5. Fourth Edition Page 298, Image 824 (1885) available at The
       Making of Modern Law: Primary Sources.
       68
          1891 N.Y. Laws 129, 177, An Act to Revise the Charter of the City of Buffalo, ch. 105, tit. 7,
       ch. 2, § 209.
       69
          Laws and Ordinances for the Government of the City of Wheeling, West Virginia (Wheeling,
       WV: W. Va. Printing 1891), p.206, SEC. 14. 1881.
       70
          W. P. Murray, The Municipal Code of Saint Paul: Comprising the Laws of the State of
       Minnesota Relating to the City of Saint Paul, and the Ordinances of the Common Council;
       Revised to December 1, 1884 Page 289, Image 295 (1884) available at The Making of Modern
       Law: Primary Sources. 1882.
       71
          The Revised Ordinances of Salt Lake City, Utah, Chapter XXVI, Misdemeanors, p. 283 Sec.
       14 (1888), Dangerous and Concealed Weapons. SEC. 14.
       72
          Charles Stoers Hamilton, Charter and Ordinances of the City of New Haven, Together with
       Legislative Acts Affecting Said City Page 164, Image 167 (1890) available at The Making of
       Modern Law: Primary Sources.
                                                        26



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       to a year, and could be granted to “any peaceable person whose profession or occupation may

       require him to be out at late hours of the night to carry a concealed deadly weapon upon his

       person.”73 The California cities of Stockton (1891)74 and Fresno (1896)75 did the same.

             50.      A law passed by the U.S. Congress in 1892 for the District of Columbia

       criminalized the concealed carry of “any deadly or dangerous weapons,” including pistols, unless

       granted a permit by a judge of the police court “for a period of not more than one month at any

       one time, upon satisfactory proof to him of the necessity for the granting thereof. . . .”76 Florida’s

       1893 law made it “unlawful to carry or own a Winchester or other repeating rifle or without first

       taking out a license from the County Commissioner. . . .” In addition, the law specified that the

       applicant “shall give a bond running to the Governor of the State in the sum of one hundred

       dollars, conditioned on the proper and legitimate use of the gun with sureties to be approved by

       the County Commissioners,” along with “a record of the name of the person taking out such

       license, the name of the maker of the firearm so licensed to be carried and the caliber and

       number of the same.”77

             51.      Montana enacted a wide-ranging state licensing law in 1895 that threatened

       imprisonment and fines for anyone “who brings into this state an armed person or armed body of




       73
          Fred L. Button, ed., General Municipal Ordinances of the City of Oakland, California
       (Oakland, CA; Enquirer, 1895), p. 218, Sec. 1, An Ordinance to Prohibit the Carrying of
       Concealed Weapons, No. 1141. 1890.
       74
          Charter and Ordinances of the City of Stockton (Stockton, CA: Stockton Mail Printers and
       Bookbinders, 1908), p. 240, Ordinance No. 53. 1891.
       75
          L. W. Moultrie, Charter and Ordinances of the City of Fresno Page 30, Image 28 (1896)
       available at The Making of Modern Law: Primary Sources.
       76
          Washington D.C. 27 Stat. 116 (1892), CHAP. 159.
       77
          1893 Fla. Laws 71-72, An Act to Regulate the Carrying of Firearms, chap. 4147, §§ 1-4.
                                                        27



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       men for the preservation of the peace or the suppression of domestic violence, except at the

       solicitation and by the permission of the legislative assembly or of the governor. . . .”78

             52.      A state law in Nebraska granted the mayor of Lincoln the authority to issue

       concealed carry weapons licenses good for a year “to so many and such persons as he may think

       proper” in 1895, adding that the mayor “may revoke any and all of such licenses at his

       pleasure.”79 The city of Spokane, Washington criminalized the concealed carrying of “either a

       revolver, pistol or other fire-arms” unless persons obtained a “special written permit from the

       Superior Court” to do so.80 Milwaukee, Wisconsin enacted a permitting system in 1896 for

       persons to carry otherwise barred various dangerous weapons including “any pistol or colt” if the

       city police chief granted a license if “it is necessary for the personal safety of such person or for

       the safety of his property or of the property with which he may be entrusted, to carry such

       weapon.” The chief could also “revoke such permit at any time.”81

              53.     In the twentieth century, permitting accelerated, spread, and broadened. In 1905

       New Jersey enacted a state law licensing concealed weapons carrying for a year “unless sooner

       revoked by the officer or body granting the same.”82 Licensing was extended to long guns—




       78
          Decius Spear Wade, The Codes and Statutes of Montana. In Force July 1st, 1895. Including
       the Political Code, Civil Code, Code of Civil Procedure and Penal Code. As Amended and
       Adopted by the Fourth Legislative Assembly, Together with Other Laws Continued in Force
       Page 873, Image 914 (Vol. 2, 1895) available at The Making of Modern Law: Primary Sources.
       1895. Crimes Against the Public Peace, § 759.
       79
          1869 Neb. Laws 53, An Act to Incorporate Cities of the First Class in the State of Nebraska, §
       47.
       80
          Rose M. Denny, ed., The Municipal Code of the City of Spokane, Washington (Spokane, WA;
       W.D. Knight, 1896), p. 309-10, Ordinance No. A544, Sec. 1. 1895.
       81
          Charles H. Hamilton, ed., The General Ordinances of the City of Milwaukee to January 1,
       1896: With Amendments Thereto and an Appendix (Milwaukee, WI: E. Keough, 1896), pp.692-
       93, Sec. 25. Chapter XX. Misdemeanors. Section 25.
       82
          1905 N.J. Laws 324-25, A Supplement to an Act Entitled “An Act for the Punishment of
       Crimes,” ch. 172, § 1.
                                                         28



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       machine guns and automatic rifles—in New Jersey in 192783 and 1934.84 (A number of the 36

       states that enacted anti-machine gun laws in the 1920s and 1930s made exceptions for possession

       via licensing.) In 1906 a Massachusetts state law noted that prosecution for carrying “a loaded

       pistol or revolver” did not apply to those with a license.85 It extended licensing to a variety of

       guns in 1927.86 In 1908 Virginia enacted a dangerous weapons concealed carry permit law, with

       permits granted for one year “upon a written application and satisfactory proof of the good

       character and necessity of the applicant to carry concealed weapon.”87 It extended the permitting

       process in 1926.88

              54.     In 1909, Portland, Maine enacted a discretionary weapons concealed carry law

       applying to the carrying of any “fire arm, slung shot, knuckles, bowie knife, dirk, stiletto, or

       other dangerous or deadly weapon” unless licensed to do so by the local police. It could issue

       licenses

              to any person of good moral character, whose business or occupation requires the
              carrying of such weapons for protection, a certificate setting forth that such person has
              complied with the requirements of this ordinance, and that he has been duly licensed to
              carry such weapon or weapons for protection. Such license shall continue in effect until
              revoked by the Chief of Police.89

       83
          1927 N.J. Laws 180-81, A Supplement to an Act Entitled “An Act for the Punishment of
       Crimes,” ch. 95, §§ 1-2.
       84
          1934 N.J. Laws 394-95, A Further Supplement to an Act Entitled “An Act for the Punishment
       of Crimes,” ch. 155, §§ 1-5.
       85
          1906 Mass. Acts 150, ch. 172, An Act to Regulate by License the Carrying of Concealed
       Weapons.
       86
          1927 Mass. Acts 413, An Act Relative to Machine Guns and Other Firearms, ch. 326, §§ 1-2
       (amending §§ 121, 123).
       87
          1908 Va. Laws 381, An Act To Amend And Re-Enact Section 3780 Of The Code In Relation
       To Carrying Concealed Weapons, § 3780.
       88
          1926 Va. Acts. 285-87, CHAP. 158.
       89
          An Ordinance Relating to Concealed Weapons, §§ 1-5, reprinted in City of Portland Auditor's
       Fifty-First Annual Report of the Receipts and Expenditures of the City of Portland [Maine] for
       the Financial Year of 1909, 152-53 (1910). ORDINANCE RELATING TO CONCEALED
       WEAPONS. As early as 1840, Maine criminalized the carrying of weapons (not limited to


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              55.     Georgia enacted a detailed handgun permitting system in 1910.90 Thereafter,

       permitting was enacted in states (not including those that enacted permitting in the 1800s, most

       of which also enacted permitting laws in the 1900s as well) including Hawaii,91 Indiana,92

       Michigan,93 New Hampshire,94 North Carolina,95 North Dakota,96 Ohio,97 Oregon,98

       Pennsylvania,99 Rhode Island,100 and South Carolina.101 As of 1938, “the carrying of concealed




       concealed carrying) including “any dirk, dagger, sword, pistol, or other offensive and dangerous
       weapon. . . .” Maine Rev. Stat. ch. 169, sec. 16 (1841), available at
       https://lldc.mainelegislature.org/Open/RS/RS1840/RS1840_c169.pdf.
       90
          Orville Park, Park’s Annotated Code of the State of Georgia 1914, Penal Code, Article 3,
       Carrying pistols without license, § 348(a)-(d). 1910.
       91
          1927 Haw. Sess. Laws 209-217, AN ACT Regulating the Sale, Transfer and Possession of
       Certain Firearms and Ammunitions, and Amending Sections 2136, 2137, 2138, 2139, 2140,
       2141, 2142, 2143, 2146 and 2147 of the Revised Laws of Hawaii 1925 (the “Small Arms Act”),
       §§ 10-11, § 17; 1933 Haw. Sess. Laws 39, An Act Regulating the Sale, Transfer, and Possession
       of Firearms and Ammunition, § 8, 10-16.
       92
          1925 Ind. Acts 495, 495-98.
       93
          1925 Mich. Pub. Acts 47, An Act to Regulate the Possession and Sale of Pistols, Revolvers
       and Guns; to Provide a Method of Licensing Those Carrying Such Weapons Concealed; and to
       Provide Penalties for Violations of Such Regulations, § 7; 1927 Mich. Pub. Acts 888-89, 91, An
       Act to Regulate and License the Selling, Purchasing, Possessing and Carrying of Certain
       Firearms, §§ 3, 9.
       94
          1923 N.H. Laws 138.
       95
          1919 N.C. Sess. Laws 397-99, Pub. Laws, An Act to Regulate the Sale of Concealed Weapons
       in North Carolina, ch. 197, §§1, 5.
       96
          1915 N.D. Laws 96, An Act to Provide for the Punishment of Any Person Carrying Concealed
       Any Dangerous Weapons or Explosives, or Who Has the Same in His Possession, Custody or
       Control, unless Such Weapon or Explosive Is Carried in the Prosecution of a Legitimate and
       Lawful Purpose, ch. 83, §§ 1-3, 5; 1923 N.D. Laws 379, 380-82 ch. 266; 1925 N.D. Laws 216–
       17, Pistols and Revolvers, ch. 174, § 2; 1931 N. D. Laws 305-06, An Act to Prohibit the
       Possession, Sale and Use of Machine Guns, Sub-Machine Guns, or Automatic Rifles and
       Defining the Same . . . , ch. 178, §§ 1-2.
       97
          1933 Ohio Laws 189-90, Reg. Sess., An Act. . . Relative to the Sale and Possession of
       Machine Guns, § 1.
       98
          1913 Or. Laws 497; 1917 Or. Sess. Laws 804-808; 1925 Or. Laws 468, 469-471.
       99
          1929 Pa. Laws 777; 1931 PA. Laws 498, No. 158.
       100
           1927 (January Session) R.I. Pub. Laws 256.
       101
           1934 S.C. Acts 1288.
                                                      30



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       pistols [was] either prohibited absolutely or permitted only with a license in every state but

       two.”102

             56.      The existence and functioning of old licensing laws make clear that the

       government could take whatever time was needed to complete the licensing process, consistent

       with its police powers. The historical realities of licensing provide no notion nor inclination that

       there was anything resembling a “right” to obtain or use firearms on demand. Moreover, no

       license law examined here imposed any time limit by which a license application had to be

       approved or denied by the relevant governing authority. And often, these laws gave the

       individual or body that granted the license to also withdraw or cancel it at his or its pleasure. If

       one trait of these laws emerges, it is that those granting licenses had wide-ranging discretion to

       issue or not issue as they saw fit, and to do so according to any time frame they saw fit.

              B.      Permits for Firearms Discharge or Use of Explosives

             57.      As noted above, laws in at least 27 states established licensing mechanisms to

       allow firearms and like discharges under certain circumstances. Generally speaking, firearms and

       discharge licensing pertained to any firearm, not just handguns. From the 1700s to 1860, laws in

       at least 13 colonies/states assigned discharge licensing authority to local officials. The earliest

       were in Pennsylvania. In 1713, Philadelphia penalized various activities in the city including

       “firing a Gun without license.”103 An act pertaining to the entire colony from 1721 imposed

       “penalties and forfeitures” to anyone who engaged in various activities including firing “any gun

       or other fire arm” or selling or setting off various types of fireworks “without the governor’s



       102
          Sam B. Warner, The Uniform Pistol Act, 29 J. CRIM. L. & CRIMINOLOGY 529, 530 (1938).
       103
          Pennsylvania Archives. Selected And Arranged From Original Documents In The Office Of
       The Secretary Of The Commonwealth, Conformably To Acts Of The General Assembly,
       February 15, 1851, & March 1, 1852 Page 160, Image 162 (1852) available at The Making of
       Modern Law: Primary Sources. 1713.
                                                         31



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       special license.”104 Another Philadelphia ordinance to prevent “mischief [that] may happen by

       shooting of guns” or setting off fireworks, criminalized such activities unless individuals first

       obtained a “governor’s special license.”105 A 1750 law did the same for the District of

       Southwark,106 as did a colony-wide law also in 1750.107 In 1824, permission from the president

       of the board of commissioners was required for anyone seeking to test through firing any gun,

       cannon, or similar weapons in certain sections of Philadelphia.108

             58.      Charleston, South Carolina enacted an ordinance in 1802 similar to those of

       Philadelphia where Commissioners of the Streets would grant a license for gun firing and

       fireworks “at times of public rejoicing” and at specified locations.109 New Hampshire enacted a

       discharge permit system for Portsmouth in 1823.110 New York State enacted a law in 1824 that

       allowed the Schenectady mayor or other city officials to grant permission for discharge of any




       104
           Act of 26th August 1721. [An Act of 9th of February, 1750-51], § 1.
       105
           John C. Lowber, Ordinances of the Corporation of the City of Philadelphia; to Which are
       Prefixed, the Original Charter, the Act of Incorporation, and Other Acts of Assembly Relating to
       the City; with an Appendix, Containing the Regulation of the Bank of the River Delaware, the
       Portraiture of the City, as Originally Laid Out by the Proprietor, &c. &c. Page 15-16, Image 18-
       19 (1812) available at The Making of Modern Law: Primary Sources. 1721.
       106
           Ordinances of the Corporation of the District of Southwark and the Acts of Assembly
       Relating Thereto Page 49, Image 47 (1829) available at The Making of Modern Law: Primary
       Sources. 1750.
       107
           1750 Pa. Laws 208.
       108
           An Act of Incorporation for that Part of the Northern Liberties, Lying between the Middle of
       Sixth Street and the River Delaware, and between Vine Street and Cohocksink Creek, with
       Ordinances for the Improvement of the Same Page 51, Image 52 (1824) available at The Making
       of Modern Law: Primary Sources. 1824.
       109
           Alexander Edwards, Ordinances of the City Council of Charleston, in the State of South-
       Carolina, Passed since the Incorporation of the City, Collected and Revised Pursuant to a
       Resolution of the Council Page 289, Image 299 (1802) available at The Making of Modern Law:
       Primary Sources. 1802.
       110
           1823 N.H. Laws 73-74, An Act to Establish a System of Police in the Town of Portsmouth,
       and for Other Purposes, ch. 34, § 4.
                                                        32



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       gun or various fireworks.111 Marietta, Ohio enacted a discharge licensing law in 1823 because of

       concern that “the quiet of any of the inhabitants may be disturbed, or their lives and safety

       endangered.”112 New London, Connecticut singled out “some public day of review” in an 1835

       law as a permissible reason for issuing a discharge permit,113 and New Haven enacted a similar

       law in 1845.114 The same was enacted for Quincy, Illinois in 1841,115 Jeffersonville, Indiana in

       1855,116 and Richmond, Virginia in 1859.117 Such laws were enacted in another 21 states from

       the end of the Civil War up to the end of the 1800s (not including laws in states enacted both

       before and after the Civil War: dealers in firearms, Arkansas, California, Colorado, Louisiana,

       Maine, New Jersey, Oregon, Texas, Vermont, Washington State, West Virginia, Wisconsin, and

       Wyoming). Most of them applied to specified cities and towns within their states.

              C.      Hunting Licensing Laws




       111
           Laws of the State of New-York, Relating to the City of Schenectady: And the Laws and
       Ordinances of the Common Council of the City of Schenectady Page 58, Image 58 (1824)
       available at The Making of Modern Law: Primary Sources.
       112
           The Act of Incorporation, and the Ordinances and Regulations of the Town of Marietta,
       Washington County, Ohio Page 17-18, Image 17-18 (1837) available at The Making of Modern
       Law: Primary Sources. 1823.
       113
           The By-Laws of the City of New London, with the Statute Laws of the State of Connecticut
       Relative to Said City Page 47-48, Image 47-48 (1855) available at The Making of Modern Law:
       Primary Sources. 1835.
       114
           1845 Conn. Acts 10, An Act Prohibiting the Firing of Guns and Other Fire Arms in the City
       of New Haven, chap. 10.
       115
           Samuel P. Church, The Revised Ordinances of the City of Quincy, Ill. to Which are Prefixed
       the Charter of the City of Quincy, and the Amendment Thereto Page 47, Image 47 (1841)
       available at The Making of Modern Law: Primary Sources. 1841.
       116
           W. G. Armstrong, The Ordinances and Charter of the City of Jeffersonville Page 15-17,
       Image 15-17 (1855) available at The Making of Modern Law: Primary Sources. 1855.
       117
           The Charters and Ordinances of the City of Richmond, with the Declaration of Rights, and
       Constitution of Virginia Page 227, Image 274 (1859) available at The Making of Modern Law:
       Primary Sources. 1859.
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                 59.    Many early laws criminalized various hunting practices, dating back to the 1600s,

       for reasons related to protection of private property and lands, conservation, and safety.118 The

       states with hunting-related laws listed here all allowed hunting as permitted or authorized by or

       through a government entity or policy, meaning that the permits or licenses could be withdrawn

       if the licensees violated whatever rules the laws imposed (such as hunting out of season, or

       hunting certain types of game). Hunting licensing or permission laws were enacted in at least 12

       states from the 1700s through the early 1900s. Two colonies, New Jersey and New York, enacted

       laws in the 1700s. The rest spanned the 1800s to the early 1900s.

                 D.     Commercial Licensing Laws

                 60.    As noted, commercial licensing laws were enacted in a total of at least 20 states,

       enacted with 15 states doing so throughout the 1800s, and 9 states doing so in the early 1900s

       (laws were enacted in some states in both centuries).

                 61.    A remarkably early, if limited, commercial licensing law was enacted by the

       Connecticut colony in 1642. The law barred the sale or barter of weapons to Indigenous people

       as well as “to any person inhabiting out of this Jurisdiction” but excepted people who first

       obtained a license to engage in such transactions from “the particular Court” or “two

       magistrates”119 to do so. Strictly speaking, this statute was aimed at any individual who might

       contemplate such trade, but the focus was on regulating commercial activity, to the extent

       feasible, in the mid-seventeenth century. (The law did not specify the conditions or

       circumstances under which such a license might be granted.)




       118
             Spitzer, “Gun Law History in the United States and Second Amendment Rights,” 73-74.
       119
             Act of Dec. 1, 1642, CONN. GEN. STAT. (Brown & Parsons 1850) (Law Passed 1642).
                                                         34



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              62.     An 1814 Illinois measure that made it unlawful for whites to engage in

       commercial activities with Native Americans for guns, knives, tomahawks, or other items, unless

       they first obtained a license from the governor.120 A century later a Chicago ordinance imposed a

       licensing requirement both on persons or entities to sell concealable weapons, and also a

       licensing requirement to those seeking to buy them.121 An 1854 law for San Francisco, California

       licensed commercial shooting galleries.122 Indeed, at least 10 of the states in this category

       enacted shooting gallery licensing requirements, such as an ordinance for Martinsburg, West

       Virginia in 1876 that required a license issued by the mayor for the opening and maintenance of a

       pistol gallery.123 This historical category of law is consistent with the notion that the government

       could and can regulate the commercial activity of selling and commercially using weapons.

              E. Licensing Restrictions on Gunpowder

             63.      Gunpowder was widely and extensively regulated in the colonies and states. In

       fact, every state in the country but one enacted one or more gunpowder laws from the

       seventeenth century through the start of the twentieth century.124 One element of this regulation


       120
           An Act concerning the Kaskaskia Indians, in Nathaniel Pope, Laws of the Territory of Illinois
       (1815). 1814. This law is placed under this category because it pertained to white settler
       commerce; it was not a law that licensed Natives to engage in commerce.
       121
           Samuel A. Ettelson, Opinions of the Corporation Counsel and Assistants from May 1, 1915,
       to June 30, 1916 Page 458-459, Image 458-459 (Vol. 7, 1916) available at The Making of
       Modern Law: Primary Sources. 1914.
       122
           Ordinances and Joint Resolutions of the City of San Francisco; Together with a List of the
       Officers of the City and County, and Rules and Orders of the Common Council Page 220, Image
       256 (1854) available at The Making of Modern Law: Primary Sources. 1854.
       123
           J. Nelson Wisner, Ordinances and By-Laws of the Corporation of Martinsburg: Berkeley Co.,
       West Virginia, Including the Act of Incorporation and All Other Acts of a Special or General
       Nature Page 76, Image 76 (1875) available at The Making of Modern Law: Primary Sources.
       1876.
       124
           Mark Anthony Frassetto, “The Duty to Bear Arms: Historical Militia Law, Fire Prevention
       Law, and the Modern Second Amendment,” New Histories of Gun Rights and Regulation:
       Essays on the Place of Guns in American Law and Society, Jacob Charles, Joseph Blocher and


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       was gunpowder licensing; with such licensing laws enacted in at least 22 states from the 1700s

       through the early 1900s. This pertained directly to the operation of firearms, as gunpowder was

       indispensable to firearm discharge for most guns through the post-Civil War period.

              F.      Weapons Sellers Recording Purchases

             64.      Aside from direct licensing of weapons purchasers by a government official or

       entity, at least 17 states had laws that required those who sold or otherwise transferred guns

       (mostly handguns) or other weapons to others to record information about the buyer, with that

       information to be maintained and subject to possible later examination. This regulatory

       mechanism put the burden of information collection and maintenance on the seller or dealer,

       rather than directly on the government, though it served the same purpose: to acquire and

       maintain information about those who obtained the weapons in question and when, for future

       reference or inspection by government officials or others. In some instances these requirements

       existed along with direct governmental licensing.

             In 1885, Illinois enacted this registration requirement for weapons dealers:

              All persons dealing in deadly weapons, hereinbefore mentioned, at retail within
              this State shall keep a register of all such weapons sold or given away by them.
              Such register shall contain the date of the sale or gift, the name and age of the
              person to whom the weapon is sold or given, the price of the said weapon, and the
              purpose for which it is purchased or obtained. The said register shall be in the
              following form. [Form of Register] Said register is to be kept open for inspection
              of the public. . . .125




       Darrell Miller, eds. (NY: Oxford University Press, 2023), 206 (the one state with no gunpowder
       regulation to be found was Arizona); Saul Cornell and Nathan DeDino, “A Well Regulated
       Right: The Early American Origins of Gun Control,” Fordham Law Review 73(2004): 510;
       Adam Winkler, Gunfight (NY: W.W. Norton, 2011), 116-17, 286.
       125
           Merritt Starr & Russell H. Curtis, Annotated Statutes of the State of Illinois in Force (1885),
       Criminal Code Ch. 38, para. 90.
                                                        36



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             65.      With minor variations, this law was typical of such requirements. For example, a

       1911 Colorado law offered this detailed set of instructions:

              Every individual, firm or corporation engaged . . . in the- retail sale, rental or
              exchange of firearms, pistols or revolvers, shall keep a record of each pistol or
              revolver sold, rented or exchanged at retail. Said record shall be made at the time
              of the transaction in a book kept for that purpose and shall include the name of the
              person to whom the pistol or revolver is sold or rented, or with whom exchanged;
              his age, occupation, residence, and, if residing in a city, the street and number
              therein where he resides; the make, calibre and finish of said pistol, or revolver,
              together with its number and serial letter, if any; the date of the sale, rental or
              exchange of said revolver; and the name of the employee or other person making
              such sale, rental or exchange. Said record-book shall be open at all times to the
              inspection of any duly authorized police officer.126

              66.     A 1911 New York law required every person selling any handgun to maintain a

       register “at the time of sale, the date of sale, name, age, occupation and residence of every

       purchaser of such a pistol, revolver or other firearm, together with the calibre, make, model,

       manufacturer’s number or other mark of identification on such pistol, revolver or other

       firearm.”127 The purchaser also had to produce a permit at the time of the transaction, with the

       seller to note the permit information. Regulations being placed on the sellers of weapons are a

       historic normality.

              G.      Licensing Pertaining to Named Groups

              67.     The licensing of “Named Groups” referenced in Exhibit D includes the granting

       of weapons licenses to non-state residents, non-citizens, minors, felons, the intoxicated (who

       stood to lose their licenses), and Native Americans/Indigenous people. Licensing the sale of

       weapons to Native Americans might seem paradoxical, since white leaders fought protracted

       conflicts with Natives from the 1600s through the end of the nineteenth century. But whites also


       126
         1911 Colo. Sess. Laws 408, Section 3.
       127
         1911 N.Y. Laws 444-45, An Act to Amend the Penal Law, in Relation to the Sale and
       Carrying of Dangerous Weapons. ch. 195, § 2.
                                                        37



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       traded arms with Natives throughout this entire period, as they sought profitability, access to

       highly desired goods made available by Indians, and security alliances with some Indians

       through the supplying of weapons. This steady and enduring trade revealed “the high degree of

       interdependence between Indians and Euro-Americans.”128 At least seven states imposed nine

       licensing laws pertaining to Indigenous people.

              68.     As for licensing related to enslaved persons and free persons of color (listed as

       “Pre-Civil War Blacks” in Exhibit D), it is well understood that white racist regimes before the

       Civil War were frantic to keep weapons out of the hands of enslaved persons, most specifically

       because “the South was perpetually terrified of slave revolts.”129 The laws listed here, however,

       are all instances when enslaved persons or free persons of color were allowed to have possession

       of weapons under listed, restricted circumstances through licensing in the pre-Civil War era.

       Some whites who owned enslaved persons sought the convenience of allowing the enslaved to

       carry weapons for hunting or other purposes designated by, and often under the supervision of,

       the white owners.

              69.     Despite assertions that the only pre-twentieth century weapons licensing laws that

       existed in America pertained to African Americans and Indigenous people,130 the data presented

       here demonstrate that, of the many weapons permitting laws enacted during this time, only a

       very small percent pertained to African Americans: of the 316 permitting laws listed in Exhibit

       D, 20 (6.3%) enacted in 13 states pertained to African Americans. The nine laws pertaining to

       Native Americans accounted for fewer than 3% of all licensing laws.



       128
           David J. Silverman, Thundersticks (Cambridge, MA: Harvard University Press, 2016), 15-16
       and passim.
       129
           Carl T. Bogus, Madison’s Militia (NY: Oxford University Press, 2023), 159. See also 98-107.
       130
           David B. Kopel, “Background Checks for Firearms Sales and Loans: Law, History, And
       Policy,” Harvard Journal on Legislation 53(Winter 2016), 336.
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              70.     The fact that groups treated as marginalized in prior centuries—especially African

       Americans and Native Americans—were authorized to gain even limited access to dangerous

       weapons through licensing may seem incompatible with an otherwise racist tradition aimed at

       subjugating these groups, but such measures reflect the fact that it was in the interest of whites to

       allow weapons acquisition to these groups under limited circumstances.

              H.      Regulatory Taxes

              71.     Regulatory taxes on weapons, which are defined as “fees imposed by

       governments on specific activities or behaviors, primarily aimed at discouraging undesirable

       practices or encouraging compliance with regulations,” were enacted in at least nine states.131 In

       this category, individual weapons owners were assessed a money tax on various types of

       weapons they owned with the dual goals of raising revenue but also, in effect, monitoring and

       regulating the ownership or use of weapons. Failure to pay the tax could result in forfeiture of the

       weapons in question, or other penalties. For example, an 1867 Alabama law imposed a tax on

       “all pistols or revolvers in the possession of private persons not regular dealers holding them” of

       two dollars each, and a three dollar tax on all privately owned “bowie knives, or knives of the

       like description. . . .” Failure to pay the tax resulted in seizure of the weapons to then be “sold at



       131
          “Regulatory Taxes,” https://library.fiveable.me/key-terms/ap-macro/regulatory-taxes.
       Political scientist Theodore J. Lowi identifies regulatory taxes as a governmental technique of
       control designed not simply to raise revenue but to act as a regulatory mechanism to shape
       behavior. The End of the Republican Era (Norman, OK: University of Oklahoma Press, 1995),
       46-47. For example, so-called “sin taxes”—taxes on products like cigarettes, alcohol, or
       gambling—are designed both to raise revenue but also to discourage or minimize the legal
       behavior being taxed. “Are Sin Taxes Healthy for State Budgets?” Pew Trusts, July 19, 2018,
       https://www.pewtrusts.org/en/research-and-analysis/reports/2018/07/19/are-sin-taxes-healthy-
       for-state-budgets. Regulatory taxes (also considered a type of excise tax) can also be understood
       as mechanisms “to offset the costs associated with regulating public safety.” “What are Excise
       Taxes and How Do They Affect the Federal Budget?” Peter G. Peterson Foundation, July 15,
       2024, https://www.pgpf.org/article/what-are-excise-taxes-and-how-do-they-affect-the-federal-
       budget/
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       public outcry before the court house door. . . .”132 An 1872 ordinance for the city of Galveston,

       Texas assessed a tax on the owner of any “pistol or rifle gallery.”133 Note that this law is not

       listed in the category of the licensing of commercial shooting galleries in Exhibit E because in

       this instance the regulatory mechanism is the tax rather than a license. Failure to pay the tax

       would presumably result, sooner or later, in the closure of the establishment. To take a different

       example, a 1909 Delaware state law assessed a special “license fee” of ten dollars on non-state

       resident “gunners” that was an increase in the earlier fee. The fee was increased because “our

       neighboring States charge non-resident gunners a license fee of more than Five Dollars.”134

       While this law calls it a license fee, the purpose is to increase the financial burden on non-

       resident gunners, making it a regulatory tax.

              IV.     CONCLUSION

              72.     Gun purchase waiting periods are an artifact of the modern era, but with deep

       roots in American history and tradition. While the idea of waiting periods as a public policy tool

       was both beyond contemplation and beyond the reach of the immature and undeveloped

       American nation-state earlier in history, American society did respond to the intersection of

       weapons acquisition and problematic behavior similar to the modern policy remedy of waiting

       periods. And as Jacob Charles has persuasively noted, “the absence of positive law. . . . tells us

       nothing about what our ancestors thought their elected representatives could do.”135 There is no




       132
           The Revised Code of Alabama Page 169, Image 185 (1867) available at The Making of
       Modern Law: Primary Sources. 1867.
       133
           Ordinances of the City of Galveston, Taxes – License Tax and Ad-Valorem Tax, Art. 418, §
       26.
       134
           1909 Del. Laws 577, House Joint Resolution Providing for Increase in Non-Resident Gunners
       License Fee, ch. 271.
       135
           Jacob D. Charles, “The Dead Hand of a Silent Past: Bruen, Gun Rights, and the Shackles of
       History,” 73 Duke Law Journal 73(October 2023), 111.
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       reason to believe that the absence of firearm purchase waiting periods early in American history

       somehow means that our ancestors would have disapproved of such a policy option now. Far

       from it, especially considering the inherently modest nature of waiting periods.

               73.    The examples of old weapons laws pertaining to intoxication and weapons, and

       old licensing/permitting laws, provide remarkably similar analogs to modern waiting period

       laws.

               74.    For historic guns and intoxication laws, “sobering up” might be thought of as the

       historic equivalent of the modern waiting period “cooling off” period. Intoxication laws and

       licensing laws both utilized the passage of time.

               75.    Historic weapons licensing laws contemplated an evaluation process to improve

       the likelihood that individuals who sought access to firearms did not obtain that access until they

       were approved to receive a license. No licensing law examined here imposed a time limit for the

       issuance of a license, and many of these laws gave the license issuer discretion to withdraw said

       license if, in the judgment of the issuer, the recipient failed to abide by the terms under which the

       license was issued.

               76.    When our ancestors in the colonial, post-colonial, and developmental periods of

       the seventeenth, eighteen, and nineteenth centuries encountered social, behavioral, and other

       problems with respect to firearms, they responded with public policy techniques appropriate to

       their time, place, and circumstances. The examples pertaining to alcohol consumption and

       weapons licensing are all appropriate examples that are analogous to modern waiting period

       laws.




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                           DECLARATION UNDER PENALTY OF PERJURY
                                 PURSUANT TO 28 U.S.C. § 1746

       I declare under penalty of perjury under the laws of the United States of America that the

       foregoing is true and correct to the best of my knowledge.

       Executed on December 23, 2024, at Williamsburg, VA.


                      ___________________
                      Dr. Robert Spitzer




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                                  UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MAINE

       ANDREA BECKWITH, et al.,                     )
                                                    )
                  Plaintiffs,                       )
                                                    )
                      v.                            )       Civil Action No. 1:24-cv-00384-LEW
                                                    )
       AARON FREY, in his personal capacity         )
       and in his official capacity as Attorney     )
       General of Maine,                            )
                                                    )
                  Defendant.                        )



                                DECLARATION OF JOHN J. DONOHUE



              I, John J. Donohue, being duly sworn, hereby declare under the penalty of perjury as

       follows, based on my personal knowledge:

            1.    I am a citizen of the United States and a resident of California.

            2.    I am over 21 years of age.

                                BACKGROUND AND QUALIFICATIONS

             3.   I am the C. Wendell and Edith M. Carlsmith Professor of Law at Stanford Law

       School. (A copy of my complete cv is attached as Exhibit A.) After earning a law degree from

       Harvard and a Ph.D. in economics from Yale, I have been a member of the legal academy since

       1986. I have previously held tenured positions as a chaired professor at both Yale Law School

       and Northwestern Law School. I have also been a visiting professor at a number of prominent

       law schools, including Harvard, Yale, the University of Chicago, Cornell, the University of

       Virginia, Oxford, Toin University (Tokyo), St. Gallens (Switzerland), Tel Aviv University, and

       Renmin University (Beijing).




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              4.    For many years, I have taught a course at Stanford on empirical law and economics

       issues involving crime and criminal justice, and I have previously taught similar courses at Yale

       Law School, Tel Aviv University Law School, the Gerzensee Study Center in Switzerland, St.

       Gallen University School of Law in Switzerland, and the Universidad del Rosario in Bogota,

       Colombia. Since gun crime is such an important aspect of American criminal justice, my courses

       evaluate both the nature of gun regulation in the United States and the impact of gun regulation

       (or the lack thereof) on crime, which is an important part of my research, about which I have

       published extensively (as reflected in my c.v.). I have also consistently taught courses on law

       and statistics for three decades.

              5.   I am a Research Associate of the National Bureau of Economic Research, a Senior

       Fellow in the Stanford Institute for Economic Policy Research (SIEPR), and an elected member

       of the American Academy of Arts and Sciences. I was a Fellow at the Center for Advanced

       Studies in Behavioral Sciences in 2000-01 and served as the co-editor (handling empirical

       articles) of the American Law and Economics Review for six years. I have also served as the

       President of the American Law and Economics Association and as Co-President of the Society of

       Empirical Legal Studies.

              6.   From October 2011 – December 2018, I served on the Committee on Law and

       Justice of the National Research Council (“NRC”), which “reviews, synthesizes, and proposes

       research related to crime, law enforcement, and the administration of justice, and provides an

       intellectual resource for federal agencies and private groups.” (See http://www7.national-

       academies.org/claj/ online for more information about the NRC.)

              7.    I filed an expert declaration in each of two cases involving a National Rifle

       Association (“NRA”) challenge to city restrictions on the possession of large-capacity




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       magazines: Fyock v. City of Sunnyvale, United States District Court (N.D. Cal.), January 2014;

       Herrera v. San Francisco, United States District Court (N.D. Cal.), January 2014.

              8.    I also filed an expert declaration in a case involving an NRA challenge to

       Maryland’s restrictions on assault weapons and large-capacity magazines: Tardy v. O’Malley,

       United States District Court (District of Maryland), February 2014.

              9.    I filed (June 1, 2017) an expert declaration in a case involving a challenge to

       California’s restrictions on carrying of weapons in public in Flanagan v. Becerra, United States

       District Court (C.D. Cal.), Case No. 2:16-cv-06164-JAK-AS.

              10.   I filed expert declarations on June 4, 2017, and June 16, 2017, in two separate cases

       challenging California’s ban on the possession of large-capacity magazines: Duncan v. Becerra,

       United States District Court (S.D. Cal.), Case No. 17-cv-1017-BEN-JLB and Wiese v. Becerra,

       United States District Court (E.D. Cal.), Case No. 2:17-cv-00903-WBS-KJN. I filed a

       supplemental declaration in Duncan (now Duncan v. Bonta) on November 8, 2022.

              11. I filed an expert declaration, and provided expert testimony, in a case involving a

       challenge to New Jersey’s restrictions on large-capacity magazines in Association of New Jersey

       Rifle & Pistol Clubs, Inc. v. Grewal, No. 3:18–cv–10507–PGS–LHG (D.N.J.), August 2018. In

       October 2018, I also filed an affidavit in a case involving a challenge to Vermont’s restrictions

       on large-capacity magazines. Vermont Federation of Sportsmen’s Clubs v. Birmingham,

       Superior Court, Washington Unit, Docket No. 224-4-18 Wncv.

              12.   In August 2019, I testified at trial in a case challenging the University of Missouri’s

       ban of guns on campus: State ex rel. Schmitt v. Choi, No. 16BA-CV03144, Circuit Court of

       Boone County, State of Missouri.




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              13.   I filed an expert declaration in Chambers v. City of Boulder, Case No.

       2018CV30581, in the District Court of Boulder County in September 2020, involving a

       challenge to the City of Boulder’s restrictions on assault weapons.

              14.   At the request of the United States Department of Justice, I filed an expert

       declaration in July 2020 and testified at trial in April 2021 in a case arising out of the Sutherland

       Springs mass shooting that killed 26 in November 2017: Holcombe, et al. v. United States, Case

       No. 5:18-CV-555-XR (W.D. Tex.). On December 9, 2020, I submitted an expert report on

       behalf of the City of San Francisco in a wrongful conviction lawsuit, Caldwell v. City of San

       Francisco, Case No. 12-cv-1892 DMR, United States District Court, Northern District of

       California, Oakland Division. I was deposed in this case on December 16, 2020.

              15. I was the main author of the Brief of Amici Curiae Social Scientists and Public

       Health Researchers in Support of Respondents, which was submitted to the United States

       Supreme Court on September 21, 2021 in New York State Rifle & Pistol Association v. Bruen,

       Case No. 20-843.

              16.   I filed expert reports in Jones v. Bonta, Case No. 3:19-cv-01226-L-AHG, United

       States District Court (S.D. Cal.), on June 2, 2021, and March 16, 2023. This case involved a

       challenge to California’s restriction of purchasing long-guns to those who were 21 years of age.

              17. On January 24, 2022, I submitted an expert declaration in Worth v. Harrington, a

       lawsuit in the District of Minnesota (Case No. 21-cv-1348) challenging how Minnesota regulates

       the concealed carry of firearms by individuals aged 18 to 20. I was deposed in this case on

       March 28, 2022.




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              18.    On May 31, 2022, I submitted an expert declaration in Meyer v. Raoul, a lawsuit in

       the Southern District of Illinois (Case No. 21-cv-518-SMY) challenging how Illinois regulates

       the concealed carry of firearms by individuals aged 18 to 20.

              19.    On September 14, 2022, I submitted an expert declaration in Viramontes v. The

       County of Cook, a lawsuit in the Northern District of Illinois (Case No. 1:21-cv-04595)

       challenging the Blair Holt Assault Weapons Ban enacted by Cook County, Illinois in 2006.

              20.    On October 13, 2022, I submitted an expert declaration in Miller v. Bonta, a

       lawsuit in the Southern District of California (Case No. 3:19-cv-01537-BEN-JLB) challenging

       how California regulates assault weapons. This report supplemented my earlier work in that case

       which involved submission of an expert declaration on January 23, 2020, followed by testimony

       on October 23, 2020 during an evidentiary hearing on the Plaintiffs’ motion for a preliminary

       injunction.

              21.    On January 6, 2023, I submitted an expert declaration in Rupp v. Bonta, a lawsuit in

       the Central District of California (Case No. 8:17-cv-00746-JLS-JDE) challenging how California

       regulates assault weapons.

              22.    On January 6, 2023, I submitted an expert declaration in State of Vermont v. Misch,

       Criminal Division, Docket No. 173-2-19 Bncr, in a case challenging magazine-size restrictions

       for handguns and long guns.

              23.    On January 26, 2023, I submitted two expert declarations: 1) in NAGR v. Lamont,

       Case No. 3:22-cv-01118, a case challenging Connecticut’s restrictions on assault weapons and

       limits on magazine size, and 2) in NAGR v. Campbell, Civil Action No. 1:22-cv-11431-FDS,

       U.S. District Court for the District of Massachusetts, a similar case involving the comparable

       restrictions in Massachusetts.




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               24.   On February 27, 2023, I submitted an expert report in Herrera v. Kwame Raoul, et

       al., 23 CV 0532, in the U.S. District Court for the Northern District of Illinois, Eastern Division.

       This case also involved a challenge to the restrictions in Illinois on assault weapons and magazine

       size.

               25. In February 2024, I submitted an expert report in Vermont Federation of Sportsmen's

       Clubs v. Birmingham, 2:23- CV-710, in the U.S. District Court for the District of Vermont in a case

       challenging the state’s restrictions on high-capacity magazines and its waiting period law.

               26.   On May 14, 2024, I submitted an expert report in Virginia Citizens Defense League

       v. City of Roanoke, Case No. CL 24-0074 in the Circuit Court of the City of Roanoke, Virginia,

       which involved a challenge to an ordinance that restricted the possession and carrying of guns in

       city parks.

                                        SUMMARY OF CONCLUSIONS

               27.   It is a sound, evidence-based, and longstanding harm-reducing strategy virtually

       uniformly embraced throughout the developed world for governments to place constraints on the

       purchase of firearms. Maine’s modest 72-hour purchase-delay law sits comfortably in this

       appropriate regulatory approach and can be expected to reduce firearm deaths and injuries.

       Substantial empirical evidence illustrates that waiting periods prior to the purchase of weapons

       such as those enacted by Maine will reduce suicides – particularly among young adults – and

       would be expected to reduce the risk of the type of episodes seen in recent years of enraged

       individuals buying firearms on the way to commit mass violence and other criminal acts.

               28.   The limited purchase-delay restriction imposed by the state of Maine that is

       challenged in this litigation is well-tailored to protect the citizens of the state from impulsive

       misconduct with a weapon, whether directed at the firearm purchaser or others. Given the very

       brief duration of the restriction and the evidence that gaining access to a firearm increases the


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       risk of homicide and suicide, the law in question is likely to have little or no negative impact to

       offset its clear social benefits. Indeed, these factors establish that Maine’s law is one of those

       “wise restraints that make men free.” 1

                29.    It should be emphasized that the empirical evidence indicates that increased gun

       carrying by the untrained public rarely generates any benefit in thwarting crime and is indeed

       self-defeating since it generates substantial increases in violent crime. 2

                30.   The empirical evidence on laws requiring waiting periods for transfers of firearms

       indicates that waiting periods substantially reduce suicides – particularly for those under the age

       of 35. This is a noteworthy finding given the increasing rates of suicide over the last twenty

       years, particularly among the young.




                1
                  Harvard Law Professor John MacArthur Maguire composed this declaration, which has been used by
       Harvard Presidents when conferring degrees at Commencement since the late 1930s: “You are ready to aid in the
       shaping and application of those wise restraints that make men free.” https://asklib.law.harvard.edu/faq/115309.
                2
                  See Donohue, John, Abhay Aneja, and Kyle Weber, 2019, “Right-to-Carry Laws and Violent Crime: A
       Comprehensive Assessment Using Panel Data and a State-Level Synthetic Control Analysis,” Journal of Empirical
       Legal Studies, https://onlinelibrary.wiley.com/doi/full/10.1111/jels.12219. The amicus brief submitted to the United
       States Supreme Court on behalf of “Social Scientists and Public Health Researchers in Support of Respondents” in
       New York State Rifle & Pistol Association v. Bruen, September 21, 2021, further discusses the evidence that right-to-
       carry laws increase violent crime, citing 14 studies that had so found in the five previous years.
                Since that brief was submitted, five additional empirical studies have confirmed the conclusion that
       increased gun carrying increases violent crime: Van Der Wal, W. M. (2022). Marginal Structural Models to
       Estimate Causal Effects of Right-to-Carry Laws on Crime. Statistics and Public Policy, 9(1):163–174.; Doucette, M.
       L., Ward, J. A., McCourt, A. D., Webster, D., and Crifasi, C. K. (2022). “Officer-Involved Shootings and Concealed
       Carry Weapons Permitting Laws: Analysis of Gun Violence Archive Data, 2014–2020.” Journal of Urban Health,
       pages 1–12.; Donohue, J. J., Cai, S. V., Bondy, M. V., and Cook, P. J. (2022). “More Guns, More Unintended
       Consequences: The Effects of Right-to-Carry on Criminal Behavior and Policing in US Cities.” Working paper no.
       30190, National Bureau of Economic Research; Doucette, M. L., McCourt, A. D., Crifasi, C. K., & Webster, D. W.
       (2023). Impact of Changes to Concealed Carry Weapons Laws on Fatal and Non-Fatal Violent Crime, 1980-2019.
       American Journal of Epidemiology, 192(3):342–355 (“Shall-Issue CCW law adoption was associated with a 9.5%
       increase in rates of assaults with firearms during the first 10-years post-law adoption”). Stansfield, R., Semenza, D.
       & Silver, I., (2023) The Relationship between Concealed Carry Licenses and Firearm Homicide in the US: A
       Reciprocal County-Level Analysis. Journal of Urban Health (“increases in the number of CCWs in 2010–2017
       were statistically associated with increases in total gun homicide in 2011–2018…. Far from concealed carry making
       people safer, our model finds acute safety risks associated with expansion of legal firearm carrying.”)
                Surveying the entire body of research, the RAND Corporation has concluded – at its highest level of
       evidentiary support – that RTC laws increase “total homicides, firearm homicides, and violent crime.” RAND
       Corporation, Effects of Concealed-Carry Laws on Violent Crime, updated July 16, 2024,
       https://www.rand.org/research/gun-policy/analysis/concealed-carry/violent-crime.html.


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                                                       DISCUSSION

               31.     By a wide margin, most Americans do not own guns. According to recent survey

       data, 70 percent of all American adults do not own any firearm, consistent with the widespread

       understanding that such weaponry is not essential to their safety or important for their self-

       defense. 3

               32.     For decades, evidence has been building that firearm accessibility in the home

       increases rather than decreases the risk of homicide victimization and suicide (Anglemyer,

       Horvath, and Rutherford 2014). 4

               33.     A recent, meticulous study with extraordinarily detailed individual data from

       2004–2016 has powerfully confirmed this conclusion. 5 In this study, David Studdert and his

       coauthors were able to assess how the risk of homicide was influenced by having guns in the

       home by observing almost 600,000 California residents who transitioned from being without a

       gun in the home to being with someone who did. This transition led to a considerably higher risk

       of dying by homicide.

               34.     Studdert et al. (2022) used extended Cox proportional hazard models adjusted for

       cohort members’ gender, age, racial and ethnic group, and, partially, the presence of a long gun

       in the home to examine the impact of gun possession. The models allowed the baseline hazard to

       vary by census tract, ensuring that people who resided with handgun owners (exposed) were

       compared only with people living in gun-free homes (unexposed) in the same small


               3
                  This is the finding of a June 2021 survey of 10,606 adults by the Pew Research Center.
       https://www.pewresearch.org/fact-tank/2021/08/04/wide-differences-on-most-gun-policies-between-gun-owners-
       and-non-owners-but-also-some-agreement/.
                4
                  Anglemyer A, T . Horvath, and G. Rutherford. 2014. The accessibility of firearms and risk for suicide and
       homicide victimization among household members: a systematic review and meta-analysis. Annuals of Internal
       Medicine, 160:101–110.
                5
                  Studdert, David M., Yifan Zhang, Erin E. Holsinger, and Lea Prince. 2022. Homicide deaths among adult
       cohabitants of handgun owners in California, 2004 to 2016. Annals of Internal Medicine, June. doi:10.7326/M21-
       3762.


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       neighborhood. In this way, the study adjusted for local factors, such as crime rates and economic

       conditions, that might otherwise have confounded the relationship of interest. In other words,

       bringing a gun in the home elevates the risk of death, thereby undermining the view that private

       gun purchases on balance protect household members from homicidal victimization.

                35.    Cook and Ludwig (2006) sort out the causal link between gun prevalence and

       homicide in a county-level panel data analysis for the period 1980–1999. 6 They summarize their

       primary finding as follows:

                In sum, gun prevalence is positively associated with overall homicide rates but not
                systematically related to assault or other types of crime. Together, these results suggest
                that an increase in gun prevalence causes an intensification of criminal violence—a shift
                toward greater lethality, and hence greater harm to the community. (387). 7

                                        Waiting Period Laws Clearly Save Lives

                36.    Strong empirical evidence shows that Maine’s 72-hour waiting period for acquiring

       firearms is a reasonable measure that will reduce the number of suicides. There can be no doubt

       that suicide is a serious and growing problem. About a quarter of the American adult population

       in 2022 struggles with mental illness -- a rate that has grown by nearly 25% since 2012. 8 At the

       same time, the number of Americans who died at the hands of a firearm 9 also increased a

       staggering 44% between 2012 and 2022, up to 48,222 people. Importantly, firearm suicide

       remains the leading cause of firearm deaths in the US. Of the 48,222 firearm deaths in 2022,

       nearly 60% were suicides. Of the 49,513 10 Americans who died by suicide in 2022, 27,040 used



                6
                   Cook, Philip J., and Jens Ludwig. 2006. The social costs of gun ownership. Journal of Public Economics,
       90 (1–2): 379–391. https://doi.org/10.1016/j.jpubeco.2005.02.003.
                7
                   Cook and Ludwig provide further affirmation of the strength of this relationship. Cook, Philip J., and Jens
       Ludwig. 2019. The social costs of gun ownership: A reply to Hayo, Neumeier, and Westphal. Empirical Economics
       56 (1): 13–22. https://doi.org/10.1007/s00181-018-1497-5.
                8
                   https://www.samhsa.gov/data/report/behavioral-health-trends-united-states-results-2014-national-survey-
       drug-use-and-health.
                9
                  https://wonder.cdc.gov/mcd.html.
                10
                   https://wonder.cdc.gov/mcd.html.


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       a firearm. The tragic pattern of increasing overall suicide rates – adjusted for the age of the

       population – is well illustrated in this graphic from the CDC. 11




              11
                   https://www.cdc.gov/NCHS/IMAGES/DATABRIEFS/451-500/DB464-FIG1.PNG.


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                37. This ominous trend is naturally a subject of substantial public policy concern and a

       significant justification for state action to try to reduce the alarming and rising death toll from

       suicide. In evaluating a purchase-delay law, it is important to note that a major 1999 study found

       that, “[i]n the first week after the purchase of a handgun, the rate of suicide by means of firearms

       among purchasers (644 per 100,000 person-years) was 57 times as high as the adjusted rate in

       the general population.” 12

              38.     A second important study by Studdert et al. (2020) articulates the crucial elements

       that make firearm access such an important risk factor for suicide:

                     Suicide attempts are often impulsive acts, driven by transient life crises. Most
                     attempts are not fatal, and most people who attempt suicide do not go on to die in a
                     future suicide. Whether a suicide attempt is fatal depends heavily on the lethality of
                     the method used, and firearms are extremely lethal. 13

       Of critical importance is the fact that if one can divert a despondent individual from access to a

       firearm during a transient life crisis, the chance that the individual will survive and avoid future

       suicide is highly elevated.

               39.    Studdert et al. (2020) meticulously examined data on all California adults to see

       how gun acquisition would influence their likelihood of dying by suicide. The authors

       summarize their findings as follows:

                     In this study of firearm ownership and mortality in a cohort of 26.3 million adult
                     residents of California, we found an elevated risk of suicide among a large sample of
                     first-time handgun owners. This risk was driven by a much higher rate of suicide by
                     firearm -- not by higher rates of suicide by other methods. Handgun owners' risk of

                12
                   Garen J. Wintemute et al., Mortality Among Recent Purchasers of Handguns, 341 N.E. J. of Medicine
       1583, 1583 (1999), available at https://bit.ly/3kEMaEo.
                13
                   David Studdert et al., “Handgun Ownership and Suicide in California,” New England J Med (2020);
       382:2220-9, at 2221, DOI: 10.1056/NEJMsa1916744. Specifically, firearm suicide attempts are fatal about 85% of
       cases, while the fatality rates for other methods of attempted suicide are only 9%. Miller, M., Azrael, D. and Barber,
       C. (2012). “Suicide mortality in the United States: the importance of attending to method in understanding
       population-level disparities in the burden of suicide,” Annual Review of Public Health, vol. 33(April), pp. 393–408.
       Importantly, the vast majority of survivors of an attempted suicide, do not later die from suicide. Owens, D.,
       Horrocks, J. and House, A., “Fatal and non-fatal repetition of self-harm: systematic review,” British Journal of
       Psychiatry, vol. 181(3), pp. 193–9 (2002).


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                     suicide by firearm peaked in the period immediately after their first handgun
                     acquisition.… 14

              40.    Examining data from 1977-2014, a 2017 study concluded that waiting period laws

       reduced firearm suicides by 7.4 percent and had no impact on non-gun suicide. 15 The same

       reduction in the 158 firearm suicides in Maine in 2021 would have saved 12 lives in one year. 16

       Nationally, reducing the 27,040 gun suicides in 2022 by 7.4 percent would save 2001 lives. In

       other words, a waiting period alone would save dramatically more lives by a very wide margin

       than any plausible estimate of the impact of all defensive gun use across the nation. 17

              41.    My own recent research (with my coauthors) has examined the impact of firearm

       waiting period (or “purchase delay”) laws on suicide by adults (those over 21) for the period

       from 1987-2019. 18 Our analysis considered the full range of state waiting period laws as well as

       a federal waiting period law that went into effect in 1994 when the Brady Act 19 established a 5-

       day waiting period on some firearm transactions in certain states and then ended in 1998. We

       find that these laws – even when they delay gun purchases for as little as 48 hours – are able to

       disrupt suicidal ideation and thereby significantly decrease firearm suicides. Specifically, we

       estimate that waiting period laws reduce suicides by 21–34-year-olds by 6.1 percent.




                14
                    Id. at 2226.
                15
                    See Luca, Michael, Deepak Malhotra, and Christopher Poliquin. 2017. “Handgun waiting periods reduce
       gun deaths.” PNAS, 114(46): 12162–12165, Table 1, column 3.
                 16
                    Maine Center for Disease Control and Prevention, “Report to the Legislature,” February 2023,
       https://legislature.maine.gov/legis/bills/getTestimonyDoc.asp?id=181957.
               17
                  Another study that examines the link between waiting periods and suicide is Edwards, Griffin, Erik
       Nesson, Joshua Robinson, and Frederick Vars. 2017, “Down the Barrel of a Loaded Gun: The Effect of Mandatory
       Handgun Purchase Delays on Homicide and Suicide.” The Economic Journal, 128(616): 3117–3140. This study is
       based on a slightly shorter data period than Luca, Malhotra, and Poliquin, supra n. 15, using 1990-2013, and it again
       finds that waiting period laws lead to a statistically significant 2-5 percent reduction in the rate of firearm suicide.
                 18
                    John J. Donohue, Samuel V. Cai & Arjun Ravi, “Age and Suicide Impulsivity: Evidence from Handgun
       Purchase Delay Laws,” NBER Working Paper 31917 (2023), https://www.nber.org/papers/w31917.
                 19
                    https://www.atf.gov/rules-and-regulations/brady-law.


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              42.    The particular vulnerability of young individuals to suicide is underscored by the fact

       that in 2021 over half of 18-25-year-olds suffered from mental illness, engaged in illicit

       substance abuse, binge drinking or heavy alcohol use, or had serious thoughts of suicide. 20

              43.    Moreover, a study 21 of suicides in Illinois between 2005 and 2010 revealed that the

       circumstances surrounding and risk factors contributing to suicide differ substantially by age

       group. 22 School problems are a major contributor to youth suicide. Employment problems and

       alcohol dependence are most common among middle aged people who die by suicide. Indeed,

       our study shows that waiting period laws are particularly impactful at preventing suicide among

       younger adults because suicidality is often more impulsive for this group. If a particularly lethal

       mechanism like a gun is readily available, many despondent individuals with what could be a

       merely passing moment of despair will end up committing suicide when a lapse of time would be

       enough to dissuade or divert them from such an irreversible action.

              44.    This fact was underscored when a simple policy shift in the behavior of members of

       the Israeli military led to a 40 percent reduction in suicides by young members of the military.

       Prior to the shift, Israeli soldiers would carry the weapons when they went home for weekend

       leave. Momentary stressors on these weekend leaves, often when the soldiers had been drinking,

       led to a substantial number of suicides using their service weapons. When the policy shifted in

       2006 and soldiers were instructed to leave their weapons at their bases when headed home for


               20
                    SAMHSA (Substance Abuse and Mental Health Services Administration). 2021. Key substance use and
       mental health indicators in the United States: Results from the 2020 National Survey on Drug Use and Health.
       Rockville, MD: SAMHSA;
       https://www.samhsa.gov/data/sites/default/files/reports/rpt39443/2021NSDUHNNR122322/2021NSDUHNNR1223
       22.htm#execsumm.
                21
                   https://journals.lww.com/jtrauma/fulltext/2016/10001/suicide_in_illinois,_2005_2010__a_reflection_of.7.
       aspx.
                22
                    McLone, Suzanne G.; Loharikar, Anagha; Sheehan, Karen,; Mason, Maryann,
       “Suicide in Illinois, 2005–2010: A reflection of patterns and risks by age groups and opportunities for targeted
       prevention,” Journal of Trauma and Acute Care Surgery 81(4):p S30-S35, October
       2016. | DOI: 10.1097/TA.0000000000001141.


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       weekend leave, there was a highly statistically significant 40 percent drop in suicides among

       soldiers aged 18-21. Suicides in this age group had averaged 28 per year in the three years prior

       to the policy shift and fell to an average of 16.5 per year after the change. 23 This brief delay in

       access to weapons at a vulnerable moment reduced weekend suicides, and yet led to no offsetting

       increase in suicides when the soldiers were back on base with access to guns. This experience

       underscores the benefit from stopping someone from impulsively attempting suicide with the

       most lethal modality.

             45.    Given the array of benefits that flow from firearm waiting period laws, it is not

       surprising that Americans consistently and overwhelmingly support the adoption of these laws.

       The latest Gallup Poll inquiring into this support found that 77 percent of American adults favor

       “Enacting a 30-day waiting period for all gun sales.” 24 This support evokes the famous

       statement by former U.S. Supreme Court Chief Justice Warren Burger who was asked on the

       200th Anniversary of the Bill of Rights if he supported a proposed five-day federal waiting period

       for gun purchases. Burger replied that “I am very much against it. It should be 30 days waiting

       period….” 25

             46.    Burger emphasized that additional time to evaluate gun purchasers could be effective

       in reducing the risk of substantial firearm violence. Indeed, in the horrific Charleston, South

       Carolina church shooting of June 17, 2015, we saw how prescient Burger was. On that date,

       Dylann Roof, who had patiently waited until his 21st birthday to buy a gun, fired a total of



               23
                   Gad Lubin et al., “Decrease in Suicide Rates After a Change of Policy Reducing Access to Firearms in
       Adolescents: A Naturalistic Epidemiological Study,” Suicide and Life-Threatening Behavior, 2010, 40(5):421-24,
       https://www.academia.edu/96400821/Decrease_in_suicide_rates_after_a_change_of_policy_reducing_access_to_fir
       earms_in_adolescents_a_naturalistic_epidemiological_study.
                24
                   This Gallup Poll result from a survey conducted over the period June 1-20, 2022, mimicked previous
       Gallup Poll results. https://news.gallup.com/poll/1645/guns.aspx.
                25
                   Warren Burger discussing the Second Amendment on its 200th Anniversary on the MacNeil/Lehrer
       News Hour, December 16, 1991, at minute 1:12. https://www.youtube.com/watch?v=hKfQpGk7KKw.


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       approximately 77 rounds at the Emanuel African Methodist Episcopal Church in Charleston,

       killing nine people during a Bible study session. 26 Had federal law allowed a full investigation of

       Roof’s background they would have realized he was a prohibited purchaser, and his ability to

       purchase a gun would have been curtailed. Unfortunately, federal law did not mandate the

       completion of the background check, which enabled Roof to buy the weapon he used for the

       mass killing.

             47. The wisdom of Burger’s remarks is also underscored by the events of March 16,

       2021, when an unhinged 21-year-old killed eight in Atlanta. The shooter had legally bought a 9-

       millimeter handgun in a gun shop on the very day of the shooting — so that he could commit

       mass murder. Thankfully, when police released a picture of the assailant from video footage, his

       parents contacted authorities, leading to his capture before he achieved his intended goal of

       killing more in Florida. 27 How much better for all involved if he had not been able to take

       possession of a gun when he was in a distressed and vulnerable state? A waiting period would

       have provided an opportunity for the shooter’s immediate mental health crisis — he had just

       been thrown out of his home by his parents — to pass, potentially saving many lives.

                               Comments on Some of The Plaintiffs’ Allegations

              48. In the face of the clear contrary evidence from the United States and around the

       world, Plaintiffs’ motion for preliminary injunction overstates the potential benefit of firearms as

       a means of self-defense. First, it is worth noting that in the vast majority of cases, when an

       individual in the United States is confronted by violent crime, they do not use a gun for self-

       defense. Specifically, over the period 2007-2011, when roughly 6 million violent crimes




             27
                 Kate Brumback, Atlanta-Area Shootings Leave 8 Dead, Many of Asian Descent, WHYY (Mar. 16, 2021),
       https://whyy.org/articles/georgia-massage-parlor-shootings-leave-8-dead-man-captured.


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       occurred each year, data from the National Crime Victimization Survey shows that the victim did

       not defend with a gun in 99.2 percent of these incidents – this in a country with 350 million or

       more guns in civilian hands. In other words, a gun is used in self-defense about 0.8 percent of

       the time when someone is attacked in the United States.

              49.   In my view, some of the comments in the Plaintiffs’ Complaint and Motion for

       Preliminary Injunction badly misrepresent the relationship between guns, crime, and citizen

       safety. For example, the statement in ¶ 3 of the Complaint that “One need look no further than

       the Plaintiffs in this case to see the devastating effect that Section 2016 has had on law-abiding

       citizens in Maine.” The alleged “devastating impact” is that Plaintiff Andrea Beckwith is unable

       to send women home with a gun as soon as she meets them. If it took a few days to provide “the

       training needed to safely operate and store” a weapon, the waiting period would have no impact.

       Giving stressed women and men who have little or no training in firearm use immediate access

       to a weapon is unlikely to advance their safety or the safety of their family and community as the

       discussion of the overall effects of gun ownership discussed above makes clear.

              50.   ¶ 5 of the Complaint then asserts abused women will not be able to secure weapons

       while their abusers will already have them, but federal law already prohibits possession of

       firearms by or transfer of firearms to persons subject to certain protection from abuse orders and

       persons convicted or under indictment for certain crimes of domestic violence. Given the

       unequivocal research findings described above, the thought that providing untrained, stressed

       individuals with guns will lead to socially beneficial outcomes has no empirical support.

              51.   ¶ 1 of the Complaint asserts that a 72-hour waiting period law would have been

       “unimaginable at the founding.” Indeed, the thought of imposing a waiting period to purchase

       guns likely was unimaginable at the founding because it was completely unnecessary. There was




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       a built-in waiting period for everyone who purchased a gun in 1791 because of issues of travel

       time, scarcity of gun parts, and the time it took to make a gun. The world today allows almost

       unlimited access to weaponry within minutes because there are far more licensed gun sellers than

       the combined number of McDonald’s and Starbuck’s stores. It is this capacity to turn a

       momentary suicidal impulse or fleeting homicidal ideation into a horrible tragedy that leads

       prudent legislatures to enact waiting period laws designed to limit these avoidable harms.

               52. The Complaint goes on to state:
               While these waiting periods helped facilitate investigations into the purchaser, they also
               came at a significant cost to law-abiding citizens. In 2015, a New Jersey woman was
               fatally stabbed by her ex-boyfriend (against whom she had a restraining order) while
               waiting for the state to process her application to own a handgun. Greg Adomaitis, N.J.
               gun association calls Berlin woman’s death an ‘absolute outrage’, NJ.com (June 5, 2015),
               https://tinyurl.com/mn32h8f. And in Wisconsin, a woman was killed by her stalker before
               she could take possession of the handgun she was attempting to purchase. See Kopel,
               supra, at 309-10.

       These highly contentious claims need to be addressed.

               53. Beginning with the final sentence about a Wisconsin woman killed by her stalker, it

       is important to note that the claim that she was “attempting to purchase” a gun has been widely

       discredited, specifically by the brother of the deceased Wisconsin woman. The case dates back to

       1991, when a husband killed his wife, and two children, and a gun rights activist claimed that the

       woman had contacted him about getting a gun the day before she was killed at a time when

       Wisconsin had a 48-hour waiting period. The gun rights activist had no proof that the victim had

       ever contacted him, and the woman’s brother said she would never have contacted such a person,

       nor would she have ever sought to buy a gun. Nonetheless, the improbable tale is repeated by

       gun advocates without any mention of the strong grounds for disbelief. 28


               28
                  Michael Daly, “Scott Walker's Gun Bill Is Based on a Lie,” Daily Beast, June 26, 2015,
       https://www.thedailybeast.com/scott-walkers-gun-bill-is-based-on-a-lie/. Another implausible claim concerns a



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               54.    The other case that the Complaint alludes to is a case where a New Jersey woman

       was killed in June 2015 after starting the process to procure a state handgun application in April.

       The type of 72-hour waiting period that Maine has adopted would have made no difference in the

       New Jersey case since the woman would have readily gotten the gun in mid-April, long before

       she was killed. Equally importantly, it should be emphasized that it is highly speculative that the

       New Jersey woman would have avoided death had she gotten her gun more promptly. This

       woman (Carol Bowne) had just returned home when was “ambushed” as she walked from her

       vehicle toward the house and stabbed to death by an attacker who “came out of nowhere.” Most

       homicidal attackers surprise their victims, which is part of the reason why armed self-defense in

       response to a violent attack is so rare in a country with 350 million guns.

               55.    Even highly trained army veterans have been victimized by sudden attacks despite

       being full armed. For example, on February, 2013 in Texas, Chris Kyle (the American

       Sniper) 29 and Chad Littlefield, who were aware their killer was a threat, were shot 6 and 7 times

       each by the 25 year old killer, and they never got their guns out of their holsters. Similarly, when

       Philadelphia permit holder Louis Mockewich shot and killed a popular youth football coach over

       a dispute concerning snow shoveling in January 2000, the coach was also a permit holder

       carrying his gun, which he never got out of his holster. 30

               56.    In other words, against the empirical evidence showing that waiting period laws

       could save thousands of lives nationally each year, the plaintiffs only offer two unconvincing


       survey that John Lott claimed to have conducted about defensive gun use. The esteemed sociologist Otis Dudley
       Duncan and Northwestern Law Professor James Lindgren were skeptical that the survey was actually conducted,
       and when they wrote of their concerns, a former NRA board member supported Lott by saying he (the board
       member) had been surveyed. The chance that an NRA board member would be captured in a nationally
       representative random sample is highly remote. Mike Spies, “The Right’s Favorite Gun Researcher,” The Trace,
       Nov. 3, 2022, https://www.thetrace.org/2022/11/john-lott-gun-crime-research-criticism/.
                29
                   https://en.wikipedia.org/wiki/American_Sniper_(book).
                30
                   Gibbons, Thomas, & Robert Moran (2000) “Man Shot, Killed in Snow Dispute,” Philadelphia
       Inquirer. https://www.newspapers.com/article/the-philadelphia-inquirer-m-kirkpatrick/58685890/.


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       anecdotes drawn from across the nation over the last 33 years. The plaintiffs have provided no

       evidence of any “substantial cost” associated with Maine’s waiting period.

               57.    As I explained in a chapter in The Oxford Handbook of Evidence-Based Crime and

       Justice Policy,

               The best evidence on the percentage of crimes in which a victim does use a gun
               defensively is less than 0.9% of the time that victims are confronted by criminals.
               Interestingly, … the NCVS data revealed an identical but extremely low percentage of
               defensive gun uses for both 1992-2001 as well as for 2007-2011. This constant and low
               percentage is telling because it shows that as RTC [right-to-carry gun] laws expanded
               greatly across the nation, there was absolutely no increase in the likelihood that a
               potential victim would defend against crime with a gun. Specifically, in the first period
               from 1992 to 2001, 41% of the population lived in states with RTC (or permitless carry)
               laws. By the second period, this percentage had jumped to 67%—a 63% increase in the
               proportion of the country living in RTC states. And yet this massive increase in gun
               carrying did nothing to elevate the overall likelihood of defensive gun use, which was at
               exactly the same low rate it had been in the earlier period. 31

               58.    As one of the greatest historians of Colonial America – Jack Rakove, Pulitzer-

       Prize Winning Historian, and Coe Professor of History and American Studies, Stanford

       University – indicated in discussing this issue:

                     [O]ur modern assumptions about the protective value of firearms presuppose facts
             that the adopters of the Second Amendment would not have shared. As Randolph Roth,
             the leading historian of American homicide, has demonstrated, firearms were not the
             weapon of choice for anyone needing to protect himself or his family from some
             imminent danger. The primitive guns of the founding era were unreliable and hard to use.
             Only in the late 19th and early 20th century would revolvers and then semi-automatic
             weapons acquire their terrifying effectiveness. 32

                                                       Conclusion

             59.     The problem of firearm homicide in the United States is socially damaging and

       growing worse. No one measure is adequate to address this scourge, but a combination of sound


               31
                   Donohue, “Applying What We Know and Building an Evidence Base: Reducing Gun Violence,” 2023,
       in Brandon C. Welsh, Steven N. Zane, and Daniel P. Mears, eds., The Oxford Handbook of Evidence-Based Crime
       and Justice Policy.
                32
                   Jack Rakove, “The Justices Are Bad Gun Historians,” The Wall Street Journal, November 4 - 5, 2023.



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                                   UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF MAINE

       ANDREA BECKWITH, et al.,                      )
                                                     )
                   Plaintiffs,                       )
                                                     )
                       v.                            )       Civil Action No. 1:24-cv-00384-LEW
                                                     )
       AARON FREY, in his personal capacity          )
       and in his official capacity as Attorney      )
       General of Maine,                             )
                                                     )
                   Defendant.                        )

                                 DECLARATION OF RANDOLPH ROTH

               I, Randolph Roth, pursuant to 28 U.S.C. § 1746, do depose and state as follows:

              1.       I am an Arts and Sciences Distinguished Professor of History and Sociology at

       The Ohio State University. I have personal knowledge of the facts set forth in this declaration,

       and if called upon as a witness, I could and would testify competently as to those facts.

              2.       I have been retained by the Office of the Attorney General of Maine to render

       expert opinions in this case. I am being compensated at a rate of $250 per hour.

                                 BACKGROUND AND QUALIFICATIONS

              3.       I received a B.A. in History with Honors and Distinction in 1973 from Stanford

       University, where I received the James Birdsall Weter Prize for the outstanding honors thesis in

       History. I received a Ph.D. in History in 1981 from Yale University, where I received the

       Theron Rockwell Field Prize for the outstanding dissertation in the humanities and the George

       Washington Eggleston Prize for the outstanding dissertation in American history. I have taught

       courses in history, the social sciences, and statistics since 1978, with a focus on criminology and

       the history of crime. A true and correct copy of my curriculum vitae is attached as Exhibit A to

       this declaration.



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              4.      I am the author of American Homicide (The Belknap Press of the Harvard

       University Press, 2009), which received the 2011 Michael J. Hindelang Award from the

       American Society of Criminology awarded annually for the book published over the three

       previous years that “makes the most outstanding contribution to research in criminology over the

       previous three years,” 1 and the 2010 Allan Sharlin Memorial Book Award from the Social

       Science History Association for outstanding books in social science history. 2 American

       Homicide was also named one of the Outstanding Academic Books of 2010 by Choice, and the

       outstanding book of 2009 by reason.com. The book is an interregional, internationally

       comparative study of homicide in the United States from colonial times to the present. I am a

       Fellow of the American Association for the Advancement of Science, and I have served as a

       member of the National Academy of Sciences Roundtable on Crime Trends, 2013-2016, and as a

       member of the Editorial Board of the American Historical Review, the most influential journal in

       the discipline. And in 2022 I received the inaugural Distinguished Scholar Award from the

       Historical Criminology Division of the American Society of Criminology.

              5.      I am the principal investigator on the National Homicide Data Improvement

       Project, a project funded by the National Science Foundation (SES-1228406, https://www.nsf.

       gov/awardsearch/showAward?AWD_ID=1228406) and the Harry Frank Guggenheim

       Foundation to improve the quality of homicide data in the United States from 1959 to the

       present. The pilot project on Ohio has drawn on a wide range of sources in its effort to create a

       comprehensive database on homicides (including narratives of each incident) based on the



              1
                 See American Society of Criminology, Michel J. Hindelang outstanding Book Award
       Recipients, https://asc41.com/about-asc/awards/michael-j-hindelang-outstanding-book-award-
       recipients/.
               2
                 See Social Science History Association, Allan Sharlin Memorial Book Award, https://
       ssha.org/awards/sharlin_award/.


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       mortality statistics of the Ohio Department of Health, the confidential compressed mortality files

       of the National Center for Health Statistics, the F.B.I.’s Supplementary Homicide Reports, death

       certificates, coroner’s reports, the homicide case files of Cincinnati, Cleveland, and Columbus,

       obituaries, and newspaper accounts.

              6.      I have published numerous essays on the history of violence and the use of

       firearms in the United States, including a) “Guns, Gun Culture, and Homicide: The Relationship

       between Firearms, the Uses of Firearms, and Interpersonal Violence in Early America,” William

       and Mary Quarterly (2002) 59: 223-240 (https://www.jstor.org/stable/3491655#metadata_info_

       tab_contents); b) “Counting Guns: What Social Science Historians Know and Could Learn about

       Gun Ownership, Gun Culture, and Gun Violence in the United States,” Social Science History

       (2002) 26: 699-708 (https://www.jstor.org/stable/40267796#metadata_info_tab_contents); c)

       “Why Guns Are and Aren’t the Problem: The Relationship between Guns and Homicide in

       American History,” in Jennifer Tucker, Barton C. Hacker, and Margaret Vining, eds., A Right to

       Bear Arms? The Contested Role of History in Contemporary Debates on the Second Amendment

       (Washington, D.C.: Smithsonian Institution Scholarly Press, 2019); d) “The Opioid Epidemic

       and Homicide in the United States,” co-authored with Richard Rosenfeld and Joel Wallman, in

       the Journal of Research in Crime and Delinquency (2021) (https://www.researchgate.net/

       publication/348513393_The_Opioid_Epidemic_and_Homicide_in_the_United_States), and e)

       “Government Legitimacy, Social Solidarity, and American Homicide in Historical Perspective”

       (New York: Harry Frank Guggenheim Foundation, 2024) (https://www.hfg.org/hfg_reports/

       government-legitimacy-social-solidarity-and-american-homicide-in-historical-perspective/).

              7.      I am also co-founder and co-director of the Historical Violence Database. The

       web address for the Historical Violence Database is: http://cjrc.osu.edu/research/interdisciplinary




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       /hvd. The historical data on which this declaration draws are available through the Historical

       Violence Database. The Historical Violence Database is a collaborative project by scholars in

       the United States, Canada, and Europe to gather data on the history of violent crimes and violent

       deaths (homicides, attempted murders, suicides, sexual assaults, accidents, and casualties of war)

       from medieval times to the present. The project is described in Randolph Roth et al., “The

       Historical Violence Database: A Collaborative Research Project on the History of Violent Crime

       and Violent Death.” Historical Methods (2008) 41: 81-98

       (https://www.tandfonline.com/doi/pdf/10.3200/HMTS.41.2.81-98?casa_token=

       PfjkfMsciOwAAAAA:1HrNKToUGfQT4T-L4wqloRc2DFsM4eRmKEc346vchboaSh-

       X29CkEdqIe8bMoZjBNdk7yNh_aAU). The only way to obtain reliable historical estimates of

       the incidence of homicides and suicides is to review every scrap of paper on criminal matters in

       every courthouse (indictments, docket books, case files, and judicial proceedings), every jail roll

       and coroner’s report, every diary and memoir, every article in every issue of a number of local

       newspapers, every entry in the vital records, and every local history based on lost sources, local

       tradition, or oral testimony. That is why it takes months to study a single rural county, and years

       to study a single city. 3


               3
                 It is also essential, in the opinion of historians and historical social scientists involved in
       the Historical Violence Database, to use capture-recapture mathematics, when multiple sources
       are available, to estimate the number of homicides or suicides where gaps or omissions exist in
       the historical record. The method estimates the percentage of the likely number of homicides or
       suicides that appear in the surviving records by looking at the degree to which homicides or
       suicides reported in the surviving legal sources overlap with homicides or suicides reported in
       the surviving non-legal sources (newspapers, vital records, diaries, etc.). A greater degree of
       overlap means a higher percentage in the surviving records and a tighter confidence interval. A
       lesser degree of overlap, which typically occurs on contested frontiers and during civil wars and
       revolutions, means a lower percentage and a wider confidence interval. See Randolph Roth,
       “American Homicide Supplemental Volume: Homicide Estimates” (2009)
       (https://cjrc.osu.edu/sites/cjrc.osu.edu/files/AHSV-Homicide-Estimates.pdf); Roth, “Child
       Murder in New England,” Social Science History (2001) 25: 101-147
                                                                                              (continued…)


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              8.      My work on data collection and my research for American Homicide, together

       with the research I have conducted for related essays, has helped me gain expertise on the causes

       of homicide and suicide, and on the role that technology has played in changing the nature and

       incidence of homicide and suicide. I hasten to add that the insights that my colleagues and I

       have gained as social science historians into the causes of violence and the history of violence in

       the United States stem from our tireless commitment to empiricism. Our goal is to gather

       accurate data on the character and incidence of violent crimes and deaths and to follow the

       evidence wherever it leads, even when it forces us to accept the fact that a hypothesis that we

       thought might be true proved false. As my colleagues and I are fond of saying in the Criminal

       Justice Network of the Social Science History Association, the goal is not to be right, but to get it

       right. That is the only way to design effective, pragmatic, nonideological laws and public

       policies that can help us address our nation’s problem of violence.

              9.      I have previously served as an expert witness in cases concerning the

       constitutionality of state and municipal gun laws, including Miller v. Bonta, No. 3:19-cv-1537

       (S.D. Cal.); Duncan v. Bonta, No. 3:17-cv-1017 (S.D. Cal.); Steven Rupp et al. and California

       Rifle and Pistol Association v. Bonta, 8:17-cv-00746-JLS-JDE (CA. Central District Western

       Division); Jones v. Bonta, No. 3:19-cv-01226-L-AHG (S.D. Cal.); ); Richards v. Bonta 3:23-cv-

       00793-LAB-AHG (S.D.Calif): Ocean State Tactical v. Rhode Island, No. 22-cv-246 (D.R.I.);

       Hanson v. District of Columbia, No. 1:22-cv02256-RC (D.C.); State of Vermont v. Max B.



       (https://www.jstor.org/stable/1171584#metadata_info_tab_contents); Roth and James M.
       Denham, “Homicide in Florida, 1821-1861: A Quantitative Analysis,” Florida Historical Quarterly
       86 (2007): 216-239; and Douglas L. Eckberg, "Stalking the Elusive Homicide: A Capture-
       Recapture Approach to the Estimation of Post-Reconstruction South Carolina Killings." Social
       Science History 25 (2001): 67-91 (https://www.jstor.org/stable/1171582#metadata_info_tab
       _contents).



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       Misch, Docket No. 173-2-19 Bnrc (Superior Court, Criminal Division, Bennington Unit, VT.);

       National Association for Gun Rights and Capen v. Campbell, No. 22-cv-11431-FDS (D.MA.);

       National Association for Gun Rights, and Susan Karen Goldman v. City of Highland Park,

       Illinois, No. 1:22-cv-04774 (N.D. Ill. Eastern Division); Association Of New Jersey Rifle and

       Pistol Clubs v. Platkin, No. 3:18-cv-10507 (D.N.J.); Cheeseman v. Platkin, No. 7-:22-cv-04360

       (D.N.J.); Ellman v. Platkin, No. 3:22-cv-04397 (D.N.J.); Oregon Firearms Federation, et al. v.

       Brown and Roseblum, No. 2:22-cv-01815-IM (D.OR.); National Association for Gun Rights v.

       Brown, No 22-cv-00404-DKW-RT (D.HI.); National Association for Gun Rights v. Lamont, No.

       3:22-cv-01118 (D.CT.); Barnett v. Raoul, 3:23-cv-209-SPM (S.D. Ill.); Rocky Mountain Gun

       Owners et al. v. Polis, No. 23-cv-01076-PAB (D.CO); Ortega and Scott v. Grisham, No. 1:24-

       cv-00471-JB-SCY (D. NM); Vermont Federation of Sportsmen’s Clubs v. Birmingham, 2:23-cv-

       00710 (D. Vt.); State of New Jersey v. Robert Fox, FO-14-123-20, FO-14-141-21; and State of

       New Jersey v. Michael J. Ricciardi, FO-14-54-21, FO-14-149-22.



                                                  OPINIONS

       I.    SUMMARY OF OPINIONS

               10.    I have been asked by the State of Maine to provide opinions on the history of

       homicides and suicides in the United States, with special attention to the role that technologies

       have played in shaping the character and incidence of homicides and suicides over time, and the

       historical restrictions that local and federal authorities have imposed in response to new

       technologies that they deemed particularly lethal, prone to misuse, and a danger to the public

       because of the ways in which they reshaped the character and incidence of homicides and

       suicides. Since 1791, local, state, and federal governments have responded in measured ways




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       whenever new weapons, including certain classes of firearms, or new uses of deadly weapons

       have posed a threat to the safety of law enforcement, government officials, or the public.

               11.     For the past thirty-five years, I have dedicated my career to understanding why

       homicide rates rise and fall over time, in hopes of understanding why the United States—which,

       apart from the slave South, was perhaps the least homicidal society in the Western world in the

       early nineteenth century—became by far the most homicidal, as it remains today. I discovered

       that the key to low homicide rates over the past 450 years has been successful nation-building.

       High homicide rates among unrelated adults—friends, acquaintances, strangers—coincide with

       political instability, a loss of trust in government and political leaders, a loss of fellow feeling

       among citizens, and a lack of faith in the justice of the social hierarchy. 4 As a nation, we are still

       feeling the aftershocks of our failure at nation-building in the mid- and late-nineteenth century,

       from the political crisis of the late 1840s and 1850s through the Civil War, Reconstruction, and

       the rise of Jim Crow.

               12.     Our nation’s homicide rate would thus be high today even in the absence of

       modern technologies that have made firearms far more capable of injuring multiple people over a

       short span of time than they were in colonial and Revolutionary era. But the evidence also

       shows that the availability of guns and changes in firearms technology, especially the emergence




               4
                 See Randolph Roth, “Measuring Feelings and Beliefs that May Facilitate (or Deter)
       Homicide,” Homicide Studies (2012) 16: 196-217,
       (https://citeseerx.ist.psu.edu/document?repid=rep1&type=pdf&doi=99e1b9b2cccce19ceeb33808
       f90f75b7c8e835d0), for an introduction to the ways that social science historians can measure
       the feelings and beliefs that lead to successful nation-building. My research has shown that those
       measures have gone up and down with homicide rates among unrelated adults in the United
       States from colonial times to the present. In social science history, as in the non-experimental
       historical sciences (geology, paleontology, evolutionary biology), correlations that persist across
       wide stretches of time and space are not random. They reveal deep patterns that are causal.



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       of modern breech-loading firearms in the mid-nineteenth century, have pushed the homicide rate

       in United States well beyond what it would otherwise have been.

               13.    I have also gathered data on suicides from coroner’s inquests, newspapers, vital

       records, and local histories, to understand the changing character and incidence of suicides. That

       effort has enabled me to determine that the incidence of suicide in northern New England during

       the early republic was low compared to today, and that suicides were rarely committed with

       firearms.

               14.    My opinion will address in turn:

                             a.      firearms restrictions on colonists from the end of the seventeenth

                      century to the eve of the Revolution, when homicide rates were low among

                      colonists and firearms were seldom used in homicides among colonists when they

                      did occur;

                             b.      the development during the Founding and Early National periods

                      of laws restricting the use or ownership of concealable weapons in slave and

                      frontier states, where homicide rates among persons of European ancestry soared

                      after the Revolution in large part because of the increased manufacture and

                      ownership of concealable percussion cap pistols and fighting knives;

                             c.      the spread of restrictions on carrying concealed weapons in every

                      state by World War I, as homicide rates rose across the nation, beginning around

                      the time of the Mexican War of 1846-1848 and lasting until World War I—a rise

                      caused in part by the invention of modern revolvers, which were used in a

                      majority of homicides by the late nineteenth century;




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                              d.     and the advent of waiting period laws in response to the rise since

                      the mid-nineteenth century in impulsive homicides and suicides committed with

                      firearms.



       II.   GOVERNMENT REGULATION OF FIREARMS IN RESPONSE TO HOMICIDE TRENDS

             A.     Homicide and Firearms in the Colonial Era (1688-1763)

              15.     In the eighteenth century, the use and ownership of firearms by Native Americans

       and African Americans, enslaved and free, were heavily regulated. 5 But laws restricting the use

       or ownership of firearms by colonists of European ancestry were rare, for two reasons. First,

       homicide rates were low among colonists from the Glorious Revolution of 1688-1689 through

       the French and Indian War of 1754-1763, thanks to political stability, a surge in patriotic fellow

       feeling within the British empire, and greater trust in government. 6 By the late 1750s and early

       1760s, the rates at which adult colonists were killed were roughly 5 per 100,000 adults per year

       in Tidewater Virginia, 3 per 100,000 in Pennsylvania, and 1 per 100,000 in New England. 7

       Violence among colonists was not a pressing problem on the eve of the Revolution.




              5
                  Clayton E. Cramer, “Colonial Firearms Regulation” (April 6, 2016). Available at
       SSRN: https://papers.ssrn.com/sol3/papers.cfm?abstract_id=2759961.
                6
                  Randolph Roth, American Homicide (Cambridge: The Belknap Press of Harvard
       University Press, 2009), 63, noting that “Fear of Indians and slaves, hatred of the French,
       enthusiasm for the new colonial and imperial governments established by the Glorious
       Revolution, and patriotic devotion to England drew colonists together. The late seventeenth
       century thus marks the discernible beginning of the centuries-long pattern linking homicide rates
       in America with political stability, racial, religious, and national solidarity, and faith in
       government and political leaders.”
                7
                  Roth, American Homicide, 61-63, and especially the graphs on 38, 39, and 91. By way
       of comparison, the average homicide rate for adults in the United States from 1999 through
       2016—an era in which the quality of emergency services and wound care was vastly superior to
       that in the colonial era—was 7 per 100,000 per year. See CDC Wonder Compressed Mortality
       Files, ICD-10 (https://wonder.cdc.gov/cmf-icd10.html, accessed September 8, 2022).


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              16.     Second, the impact of firearms on the homicide rate was modest, even though

       household ownership of firearms was widespread. Approximately 50 to 60 percent of

       households in the colonial and Founding eras owned a working firearm, usually a musket or a

       fowling piece. 8 Fowling pieces, like muskets, were muzzle-loading. But unlike muskets, which

       were heavy, single-shot firearms used for militia service, fowling pieces were manufactured

       specifically to hunt birds and control vermin, so they were designed to fire shot, primarily, rather

       than ball, and were of lighter construction than muskets. 9 Family, household, and intimate

       partner homicides were rare, and only 10 to 15 percent of those homicides were committed with

       guns. In New England, the rate of family and intimate partner homicides stood at only 2 per

       million persons per year for European Americans and 3 per million for African Americans for

       the seventeenth and most of the eighteenth century, and fell to 1 per million for both European

       and African Americans after the Revolution. The rates in the Chesapeake were likewise low, at

       8 per million per year for European Americans and 4 to 5 per million for African Americans. 10

       And because the homicide rate among unrelated adults was low, the proportion of nondomestic

       homicides committed with guns was similarly low—never more than 10 to 15 percent. 11

              17.     Firearm use in homicides was generally rare because muzzle-loading firearms, such

       as muskets and fowling pieces, had significant limitations as murder weapons in the colonial era.12



              8
                 Randolph Roth, “Why Guns Are and Aren’t the Problem: The Relationship between
       Guns and Homicide in American History,” in Jennifer Tucker, Barton C. Hacker, and Margaret
       Vining, eds., Firearms and the Common Law: History and Memory (Washington, D.C.:
       Smithsonian Institution Scholarly Press, 2019), 116.
               9
                 See, e.g., Kevin M. Sweeney, “Firearms, Militias, and the Second Amendment,” in Saul
       A. Cornell and Nathan Kozuskanich, eds., The Second Amendment on Trial: Critical Essays on
       District of Columbia v. Heller (University of Massachusetts Press, 2013), 310, 327 & nn. 101-
       102.
               10
                  Roth, “Why Guns Are and Aren’t the Problem,” 116.
               11
                  Ibid., 116-119.
               12
                  Ibid., 117.


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       They were lethal and accurate enough at short range, but they were liable to misfire, given the

       limits of flintlock technology; and with the exception of a few double-barreled pistols, they could

       not fire multiple shots without reloading. 13 They could be used effectively to threaten and

       intimidate, but once they were fired (or misfired), they lost their advantage: they could only be

       used as clubs in hand-to-hand combat. They had to be reloaded manually to enable the firing of

       another shot, which was a time-consuming process that required skill and experience. 14 And

       more important, muzzle-loading firearms could not be used impulsively unless they were already

       loaded for some other purpose. 15 It took at least half a minute (and plenty of elbow room) to

       load a muzzle-loader if the weapon was clean and if powder, wadding, and shot or ball were at

       hand. 16 The user had to pour powder down the barrel, hold it in place with wadding, and drop or

       ram the shot or ball onto the charge. 17 The firing mechanism also had to be readied, often with a

       fresh flint. 18 And muzzle-loading guns were difficult to keep loaded for any length of time,

       because black powder absorbed moisture and could corrode the barrel or firing mechanism or

       make the charge liable to misfire. 19 The life of a charge could be extended by storing a gun in a

       warm, dry place, typically over a fireplace, but even there, moisture from boiling pots, drying




              13
                 Ibid.
              14
                 Harold L. Peterson, Arms and Armor in Colonial America, 1526-1783 (New York:
       Bramhall House, 1956), 155-225; Priya Satia, Empire of Guns: The Violent Making of the
       Industrial Revolution (New York: Penguin Press, 2018), 9-10; and Satia, “Who Had Guns in
       Eighteenth Century Britain?” in Tucker, Hacker, and Vining, Firearms and the Common Law,
       41-44.
              15
                 Roth, “Why Guns Are and Aren’t the Problem,” 117.
              16
                 Ibid.
              17
                 Ibid.
              18
                 Ibid.
              19
                 Ibid.


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       clothes, or humid weather could do damage. 20 That is why most owners stored their guns empty,

       cleaned them regularly, and loaded them anew before every use. 21

              18.     The infrequent use of guns in homicides in colonial America reflected these

       limitations. Family and household homicides—most of which were caused by abuse or fights

       between family members that got out of control—were committed almost exclusively with hands

       and feet or weapons that were close to hand: whips, sticks, hoes, shovels, axes, or knives. 22 It

       did not matter whether the type of homicide was rare—like family and intimate homicides—or

       common, like murders of servants, slaves, or owners committed during the heyday of indentured

       servitude or the early years of racial slavery. 23 Guns were not the weapons of choice in

       homicides that grew out of the tensions of daily life. 24

              19.     When colonists anticipated violence or during times of political instability gun

       use was more common. When homicide rates were high among unrelated adults in the early and

       mid-seventeenth century, colonists went armed to political or interpersonal disputes, 25 so the

       proportion of homicides committed with firearms was at that time 40 percent and rose even

       higher in contested areas on the frontier. 26 Colonists also armed themselves when they

       anticipated hostile encounters with Native Americans, so 60 percent of homicides of Native

       Americans by European Americans in New England were committed with firearms. 27 And slave


              20
                 Ibid.
              21
                 Ibid.; and Herschel C. Logan, Cartridges: A Pictorial Digest of Small Arms
       Ammunition (New York: Bonanza Books, 1959), 11-40, 180-183.
              22
                 Roth, “Why Guns Are and Aren’t the Problem,” 117.
              23
                 Ibid.
              24
                 Ibid. Contrary to popular belief, dueling was also rare in colonial America. Roth,
       American Homicide, 45, 158.
              25
                 Roth, “Why Guns Are and Aren’t the Problem,” 118-119.
              26
                 Ibid., 116-117.
              27
                 Ibid., 118-119 (reporting that “In New England, 57 percent of such homicides were
       committed with guns between the end of King Phillip’s War in 1676 and the end of the
       eighteenth century”).


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       catchers and posses kept their firearms at the ready, so 90 percent of runaway slaves who were

       killed in Virginia were shot. 28 Otherwise, however, colonists seldom went about with loaded

       guns, except to hunt, control vermin, or muster for militia training.29 That is why firearms had a

       modest impact on homicide rates among colonists.

               B. The Rise in Violence in the South and on Contested Frontiers during the
                  Early National Period, the Role of New Technologies and Practices, and
                  Regulations on Concealable Weapons (1790s-1840s)

               20.        The Founding Generation was zealous in its defense of the people’s rights, and so

       enshrined them in the Constitution. At the same time, they recognized that some citizens could

       be irresponsible or motivated by evil intent and could thus threaten the security of the

       government and the safety of citizens. 30 The threats that such citizens posed to public safety

       could be checked in most instances by ordinary criminal statutes, drawn largely from British

       common law. But at times those threats could be checked only by statutes that placed limits on

       basic rights. 31

               28
                   Ibid., 118 (reporting that “Petitions to the Virginia House of Burgesses for
       compensation for outlawed slaves who were killed during attempts to capture them indicate that
       90 percent were shot”).
                29
                   Ibid., 118-119.
                30
                   On the fears of the Founders that their republic might collapse because selfish or
       unscrupulous citizens might misuse their liberties, see Gordon S. Wood, The Creation of the
       American Republic, 1776-1787 (Chapel Hill: University of North Carolina Press, 1969), 65-70,
       282-291, 319-328, 413-425, 463-467; Drew R. McCoy, The Last of the Fathers: James Madison
       and the Republican Legacy (New York: Cambridge University Press, 1989), 42-45; and Andrew
       S. Trees, The Founding Fathers and the Politics of Character (Princeton: Princeton University
       Press, 2003), 6-9, 60-65, 86-104, 113-114.
                31
                   On the Founders’ belief that rights might have to be restricted in certain instances, see
       Terri Diane Halperin, The Alien and Sedition Acts: Testing the Constitution (Baltimore: Johns
       Hopkins University Press, 2016), 1-8, on restraints on freedom of speech and the press during the
       administration of John Adams; Leonard Levy, Jefferson and Civil Liberties: The Darker Side
       (Cambridge: The Belknap Press of Harvard University Press, 1963), 93-141, on loosening
       restrictions on searches and seizures during the administration of Thomas Jefferson; and Patrick
       J. Charles, Armed in America: A History of Gun Rights from Colonial Militias to Concealed
       Carry (New York: Prometheus Books, 2018), 70-121, especially 108-109, as well as Saul
                                                                                           (continued…)


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              21.     The Founders were aware that the rate at which civilians killed each other or were

       killed by roving bands of Tories or Patriots rose during the Revolution. 32 And they recognized

       that more civilians, expecting trouble with neighbors, public officials, and partisans, were likely

       to go about armed during the Revolution, which is why the proportion of homicides of European

       Americans by unrelated adults rose to 33 percent in Virginia and 46 percent in New England. 33

       But the surge in violence ended in New England, the Mid-Atlantic states, and the settled

       Midwest once the Revolutionary crisis was over. In those areas homicide rates fell to levels in

       some instances even lower than those which had prevailed in the early and mid-eighteenth

       century. By the 1820s, rates had fallen to 3 per 100,000 adults per year in Cleveland and


       Cornell, A Well-Regulated Militia: The Founding Fathers and the Origins of Gun Control in
       America (New York: Oxford University Press, 2006), 39-70, and Jack N. Rakove, “The Second
       Amendment: The Highest State of Originalism,” in Carl T. Bogus, ed., The Second Amendment
       in Law and History: Historians and Constitutional Scholars on the Right to Bear Arms (New
       York: The New Press, 2000), 74-116, on the limited scope of the Second Amendment. Jack N.
       Rakove, Original Meanings: Politics and Ideas in the Making of the Constitution (New York:
       Alfred A. Knopf, 1996), 291, notes that “Nearly all the activities that constituted the realms of
       life, liberty, property, and religion were subject to regulation by the state; no obvious landmarks
       marked the boundaries beyond which its authority could not intrude, if its actions met the
       requirements of law.” See also Rakove, “The Second Amendment: The Highest State of
       Originalism,” Chicago-Kent Law Review 76 (2000), 157 (https://scholarship.kentlaw.iit.edu/
       cgi/viewcontent.cgi?referer=&httpsredir=1&article=3289&context=cklawreview): “[At] the time
       when the Second Amendment was adopted, it was still possible to conceive of statements of
       rights in quite different terms, as assertions or confirmations of vital principles, rather than the
       codification of legally enforceable restrictions or commands.”
                32
                   Roth, American Homicide, 145-149; Holger Hoock, Scars of Independence: America’s
       Violent Birth (New York: Broadway Books / Penguin Random House, 2017), 308-322; Alan
       Taylor, Divided Ground: Indians, Settlers, and the Northern Borderland of the American
       Revolution (New York: Knopf, 2006), 91-102; George C. Daughan, Revolution on the Hudson:
       New York City and the Hudson River Valley in the American War for Independence (New York:
       W. W. Norton, 2016), 137-138; John B. Frantz and William Pencak, eds., Beyond Philadelphia:
       The American Revolution in the Pennsylvania Hinterland (University Park: Pennsylvania State
       University Press, 1998), 42-43, 141-145, 149-152; Francis S. Fox, Sweet Land of Liberty: the
       Ordeal of the American Revolution in Northampton County, Pennsylvania (University Park:
       Pennsylvania State University Press, 2000), 25-27, 32, 64-65, 91-92, 114; and Fox Butterfield,
       All God’s Children: The Bosket Family and the American Tradition of Violence (New York:
       Vintage, 1996), 3-18.
                33
                   Roth, “Why Guns Are and Aren’t the Problem,” 119-120.


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       Philadelphia, to 2 per 100,000 in rural Ohio, and to 0.5 per 100,000 in northern New England.

       Only New York City stood out, at 6 per 100,000 adults per year. 34 And the proportion of

       domestic and nondomestic homicides committed with firearms was correspondingly low—

       between 0 and 10 percent—because people once again generally refrained, as they had from the

       Glorious Revolution through the French and Indian War, from going about armed, except to

       hunt, control vermin, or serve in the militia. 35

               22.     The keys to these low homicide rates and low rates of gun violence in New

       England, the Mid-Atlantic states, and the settled Midwest were successful nation-building and

       the degree to which the promise of the democratic revolution was realized. Political stability

       returned, as did faith in government and a strong sense of patriotic fellow feeling, as the

       franchise was extended and political participation increased. 36 And self-employment—the

       bedrock of citizenship, self-respect, and respect from others—was widespread. By 1815,

       roughly 80 percent of women and men owned their own homes and shops or farms by their mid-

       thirties; and those who did not were often white-collar professionals who also received respect

       from their peers. 37 African Americans still faced discrimination and limits on their basic rights

       in most Northern states. But despite these barriers, most African Americans in the North were




               34
                  Roth, American Homicide, 180, 183-186; and Eric H. Monkkonen, Murder in New
       York City (Berkeley: University of California Press, 2001), 15-16.
               35
                  For detailed figures and tables on weapons use in homicides by state, city, or county,
       see Roth, “American Homicide Supplemental Volume: Weapons,” available through the
       Historical Violence Database, sponsored by the Criminal Justice Research Center at the Ohio
       State University (https://cjrc.osu.edu/sites/cjrc.osu.edu/files/AHSV-Weapons-10-2009.pdf). On
       weapons use in homicides in the North, see Figures 25 through 46.
               36
                  Roth, American Homicide, 180, 183-186.
               37
                  Ibid., 180, 183-186.


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       optimistic, after slavery was abolished in the North, about earning their own living and forming

       their own churches and voluntary organizations. 38

               23.     That is why there was little interest among public officials in the North in

       restricting the use of firearms during the Early National period, except in duels. They took a

       strong stand against dueling in the wake of Alexander Hamilton’s death, because of the threat the

       practice posed for the nation’s democratic polity and the lives of public men: editors, attorneys,

       military officers, and politicians. 39

               24.     Laws restricting the everyday use of firearms did appear, however, in the early

       national period in a number of slave states, 40 where violence among citizens increased after the

       Revolution to extremely high levels. Revolutionary ideas and aspirations wreaked havoc on the

       status hierarchy of the slave South, where homicide rates ranged from 8 to 28 per 100,000 adults

       per year. 41 Poor and middle-class whites were increasingly frustrated by their inability to rise in

       a society that remained class-bound and hierarchical. 42 Prominent whites were subjected to the

       rough and tumble of partisan politics and their position in society was threatened by people from




               38
                   Ibid., 181-182, 195-196; Leon F. Litwack, North of Slavery: The Negro in the Free
       States, 1790-1860 (Chicago: University of Chicago Press, 1961); Joanne Pope Melish,
       Disowning Slavery: Gradual Emancipation and “Race” in New England, 1780-1860 (Ithaca:
       Cornell University Press, 1998); Sean White, Somewhat More Independent: The End of Slavery
       in New York City, 1780-1810 (Athens: University of Georgia Press, 1991); and Graham R.
       Hodges, Root and Branch: African Americans in New York and East Jersey, 1613-1863 (Chapel
       Hill: University of North Carolina Press, 1999).
                39
                   Joanne B. Freeman, Affairs of Honor: National Politics in the New Republic (New
       Haven: Yale University Press, 2001); and C. A. Harwell, “The End of the Affair? Anti-Dueling
       Laws and Social Norms in Antebellum America,” Vanderbilt Law Review 54 (2001): 1805-1847
       (https://scholarship.law.vanderbilt.edu/cgi/viewcontent.cgi?article=1884&context=vlr).
                40
                   Clayton E. Cramer, Concealed Weapons Laws of the Early Republic: Dueling,
       Southern Violence, and Moral Reform (Westport, Connecticut: Praeger, 1999); and Cornell, Well-
       Regulated Militia, 141-144.
                41
                   Roth, American Homicide, 180, 199-203.
                42
                   Ibid., 182.


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       lower social positions. 43 African Americans despaired over the failure of the abolition

       movement in the South, and whites were more fearful than ever of African American rebellion. 44

       As a result, impatience with restraint and sensitivity to insult were more intense in the slave

       South, and during this period the region saw a dramatic increase in the number of deadly

       quarrels, property disputes, duels, and interracial killings. 45 The violence spread to frontier

       Florida and Texas, as well as to southern Illinois and Indiana—wherever Southerners settled in

       the early national period. 46 During the Early National period, the proportion of homicides

       committed with firearms went up accordingly, to a third or two-fifths, as Southerners armed

       themselves in anticipation of trouble, or set out to cause trouble. 47

              25.     Citizens and public officials in these states recognized that concealable

       weapons—pistols, folding knives, dirk knives, and Bowie knives—were used in an alarming

       proportion of the era’s murders and serious assaults. 48 They were used to ambush both ordinary

       citizens and political rivals, to bully or intimidate law-abiding citizens, and to seize the

       advantage in fist fights. As the Grand Jurors of Jasper County, Georgia, stated in a plea to the

       state legislature in 1834 for restrictions on concealable weapons,

              The practice which is common amongst us with the young the middle aged and the
              aged to arm themselves with Pistols, dirks knives sticks & spears under the
              specious pretence of protecting themselves against insult, when in fact being so
              armed they frequently insult others with impunity, or if resistance is made the pistol



              43
                 Ibid.
              44
                 Ibid.
              45
                 Ibid., 182, 199-203.
              46
                 Ibid., 162, 180-183, 199-203; Roth and James M. Denham, “Homicide in Florida,
       1821-1861,” Florida Historical Quarterly 86 (2007): 216-239; John Hope Franklin, The Militant
       South, 1800-1861 (Cambridge: Belknap Press of Harvard University Press, 1961); and Bertram
       Wyatt-Brown, Southern Honor: Ethics and Behavior in the Old South (New York: Oxford
       University Press, 1982).
              47
                 Roth, “American Homicide Supplemental Volume: Weapons,” Figures 51 through 57.
              48
                 Roth, American Homicide, 218.


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              dirk or club is immediately resorted to, hence we so often hear of the stabbing
              shooting & murdering so many of our citizens. 49

              The justices of the Louisiana Supreme Court echoed these sentiments—“unmanly” men

       carried concealed weapons to gain “secret advantages” over their adversaries. 50 These concealed

       weapons laws were notably difficult to enforce, however, and did not address underlying factors

       that contributed to rising homicide rates. Nevertheless, these laws represent governmental

       efforts at that time to address the use of new weapons in certain types of crime.

              26.     The pistols of the early national period represented a technological advance.

       Percussion-lock mechanisms enabled users to extend the life of a charge, because unlike flint-

       lock mechanisms, they did not use hydroscopic black powder in their priming pans; they used a

       sealed mercury-fulminate cap as a primer and seated it tightly on a small nipple (with an inner

       diameter the size of a medium sewing needle) at the rear of the firing chamber, which restricted

       the flow of air and moisture to the chamber. Percussion cap pistols, which replaced flint-lock

       pistols in domestic markets by the mid-1820s, could thus be kept loaded and carried around for

       longer periods without risk of corrosion. 51 The new types of knives available in this era also

       represented technological advances over ordinary knives because they were designed expressly

       for fighting. Dirks and Bowie knives had longer blades than ordinary knives, crossguards to

       protect the combatants’ hands, and clip points to make it easier to cut or stab opponents. 52

              27.     The violence in the slave South and its borderlands, and the technological

       advances that exacerbated it, led to the first prohibitions against carrying certain concealable

              49
                 Ibid., 218-219. See also the concerns of the Grand Jurors of Wilkes County, Georgia,
       Superior Court Minutes, July 1839 term.
              50
                 Roth, American Homicide, 219.
              51
                 Roth, “Why Guns Are and Aren’t the Problem,” 117.
              52
                 Harold L. Peterson, American Knives: The First History and Collector’s Guide (New
       York: Scribner, 1958), 25-70; and Peterson, Daggers and Fighting Knives in the Western World,
       from the Stone Age till 1900 (New York: Walker, 1968), 67-80.


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       weapons, which appeared in Kentucky, Louisiana, Indiana, Arkansas, Georgia, and Virginia

       between 1813 and 1838. These laws differed from earlier laws that restricted access to arms by

       Native Americans or by free or enslaved African Americans, because they applied broadly to

       everyone but also applied more narrowly to certain types of weapons and to certain types of

       conduct. Georgia’s 1837 law “against the unwarrantable and too prevalent use of deadly

       weapons” was the most restrictive. It made it unlawful for merchants

               and any other person or persons whatsoever, to sell, or offer to sell, or to keep, or
               have about their person or elsewhere . . . Bowie, or any other kind of knives,
               manufactured or sold for the purpose of wearing, or carrying the same as arms of
               offence or defence, pistols, dirks, sword canes, spears, &c.

               The sole exceptions were horseman’s pistols—large weapons that were difficult to

       conceal and were favored by travelers. But the laws in the other five states were also strict: they

       forbid the carrying of concealable weapons in all circumstances. Indiana made an exemption for

       travelers. 53

               28.     Thus, during the lifetimes of Jefferson, Adams, Marshall, and Madison, the

       Founding Generation passed laws in a number of states that restricted the use or ownership of

       certain types of weapons after it became obvious that those weapons, including certain fighting

       knives and percussion-cap pistols, were being used in crime by people who carried them

       concealed on their persons and were thus contributing to rising crime rates. 54

               53
                  Cramer, Concealed Weapons Laws, especially 143-152, for the texts of those laws.
       Alabama and Tennessee prohibited the concealed carrying of fighting knives, but not pistols. See
       also the Duke Center for Firearms Law, Repository of Historical Gun Laws (https://firearmslaw.
       duke.edu/search-results/?_sft_subjects=dangerous-or-unusual-weapons, accessed September 9,
       2022). Note that the Georgia Supreme Court, in Nunn v. State, 1 Ga. 243 (1846), held that
       prohibiting the concealed carry of certain weapons was valid, but that the state could not also
       prohibit open carry, which would destroy the right to bear arms. That decision put Georgia in
       line with the five other states that had prohibited the carrying of concealable firearms.
               54
                  Cramer, Concealed Weapons Laws, 69-96; Cramer, For the Defense of Themselves and
       the State: The Original Intent and Judicial Interpretation of the Right to Keep and Bear Arms
                                                                                            (continued…)


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              C. Homicide, Concealable Weapons, and Concealable Weapons Regulations
                 from the Mexican War through the Early Twentieth Century (1846-
                 1920s)


              29.     By the early twentieth century, every state either banned concealed firearms or

       placed severe restrictions on their possession. 55 They did so in response to two developments:

       the nationwide surge in homicide rates, from the North and South to the Trans-Mississippi West;

       and the invention of new firearms, especially the revolver, which enabled the firing of multiple

       rounds in succession without reloading and made the homicide problem worse. Between the

       mid-nineteenth and the early twentieth century homicide rates fell in nearly every Western

       nation. 56 But in the late 1840s and 1850s those rates exploded across the United States and

       spiked even higher during the Civil War and Reconstruction, not only in the South and the

       Southwest, where rates had already risen in the early national period, but in the North. Rates that


       (Westport, Connecticut: Praeger Publishers, 1994); Don B. Kates, Jr., “Toward a History of
       Handgun Prohibition in the United States,” in Cates, ed., Restricting Handguns: The Liberal
       Skeptics Speak Out (Croton-on-Hudson, New York: North River Press, 1979), 7-30; and Philip
       D. Jordan, Frontier Law and Order—10 Essays (Lincoln: University of Nebraska Press, 1970),
       1-22. Thomas Jefferson and John Adams died on July 4, 1826, John Marshall on July 6, 1835,
       and James Madison on July 28, 1836. On the history of firearms regulations that pertained to
       African Americans, see Robert J. Cottrol and Raymond T. Diamond, “The Second Amendment:
       Toward an Afro-Americanist Reconsideration,” Georgetown Law Journal 80 (1991): 309-361
       (https://digitalcommons.law.lsu.edu/cgi/viewcontent.cgi?referer=&httpsredir=1&article=1283&c
       ontext=faculty_scholarship); Cottrol and Diamond, “Public Safety and the Right to Bear Arms”
       in David J. Bodenhamer and James W. Ely, Jr., eds., The Bill of Rights in Modern America,
       revised and expanded (Bloomington: Indiana University Press, 2008), 88-107; and Cramer, For
       the Defense of Themselves and the State, 74, 83-85, 97-140.
                55
                   Kates, “Toward a History of Handgun Prohibition,” 7-30; and Jordan, Frontier Law
       and Order, 17-22. These sources identify laws that either banned concealed firearms or placed
       severe restrictions on their possession in every state except Vermont. However, Vermont also
       had such a law by the early twentieth century. See An Act Against Carrying Concealed
       Weapons, No. 85, § 1 (12th Biennial Session, General Assembly of the State of Vermont, Nov.
       19, 1892) (“A person who shall carry a dangerous or deadly weapon, openly or concealed, with
       the intent or avowed purpose of injuring a fellow man, shall, upon conviction thereof, be
       punished by a fine not exceeding two hundred dollars, or by imprisonment not exceeding two
       years, or both, in the discretion of the court.”).
                56
                   Roth, American Homicide, 297-300.


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       had ranged in the North in the 1830s and early 1840s from a low of 1 per 100,000 adults per year

       in northern New England to 6 per 100,000 in New York City, rose to between 2 and 33 per

       100,000 in the northern countryside and to between 10 and 20 per 100,000 in northern cities. In

       the South, rates in the plantation counties of Georgia rose from 10 per 100,000 adults to 25 per

       100,000, and rates soared even higher in rural Louisiana to 90 per 100,000 and in mountain

       communities in Georgia and Missouri from less than 5 per 100,000 adults per year to 60 per

       100,000. And in the West, the rates reached 65 per 100,000 adults per year in California, 76 per

       100,000 in Texas, 119 per 100,000 in mining towns in South Dakota, Nevada, and Montana, and

       155 per 100,000 in cattle towns in Kansas. Americans, especially men, were more willing to kill

       friends, acquaintances, and strangers. And so, the United States became—and remains today—

       by far the most murderous affluent society in the world. 57

              30.     The increase occurred because America’s heretofore largely successful effort at

       nation-building failed at mid-century. 58 As the country struggled through the wrenching and

       divisive changes of the mid-nineteenth century—the crises over slavery and immigration, the

       decline in self-employment, and rise of industrialized cities—the patriotic faith in government

       that most Americans felt so strongly after the Revolution was undermined by anger and

       distrust. 59 Disillusioned by the course the nation was taking, people felt increasingly alienated

       from both their government and their neighbors. 60 They were losing the sense that they were




              57
                   Ibid., 199, 297-300, 302, 337, 347; and Roth, Michael D. Maltz, and Douglas L.
       Eckberg, “Homicide Rates in the Old West,” Western Historical Quarterly 42 (2011): 173-195
       (https://www.jstor.org/stable/westhistquar.42.2.0173#metadata_info_tab_contents).
                58
                   Ibid., 299-302, 384-385; and Roth, “American Homicide: Theory, Methods, Body
       Counts,” Historical Methods 43 (2010): 185-192.
                59
                   Roth, American Homicide, 299-302, 384-385. See also Roth, “Measuring Feelings and
       Beliefs that May Facilitate (or Deter) Homicide.”
                60
                   Roth, American Homicide, 300.


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       participating in a great adventure with their fellow Americans. 61 Instead, they were competing in

       a cutthroat economy and a combative political system against millions of strangers whose

       interests and values were antithetical to their own. 62 And most ominously, law and order broke

       down in the wake of the hostile military occupation of the Southwest, the political crisis of the

       1850s, the Civil War, and Reconstruction. 63

               31.    The proportion of homicides committed with firearms increased as well from the

       Mexican War through Reconstruction, as it had during previous increases in nondomestic

       homicides during the Revolution, in the postrevolutionary South, and on contested frontiers. 64

       Because the pistols, muskets, fowling pieces, and rifles in use in the early years of the crisis of

       the mid-nineteenth century were still predominantly single-shot, muzzle-loading, black powder

       weapons, the proportion of homicides committed with guns stayed in the range of a third to two-

       fifths, except on the frontier. 65 Concealable fighting knives, together with concealable

       percussion-cap pistols, remained the primary murder weapons. But in time, new technologies

       added to the toll in lives, because of their lethality and the new ways in which they could be

       used.

               32.    Samuel Colt’s cap-and-ball revolvers, invented in 1836, played a limited role in

       the early years of the homicide crisis, but they gained popularity quickly because of their

       association with frontiersmen, Indian fighters, Texas Rangers, and cavalrymen in the Mexican

       War. 66 They retained some of the limitations of earlier firearms, because their rotating


               61
                 Ibid.
               62
                 Ibid.
              63
                 Ibid., 299-302, 332, 337, 354.
              64
                 Roth, “Why Guns Are and Aren’t the Problem,” 116-117.
              65
                 Roth, “American Homicide Supplemental Volume: Weapons,” Figures 25 through 46,
       and 51 through 57.
              66
                 Patricia Haag, The Gunning of America: Business and the Making of American Gun
       Culture (New York: Basic Books, 2016).


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       cylinders—two of which came with each revolver—had to be loaded one chamber at a time.

       Users had to seat a percussion cap on a nipple at the rear of each chamber, pour powder into each

       chamber, secure the powder with wadding, and ram the bullet down the chamber with a rod or an

       attached loading lever. Thus cap-and-ball revolvers, like muzzle-loaders, could not be loaded

       quickly, nor could they be kept loaded indefinitely without risk of damaging the charge or the

       gun. But they were deadlier than their predecessors, because they made it possible for a person

       to fire five or six shots in rapid succession and to reload quickly with the second cylinder. 67

              33.      Smith and Wesson’s seven-shot, .22 caliber, breech-loading, Model 1 rimfire

       revolver, invented in 1857, appeared on the market when the homicide crisis was already well

       underway. But it had none of the limitations of percussion-cap pistols or cap-and-ball revolvers.

       It could be loaded quickly and easily because it did not require powder, wadding, and shot for

       each round; and it could be kept loaded indefinitely because its corrosive powder was

       encapsulated in the bullet. 68 And it did not require a new percussion cap for each chamber,

       because the primer was located in a rim around the base of the bullet, set to ignite as soon as it

       was hit by the hammer. 69 As Smith and Wesson noted in its advertisements,

              Some of the advantages of an arm constructed on this plan are:

              •     The convenience and safety with which both the arm and ammunition may be
                    carried;
              •     The facility with which it may be charged, (it requiring no ramrod, powder-
                    flask, or percussion caps);
              •     Certainty of fire in damp weather;

              67
                  Edward C. Ezell, Handguns of the World: Military Revolvers and Self-Loaders from
       1870 to 1945 (Harrisburg, Pennsylvania: Stackpole Books, 1981), 24-28; Julian S. Hatcher,
       Pistols and Revolvers and Their Use (Marshallton, Delaware: Small-Arms Technical Publishing
       Company, 1927), 8-11; and Charles T. Haven and Frank A. Belden, A History of the Colt
       Revolver and the Other Arms Made by Colt’s Patent Fire Arms Manufacturing Company from
       1836 to 1940 (New York: Bonanza Books, 1940), 17-43.
               68
                  Roy G. Jinks, History of Smith and Wesson (North Hollywood: Beinfeld, 1977), 38-57.
               69
                  Ibid., 38-57.


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               •     That no injury is caused to the arm or ammunition by allowing it to remain
                     charged any length of time. 70

               34.      Smith and Wesson had created a near-perfect murder weapon. It was lethal,

       reliable, easy to carry and conceal, capable of multiple shots, and ready to use at any time. 71 Its

       only drawbacks were its small caliber and low muzzle velocity, which limited its ability to stop

       an armed or aggressive adversary on the first shot, and the difficulty and danger of reloading.

       The reloading problem was remedied by Colt’s development in 1889 of the first double-action

       commercial revolver with a swing-out cylinder and Smith and Wesson’s addition in 1896 of an

       ejector to push out spent cartridges. 72

               35.      These new weapons were not the primary cause of the surge in violence that

       occurred in the United States from the Mexican War through Reconstruction. But they did

       contribute to the later stages of the crisis, as they superseded knives and black powder handguns

       as the primary weapons used in interpersonal assaults, not only because of their greater lethality,

       but because they were used in novel ways. 73 Easily concealed, they became the weapons of

       choice for men who stalked and ambushed estranged spouses or romantic partners, for suspects

       who killed sheriffs, constables, or police officers, and for self-styled toughs who engaged in

       shootouts in bars, streets, and even churchyards. 74 And as modern, breech-loading firearms

       replaced the muzzle-loading and cap-and-ball gunstock from the late 1850s through World War

               70
                  Ibid., 39.
               71
                  Ibid., 38-57.
               72
                  Rick Sapp, Standard Catalog of Colt Firearms (Cincinnati: F+W Media, 2011), 96;
       Jeff Kinard, Pistols: An Illustrated History of Their Impact (Santa Barbara: ABC-CLIO,
       2003), 163; and Jinks, History of Smith and Wesson, 104-170.
               73
                  Roth, “Why Guns Are and Aren’t the Problem,” 124-126 (recognizing that “Americans
       used the new firearms in ways they could never use muzzle-loading guns [. . .] The ownership of
       modern breech-loading [firearms] made the homicide rate worse in the United States than it
       would have been otherwise because it facilitated the use of lethal violence in a wide variety of
       circumstances.”) (emphasis added).
               74
                  Ibid., 124-125.


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       I, the proportion of homicides committed with firearms continued to climb even when homicide

       rates fell for a short time, as they did at the end of Reconstruction. By the eve of World War I,

       rates had fallen in the New England states to 1 to 4 per 100,000 adults per year, to 2 to 5 per

       100,000 in the Prairie states, and 3 to 8 per 100,000 in the industrial states. In the West, rates had

       fallen to 12 per 100,000 adults per year in California, 15 per 100,000 in Colorado, and

       approximately 20 to 30 per 100,000 in Arizona, Nevada, and New Mexico. Homicide rates

       whipsawed, however, in the South. They fell in the late 1870s and 1880s, only to rise in the

       1890s and early twentieth century, to just under 20 per 100,000 adults in Florida, Kentucky,

       Louisiana, Missouri, and Tennessee, and 35 per 100,000 in Virginia and North Carolina. 75

       Ominously, too, firearms invaded families and intimate relationships, so relatives, spouses, and

       lovers were as likely to be killed with guns as unrelated adults—something that had never

       happened before in America’s history. 76 That is why the proportion of homicides committed

       with firearms—overwhelmingly, concealed revolvers—reached today’s levels by the 1920s,

       ranging from a median of 56 percent in New England and over 70 percent in the South and

       West. 77 And that is why every state in the Union restricted the right to carrying certain

       concealable weapons.

              36.     It is important to note that state legislators experimented with various degrees of

       firearm regulation, as the nation became more and more violent. In Texas, where the homicide

       rate soared to at least 76 per 100,000 adults per year from June, 1865, to June, 1868, 78 the



              75
                   Ibid., 125-127, 388, 403-404; and Roth, “American Homicide Supplemental Volume:
       American Homicides in the Twentieth Century,” Figures 4a and 5a.
                76
                   Ibid., 125.
                77
                   Roth, “American Homicide Supplemental Volume: Weapons,” Figures 2 through 7.
                78
                   Roth, Michael D. Maltz, and Douglas L. Eckberg, “Homicide Rates in the Old West,”
       Western Historical Quarterly 42 (2011): 192,
       (https://www.jstor.org/stable/westhistquar.42.2.0173#metadata_info_tab_contents).


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       legislature passed a time-place-manner restriction bill in 1870 to prohibit the open or concealed

       carry of a wide range of weapons, including firearms, on social occasions; 79 and it followed in

       1871 with a bill banning in most circumstances the carrying, open or concealed, of small deadly

       weapons, including pistols, that were not designed for hunting or militia service. 80 These laws


              79
                  Brennan Gardner Rivas, “Enforcement of Public Carry Restrictions: Texas as a Case
       Study,” UC Davis Law Review 55 (2021): 2609-2610 (https://lawreview.law.ucdavis.edu/issues/
       55/5/articles/files/55-5_Rivas.pdf). “Be it enacted by the Legislature of the State of Texas, That
       if any person shall go into any church or religious assembly, any school room or other place
       where persons are assembled for educational, literary or scientific purposes, or into a ball room,
       social party or other social gathering composed of ladies and gentlemen, or to any election
       precinct on the day or days of any election, where any portion of the people of this State are
       collected to vote at any election, or to any other place where people may be assembled to muster
       or perform any other public duty, or any other public assembly, and shall have about his person a
       bowie-knife, dirk or butcher-knife, or fire-arms, whether known as a six-shooter, gun or pistol of
       any kind, such person so offending shall be deemed guilty of a misdemeanor, and on conviction
       thereof shall be fined in a sum not less than fifty or more than five hundred dollars, at the
       discretion of the court or jury trying the same; provided, that nothing contained in this section
       shall apply to locations subject to Indian depredations; and provided further, that this act shall
       not apply to any person or persons whose duty it is to bear arms on such occasions in discharge
       of duties imposed by law.” An Act Regulating the Right to Keep and Bear Arms, 12th Leg., 1st
       Called Sess., ch. XLVI, § 1, 1870 Tex. Gen. Laws 63. See also Brennan Gardner Rivas, “The
       Deadly Weapon Laws of Texas: Regulating Guns, Knives, and Knuckles in the Lone Star State,
       1836-1930” (Ph.D. dissertation: Texas Christian University, 2019) (https://repository.tcu.edu/
       handle/116099117/26778).
               80
                  Rivas, “Enforcement of Public Carry Restrictions,” 2610-2611. Rivas, quoting the law,
       says that “The first section stated, ‘That any person carrying on or about his person, saddle, or in
       his saddle bags, any pistol, dirk, dagger, slung-shot, sword-cane, spear, brass-knuckles, bowie
       knife, or any other kind of knife manufactured or sold for the purposes of offense or defense,
       unless he has reasonable grounds for fearing an unlawful attack on his person, and that such
       ground of attack shall be immediate and pressing; or unless having or carrying the same on or
       about his person for the lawful defense of the State, as a militiaman in actual service, or as a
       peace officer or policeman, shall be guilty of a misdemeanor, and, on conviction thereof shall,
       for the first offense, be punished by fine of not less than twenty-five nor more than one hundred
       dollars, and shall forfeit to the county the weapon or weapons so found on or about his person;
       and for every subsequent offense may, in addition to such fine and forfeiture, be imprisoned in
       the county jail for a term not exceeding sixty days; and in every case of fine under this section
       the fines imposed and collected shall go into the treasury of the county in which they may have
       been imposed; provided that this section shall not be so construed as to prohibit any person from
       keeping or bearing arms on his or her own premises, or at his or her own place of business, nor to
       prohibit sheriffs or other revenue officers, and other civil officers, from keeping or bearing arms
       while engaged in the discharge of their official duties, nor to prohibit persons traveling in the
                                                                                          (continued…)


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       were enforced with little or no racial bias until the 1890s, when white supremacists disfranchised

       African Americans, legalized segregation, and took firm control of the courts and law

       enforcement. 81

              37.        Tennessee and Arkansas went farther than Texas to stem the tide of post-Civil

       War interpersonal violence. In 1871, Tennessee flatly prohibited the carrying of pocket pistols

       and revolvers, openly or concealed, except for the large army and navy pistols commonly carried




       State from keeping or carrying arms with their baggage; provided, further, that members of the
       Legislature shall not be included under the term “civil officers” as used in this act.’ An Act to
       Regulate the Keeping and Bearing of Deadly Weapons, 12th Leg. Reg. Sess., ch. XXXIV, § 1,
       1871 Tex. Gen. Laws 25. The third section of the act reads, ‘If any person shall go into any
       church or religious assembly, any school room, or other place where persons are assembled for
       amusement or for educational or scientific purposes, or into any circus, show, or public
       exhibition of any kind, or into a ball room, social party, or social gathering, or to any election
       precinct on the day or days of any election, where any portion of the people of this State are
       collected to vote at any election, or to any other place where people may be assembled to muster,
       or to perform any other public duty, (except as may be required or permitted by law,) or to any
       other public assembly, and shall have or carry about his person a pistol or other firearm, dirk,
       dagger, slung shot, sword cane, spear, brass-knuckles, bowie-knife, or any other kind of knife
       manufactured and sold for the purposes of offense and defense, unless an officer of the peace, he
       shall be guilty of a misdemeanor, and, on conviction thereof, shall, for the first offense, be
       punished by fine of not less than fifty, nor more than five hundred dollars, and shall forfeit to the
       county the weapon or weapons so found on his person; and for every subsequent offense may, in
       addition to such fine and forfeiture, be imprisoned in the county jail for a term not more than
       ninety days.’ Id. § 3.” The law did not apply, however, ‘to a person’s home or business, and there
       were exemptions for “peace officers” as well as travelers; lawmakers and jurists spent
       considerable time fleshing out who qualified under these exemptions, and how to allow those
       fearing an imminent attack to carry these weapons in public spaces. Also, the deadly weapon law
       did not apply to all guns or firearms but just pistols. The time-place-manner restrictions,
       however, applied to any “fire-arms . . . gun or pistol of any kind” and later “pistol or other
       firearm,” as well as “any gun, pistol . . . .’” See also Brennan Gardner Rivas, “The Deadly
       Weapon Laws of Texas: Regulating Guns, Knives, and Knuckles in the Lone Star State, 1836-
       1930 (Ph. D. dissertation: Texas Christian University, 2019), 72-83, 124-163 (https://repository
       .tcu.edu/handle/116099117/26778).
               81
                  Rivas, “Enforcement of Public Carry Restrictions,” 2609-2620. The study draws on
       enforcement data from four Texas counties, 1870-1930: 3,256 total cases, of which 1,885 left a
       record of final adjudication. See also Rivas, “Deadly Weapon Laws of Texas,” 164-195.


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       by members of the military, which could be carried openly, but not concealed. 82 Arkansas

       followed suit in 1881. 83 Tennessee’s law withstood a court challenge, and Arkansas’s was never

       challenged. 84 And both states moved to prevent the sale or transfer of pocket pistols or ordinary

       revolvers. In 1879, Tennessee prohibited “any person to sell, or offer to sell, or bring into the

       State for the purpose of selling, giving away, or otherwise disposing of, belt or pocket pistols, or

       revolvers, or any other kind of pistol, except army or navy pistols.” 85 Arkansas passed a similar

       prohibition in 1881, but went even further by prohibiting the sale of pistol cartridges as well:

       “Any person who shall sell, barter, or exchange, or otherwise dispose of, or in any manner

       furnish to any person any dirk or bowie knife, or a sword or a spear in a cane, brass or metal

       knucks, or any pistol, of any kind of whatever, except as are used in the army or navy of the

       United States, and known as the navy pistol, or any kind of cartridge for any pistol, or any person

       who shall keep such arms or cartridges for sale, shall be guilty of a misdemeanor.” 86



              82
                   1871 Tenn. Pub. Acts 81, An Act to Preserve the Peace and to Prevent Homicide, ch.
       90, § 1; State v. Wilburn, 66 Tenn. 57, 61 (1872) (“It shall not be lawful for any person to
       publicly carry a dirk, sword cane, Spanish stiletto, belt or pocket pistol, or revolver, other than an
       army pistol, or such as are commonly carried and used in the United States army, and in no case
       shall it be lawful for any person to carry such army pistol publicly or privately about his person
       in any other manner than openly in his hands.”).
                83
                   1881 Ark. Acts 191, An Act to Preserve the Public Peace and Prevent Crime, chap.
       XCVI, § 1-2 (“That any person who shall wear or carry, in any manner whatever, as a weapon,
       any dirk or bowie knife, or a sword, or a spear in a cane, brass or metal knucks, razor, or any
       pistol of any kind whatever, except such pistols as are used in the army or navy of the United
       States, shall be guilty of a misdemeanor. . . . Any person, excepting such officers or persons on a
       journey, and on his premises, as are mentioned in section one of this act, who shall wear or carry
       any such pistol as i[s] used in the army or navy of the United States, in any manner except
       uncovered, and in his hand, shall be guilty of a misdemeanor.”).
                84
                   See Brennan Gardner Rivas, “The Problem with Assumptions: Reassessing the
       Historical Gun Policies of Arkansas and Tennessee,” Second Thoughts, Duke Center for
       Firearms Law (Jan. 20, 2022), https://firearmslaw.duke.edu/2022/01/the-problem-with-
       assumptions-reassessing-the-historical-gun-policies-of-arkansas-and-tennessee/.
                85
                   1879 Tenn. Pub. Act 135-36, An Act to Prevent the Sale of Pistols, chap. 96, § 1; State
       v. Burgoyne, 75 Tenn. 173, 173-74 (1881).
                86
                   Acts of the General Assembly of Arkansas, No. 96 § 3 (1881).


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              38.     California’s legislature, recognizing that the homicide rate had reached

       catastrophic levels (over 65 per 100,000 adults per year), 87 banned concealed weapons in 1863,

       because, as the editor of the Daily Alta Californian declared,

              During the thirteen years that California has been a State, there have been more
              deaths occasioned by sudden assaults with weapons previously concealed about the
              person of the assailant or assailed, than by all other acts of violence which figure on
              the criminal calendar…. For many sessions prior to the last, ineffectual efforts were
              made to enact some statute which would effectually prohibit this practice of
              carrying concealed weapons. A radical change of public sentiment demanded it,
              but the desired law was not passed until the last Legislature, by a handsome
              majority. 88

              39.     But the legislature repealed the law in 1870, as public sentiment veered back

       toward the belief that the effort to make California less violent was hopeless, and that the only

       protection law-abiding citizens could hope for was to arm themselves. And the legislature once

       again had the enthusiastic support of the editor of the Daily Alta Californian, which then opined,

       “As the sovereignty resides in the people in America, they are to be permitted to keep firearms

       and other weapons and to carry them at their pleasure.” 89 A number of counties dissented,

       however, and made it a misdemeanor to carry a concealed weapon without a permit—ordinances

       that they enforced. 90 In 1917, the state made it a misdemeanor to carry a concealed weapon in

       incorporated cities and required that gun dealers register handgun sales and send the Dealer’s

              87
                   Roth, Maltz, and Eckberg, “Homicide Rates in the Old West,” 183. On violence in
       California and across the Far West, see Roth, Maltz, and Eckberg, “Homicide Rates in the Old
       West,” 173-195; Clare V. McKanna, Jr., Homicide, Race, and Justice in the American West,
       1880-1920 (Tucson: University of Arizona Press, 1997); McKanna, Race and Homicide in
       Nineteenth-Century California (Reno: University of Nevada Press, 2002); and John Mack
       Faragher, Eternity Street: Violence and Justice in Frontier Los Angeles (New York: W. W.
       Norton, 2016); and Roth, American Homicide, 354.
                88
                   Clayton E. Cramer and Joseph Olson, “The Racist Origins of California’s Concealed
       Weapon Permit Law,” Social Science Research Network, posted August 12, 2016, 6-7
       (https://papers.ssrn.com/sol3/papers.cfm?abstract_id=2599851).
                89
                   Cramer and Olson, “Racist Origins of California’s Concealed Weapon Permit Law,” 7-
       10.
                90
                   Ibid., 11.


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       Record of Sale to local law enforcement. 91 And in 1923, the state extended the licensing

       requirement to unincorporated areas and prohibited non-citizens from carrying concealed

       weapons. 92

              40.     Other states, like Ohio, tried to have it both ways. The Ohio legislature banned

       the carrying of concealable weapons in 1859, citing public safety. But it directed jurors, in the

       same law, to acquit persons who carried such weapons,

             If it shall be proved to the jury, from the testimony on the trial of any case presented
             under the first section of this act, that the accused was, at the time of carrying any of
             the weapon or weapons aforesaid, engaged in the pursuit of any lawful business,
             calling, or employment, and that the circumstances in which he was placed at the
             time aforesaid were such as to justify a prudent man in carrying the weapon or
             weapons aforesaid for the defense of his person, property or family. 93

              The burden of proof remained with the person who carried the concealed weapon.

              41.     It is important to remember, however, that even when states enacted different

       types of firearms restrictions, the fact remains that many jurisdictions enacted statutory

       restrictions at that time to ensure the safety of the public and law enforcement.

              III.     THE HISTORICAL CONTEXT FOR MAINE’S 2024 WAITING PERIOD LAW:
                       THE PROBLEM OF FIREARMS SUICIDES

              42.     Scholars have long understood that most suicides are impulsive rather than

       premediated. While many suicide victims suffer from underlying conditions that place them at a

       higher risk for suicide, such as severe depression, the decision to commit suicide comes in the




              91
                  Ibid., 11-13.
              92
                  Ibid., 13-15. Note that the title of the Cramer and Olson essay is misleading. It does not
       refer to the origins of the laws discussed here or to the ways in which they were enforced. It
       refers instead to an unsuccessful effort in 1878 and a successful effort in 1923 to deny resident
       aliens the right to bear arms.
               93
                  Joseph R. Swan, The Revised Statutes of the State of Ohio, of a General Nature, in
       Force August 1, 1860 (Cincinnati: Robert Clarke & Co., 1860), 452.


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       great majority of cases less than a day before the attempt and can pass just as quickly. 94 That is

       why access to a firearm—the deadliest means for attempting suicides—can have such dire

       consequences when a citizen experiences a sudden burst of anger or despair. 95 Scholars have

       found a strong correlation between firearms regulations and lower rates of suicides with firearms

       and suicides as a whole. 96

              43.     At the time of the nation’s founding, suicides—and especially gun suicides—were

       rare, which is why today’s gun suicide problem did not come to the attention of citizens or

       legislators in the early national period. I completed a historical analysis of suicides in Vermont

       and New Hampshire, 1783-1824, with evidence drawn from newspapers, coroner’s inquests, and

       town histories. Using estimation techniques, I determined with 95 percent confidence that the

       suicide rate over those years was remarkably low by today’s standards: between 3.1 and 5.7 per



              94
                  See, for example, Harvard T. H. Chan School of Public Health Duration of Suicidal
       Crises, https://www.hsph.harvard.edu/means-matter/means-matter/duration/; Yari Gvion, Yossi
       Levi-Belz, Gergö Hadlaczky, and Alan Apter, “On the Role of Impulsivity and Decision-Making
       in Suicidal Behavior. World Journal of Psychiatry 5:3 (2015): 255–259, https://www.wjgnet.com/
       2220-3206/full/v5/i3/255.htm; O. R. Simon, A. C. Swann, K. E. Powell, L. B. Potter, M.
       Kresnow, and P. W. O’Carroll, “Characteristics of Impulsive Suicide Attempts and Attempters”
       Suicide Life Threat Behavior 32 (2001): supplement, 49-59, https://pubmed.ncbi.nlm.nih.gov/
       11924695/; and Eberhard A. Deisenhammer, Chy-Meng Ing, Robert Strauss, et al.. “The
       Duration of the Suicidal Process: How Much Time Is Left for Intervention between
       Consideration and Accomplishment of a Suicide attempt? Journal of Clinical Psychiatry 70:1
       (2009):19-24.
               95
                  See for example L. G. Peterson, M. Peterson, G. J. O’Shanick, and A. Swann, “Self-
       Inflicted Gunshot Wounds: Lethality of Method versus Intent. American Journal of Psychiatry”
       142 (1985): 228-231, https://pubmed.ncbi.nlm.nih.gov/3970248/; and Ziyi Cai, Alvin Junus,
       Qingsong Chang, and Paul S.F. Yip, “The Lethality of Suicide Methods: A Systematic Review
       and Meta-Analysis,” Journal of Affective Disorders 300 (2022): 121-129, https://pubmed.ncbi
       .nlm.nih.gov/34953923/.
               96
                  Patrick Sharkey and Megan Kang, “The Era of Progress on Gun Mortality: State Gun
       Regulations and Gun Deaths from 1991 to 2016.” Epidemiology 34 (2023): 786-792, https://
       journals.lww.com/epidem/abstract/2023/11000/the_era_of_progress_on_gun_mortality__state_g
       un.3.aspx; and Ziyi Cai, Alvin Junus, Qingsong Chang, and Paul S.F. Yip, “The Lethality of
       Suicide Methods: A Systematic Review and Meta-Analysis.” Journal of Affective Disorders 300
       (2022): 121-129, https://pubmed.ncbi.nlm.nih.gov/34953923/.


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       100,000 persons ages 16 and older per year for all suicides, and 0.19 and 0.35 per 100,000 per

       year for suicides by firearm, because only 6 percent of suicides were committed with firearms.

       That is remarkable, because 50 to 60 percent of households in northern New England owned a

       working muzzle-loading firearm. 97 Fifty-two percent of suicide victims in New Hampshire and

       Vermont hanged themselves, while another 35 percent drowned or cut themselves with knives or

       razors. Muzzle loading firearms were not the preferred means for committing impulsive suicides,

       just as they were not for committing homicides.98

              44.     As breech loading firearms replaced muzzle loading firearms, however, the

       proportion of suicides committed with firearms rose, as did the suicide rate, because they could

       be kept loaded all the time and used readily on impulse. By the late 1920s and early 1930s, when

       the transition to breech loaders was complete, the suicide rate in New Hampshire had risen to 22

       per 100,000 persons ages fifteen and older per year and the rate with firearms to 9 per 100,000,

       because 41 percent of suicides were committed with guns. The suicide rate in Vermont had risen

       to 24 per 100,000 persons ages 15 and older per year and the rate with firearms had risen to 11

       per 100,000, because 47 percent of suicides were committed with guns. And the suicide rate in

       Maine was 22 per 100,000 persons ages 15 and older per year and the rate with firearms was 9

       per 100,000, because 40 percent of suicides were committed with firearms. 99


              97
                  Roth, “Guns, Gun Culture, and Homicide,” 232-234; and James Lindgren and Justin L.
       Heather, “Counting Guns in Early America.” William & Mary Law Review 43:1 (2002): 1777-
       1824. Of the 244 suicides for which the means is known, 15 were committed with a firearm.
               98
                  Red flag laws that required domestic abusers to surrender their firearms for a specified
       period were absent in the early national period for a similar reason. Domestic homicides were
       rare by today’s standards, and few of those that occurred were committed with firearms, because
       muzzle-loading firearms were difficult to use on impulse. Roth, American Homicide, 115-116;
       Roth, “Why Guns Are and Aren’t the Problem,” 113, 117; and Roth’s contribution to “Brief for
       Amici Curiae Professors of History and Law in Support of Petitioner,” United States of America
       v. Zachary Rahimi, Supreme Court of the United States, No. 22-915, 23-24.
               99
                  Bureau of the Census, “Mortality Statistics,” 1929-1933. Washington, D. C.:
       Government Printing Office, 1931-1935.


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                                                        Figure 3




              45.     In recent years, 2018-2022, the suicide rate in Maine has been 23 per 100,000

       persons ages 15 and older, 56 percent of which were committed with firearms. 100 When Maine

       passed its 2024 statute (P.L. 2023, ch. 678 (eff. Aug. 9, 2024), codified at 25 M.R.S. § 2016 ) to

       establish a 72-hour waiting period for the purchase of a firearm, it addressed a new and pressing

       problem—a problem that the nation’s Founding Generation had not faced.

              VI.     CONCLUSION

              46.     From the Founding Generation to the present, the people of the United States and

       their elected representatives have recognized that there are instances in which the security of the

       republic and the safety of its citizens require new government-imposed restrictions. That is why

       every state passed and enforced laws against the carrying of concealable weapons by the end of



              100
                 CDC Wonder, Underlying Cause of Death by Single-Race Categories, 2018-2023,
       Centers for Disease Control and Prevention, https://wonder.cdc.gov/Deaths-by-Underlying-
       Cause.html, accessed June 3, 2024.


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       the nineteenth century, why the federal government passed the Ku Klux Klan Acts during

       Reconstruction, and why some states passed and enforced laws during and after Reconstruction

       against both open and concealed carrying of firearms. Public officials are not required to pass

       such laws, of course, but historically, they have always had the ability to do so, beginning with

       the generation that authored, ratified, and first interpreted the Second Amendment and

       continuing through the generation that authored, ratified, and first interpreted the Fourteenth

       Amendment. There is no evidence in the historical record to suggest that they took their

       decisions lightly when they imposed these restrictions on weapons and armed voluntary

       organizations.

              47.       The prevalence of impulsive firearms suicides and homicides is a recent

       phenomenon, caused by changes in technology that emerged from the mid-nineteenth century

       through the late twentieth century. Those changes prompted citizens and their elected

       representatives to support waiting period laws for the purchase of firearms. Public officials today

       are confronting criminological and sociological problems that did not exist in the Founding Era.

             I declare under penalty of perjury that the foregoing is true and correct to the best of my

       knowledge.



                                Executed on December 19, 2024, in Franklin County, Ohio.




                                                                    Randolph Roth




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                                                HOUSE OF REPRESENTATIVES
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                                                       AUGUSTA, MAINE 04333-0002                      EXHIBIT 1
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                                                          TTY: MAINE RELAY 711
            Kristen Cloutier
         Assistant Majority Leader
                33 Charles St.
            Lewiston, ME 04240
           Phone: (207) 807-1637
     Kristen C1outier@1egislature rnaine gov
                                                                                                     March 7, 2024
                                Testimony ofRep. Kristen Cloutier in support of
         LD 2238, An Act to Address Gun Violence in Maine by Requiring a Waiting Period for Certain
                                              Firearm Purchases
                               Before the Joint Standing Committee on Judiciary

     Good morning Senator Carney, Representative Moonen and distinguished members of the Judiciary
     Committee. My name is Kristen Cloutier and I represent House District 94, which includes part of my
     hometown of Lewiston. I am writing to you as a cosponsor and supporter ofLD 2238, An Act to Address
     Gun Violence in Maine by Requiring a Waiting Period for Certain Firearm Purchases.

     The goal of LD 2238, a sensible piece of legislation, is to save lives through the establishment of a 72-hour
     waiting period.

     Waiting periods are designed to prevent individuals who pose an immediate threat to themselves or others
     from the impulsive purchase and use of a firearm.

     Specifically, this bill would require a 72-hour waiting period between an agreement for the purchase and sale
     of a firearn1 and the delivery of that firearm to the purchaser. The measure includes certain exemptions for
     sales to law enforcement officers, to individuals who need a firearm for employment in security and to
     federally licensed firearms dealers.

     While Maine's suicide death rate dropped from 19.5 per 100,000 in 2021 to 17.7 per 100,000 in 2022, it
     remains the second-highest rate in New England. Similarly, violent crimes including assault and robbery
     were down in 2021, but Maine's 2022 murder rate is the highest it has been since 2008 at 2.2 per 100,000
     residents. Research shows that proposals such as this one work, and it's one that has support among non-gun
     owners and gun-owners alike.

     A 2019 study found that Americans routinely underestimate public support for gun safety measures
     including waiting periods. Nationally, 85% of non-gun owners and 72% of gun owners support mandatory
     waiting periods for firearms purchases.

     By requiring a 72-hour waiting period before the purchase of a firearm, we have the opportunity to
     significantly reduce both suicides and homicides. Thank you for your time and consideration.

     Sincerely,

      ~
     Kristen Cloutier

                                               District 94: Part of Lewiston




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                                                 HOUSE OF REPRESENTATIVES
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        Margaret Craven                                     TTY: Maine Relay 711
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 Margaret. Craven@! egislature.maine. gov
                                                                                             March 7, 2024

                         Testimony ofRepresentative Margaret Craven in support of
            LD 2238, an Act to Address Gun Violence in Maine by Requiring a Waiting Period for
                                        Certain Firearm Purchases
                                      Before the Judiciary Committee

         Good afternoon, Senator Camey, Representative Moonen and honorable members of the
         Judiciary Committee. My name is Margaret Craven, and I represent House District 93, which is
         part of Lewiston. I am here today to speak in strong support of LD 2238, an Act to Address
         Gun Violence in Maine by Requiring a Waiting Period for Certain Firearm Purchases.

         In the 129th Legislature, we passed a bill that requires the Maine CDC to keep track of the
         incidences of injury and deaths from firearms in the state. In 2021, there were 178 deaths from
         firearms in Maine, two of which were accidental, 17 were homicides and 158 were suicides. One
         death was deemed, "undetermined." These numbers come from the 2021 CDC report, which is
         attached, and the 2023 report should be published soon. Suicide is the second-leading cause of
         death for ages 10 to 34 and the third-leading death for Mainers 35 to 44.

         If these deaths were caused by just about anything besides gun violence, people would be quick
         to do something to rectify it. The gun lobby seems to have some kind of magic to be able
         to convince people that access to guns is not the problem, but I say access to guns is the problem.

         According to the Pew Research Center, and the US CDC, there were more deaths from firearms
         in the US in 2021 than in any other year on record.

         Gun violence is an epidemic. Gun violence is a public health threat. According to the American
         Psychiatric Association, an overwhelming 87% of Americans think gun violence is a public
         health threat 1. In 2016, the American Medical Association, our country's largest physicians'
         group, adopted a formal policy calling gun violence a public health crisis. 2

         We all know that the human brain does not mature until well into a person's 20s. Young people,
         especially when experiencing despair or hopelessness, are impetuous and can lack the maturity to
         make good decisions.

         Behaviorally-informed gun policy has the potential to reduce violence without imposing new
         restrictions on anyone's right to own a gun. Waiting periods are effective, and they are also




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       supported by a majority of Americans and roughly 50% of gun owners3 . Waiting periods do not
       restrict gun ownership, they create a window of time in which someone in crisis could get the
       help they need. It's been proven in states that enacted waiting periods that it reduces the
       incidents of suicide.

       Eleven states have some form of a waiting period to purchase a firearm. They are VT, RI, NJ,
       MD, IL, MN, WA, CO, CA, HI, FL and the District of Columbia.

       Thank you for your time. I am happy to answer any questions you have for me.


          1. https://www.psychiatry.org/newsroom/news-releases/americans-ovenvhelmingly-see­
             gun-vio1 ence-as-a-pu blic-health-issue-they-want-congress-to-act-and-cdc-to-conduct­
             research
          2. https://wv•.r,v.ama-assn.org/press-center/press-releases/ama-calls-gun-violence-public­
             health-crisis
          3. https ://behavioralscientist.org/the-case-for-handgun-waiting-periods/




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                                     STATE OF MAINE
                                HOUSE OF REPRESENTATIVES
                                       SPEAKER'S OFFICE
                                     AUGUSTA, MAINE 04333-0002
                                                                                     EXHIBIT 3
                                           (207) 287-1300
RACHEL TALBOT ROSS
 SPEAKER OF THE HOUSE
                         Testimony of Speaker Rachel Talbot Ross supporting
          LD 2224, An Act to Strengthen Public Safety by Improving
              Maine's Firearm Laws and Mental Health System
                                                  and
            LD 2238, An Act to Address Gun Violence in Maine by
          Requiring a Waiting Period for Certain Firearm Purchases
                           Before the Joint Standing Committee on Judiciary



       Good morning Senator Carney, Representative Moonen and esteemed members of the
       Joint Standing Committee on Judiciary. I am Representative Rachel Talbot Ross of
       Portland. I represent House District 118 which is the Portland peninsula and I have the
       distinct honor of serving as the Speaker of the House. I stand before you today to offering
       my steadfast support of both LD 2224, An Act to Strengthen Public Safety by Improving
       Maine's Firearm Laws and Mental Health System and LD 2238, An Act to Address Gun
       Violence in Maine by Requiring a Waiting Period for Certain Firearm Purchases.

       Without a doubt, you will be hearing from a diverse and varied group of Mainers today.
       The issue of common-sense gun safety reforms, especially in light of the Lewiston
       tragedy, has elevated the urgency of this conversation. You will hear today and in the
       coming weeks from constituents, elected officials, first responders, the local and federal
       government, gun safety advocates, gun owners, sportsmen, hunters, and public health
       experts.

       To use your time most judiciously, I will leave the policy overview and the technical
       details to the sponsor, Sen. Rotundo and share my own personal experience with these
       long overdue reforms.

       In 1977, my father, the Honorable Gerald Talbot, proposed legislation to enact a three-
       day waiting period for handgun purchases in Maine. At that time, the weapon causing the
       most harm was the "Saturday Night Special" - one of the small, easily concealed
       weapons that were believed to be at the root of many street crimes in the 1970s.




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       The amount of damage those guns could do in a short amount of time pales in
       comparison to the damage inflicted by the weapons readily available today. Increases in
       caliber, ammunition capacity, firing rate and range have made deadly weapons of war
       immediately accessible with lethal consequences both in Maine and across the country.

       In the following years, gun violence in all its forms has become a significant public
       health crisis. It poses a serious threat to the well-being and safety of individuals and
       communities, and its impact, often felt for generations, extends beyond just physical
       injuries. Gun violence can result in loss oflife and permanent disability, as well as long-
       lasting psychological and emotional trauma for survivors, families, witnesses, and the
       healthcare providers who care for the victims.

       In addition to supporting the bills before you today, I also provided testimony on LD
       2086 An Act to Amend the Law Governing the Disposition of Forfeited Firearms.
       Combined with my proposal, LD 2237, An Act to Strengthen Public Safety, Health and
       Well-being by Expanding Services and Coordinating Violence Prevention Resources, we
       have the opportunity to pass a suite of legislation to protect Mainers and reduce the risk
       of gun-related incidents.

       47 years later, one of the initiatives in this comprehensive package is the very same
       answer that my father proposed. A 72-hour waiting period. And we have the same
       reasons for supporting this common-sense legislation. This reform could help prevent so
       many people from making a terrible, tragic, life-changing decision. Give them time to
       cool off. To get the help they need.

       The goal is to save lives, and research shows that these policies work. The American
       Academy of Pediatrics found that states with waiting periods experienced 51 percent
       fewer firearm suicides than states without these policies. Another study found that states
       that adopted waiting period laws experienced a 17 percent decrease in homicides and a
       six percent decrease in suicide.

       According to the Maine CDC, suicide is the fourth leading cause of death for Mainers
       between the ages of 15-54. In 2021, 277 Mainers died by suicide- more than half
       involved a firearm.

       Governor Mills' legislation creates another layer of protection by extending the National
       Instant Criminal Background Check System (NICS) to advertised, private sales and




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                                                                                                           EXHIBIT 4
    Peggy Rotundo                                 THE MAINE SENATE                                       3 State House Station
    Senator, Dist1ict 21                            131 st Legislature                                  Augusta, Maine 04333




                                      Testimony introducing
     LD 2238, "An Act to Address Gun Violence in Maine by Requiring a Waiting Period for Certain
                                        Firearm Purchases"

                                                              And

     LD 2224, "An Act to Strengthen Public Safety by Improving Maine's Firearm Laws and Mental
                                           Health System"

                                                  Senator Peggy Rotundo
                                                      March 7, 2024

    Senator Carney, Representative Moonen and friends and colleagues on the Committee on Judiciary, my
    name is Peggy Rotundo and I represent Senate District 21, the City of Lewiston. I am here today to
    introduce two bills: LD 2238, "An Act to Address Gun Violence in Maine by Requiring a Waiting
    Period for Certain Firearm Purchases" and LD 2224, "An Act to Strengthen Public Safety by Improving
    Maine's Firearm Laws and Mental Health System."

    First I would like to talk about LD 2238, which, as its title suggests, will require a 72-hour waiting
    period between an agreement for the purchase and sale of a firearm and the delivery of that firearm to
    the purchaser. The bill does not apply to sales to law enforcement officers, people employed as
    corrections
            .   officers or guards whose .jobs require carrying a firearm, or other firearm dealers. Violating
    this waiting period would be a civil offense, with the punishment being a fine between $200 and $500;
    the penalty following a second violation would result in a fine of between $500 and $1,000.

    The purpose of requiring a waiting period is to provide the purchaser with a "cooling off' period. It is to
    help protect the purchaser from acting on a short-lived impulse - suicide or homicide -that may have
    inspired the purchase in the first place. Nine states have similar laws on the books and three more
    employ waiting periods for certain types of firearms.

   The goal is to save lives, and research shows that these policies work. The American Academy of
   Pediatrics found that states with waiting periods experienced 51 percent fewer firearm suicides than
   states without these policies. Another study, published in the publication Proceedings of the National
   Academy of Sciences, found that states that adopted waiting period laws experienced a 17 percent
   decrease in homicides and a 7 to 11 percent decrease in suicide.




                                          Chair, Appropriations and Financial Affairs Co111111ittee
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                                 Peggy.Rollmdo@legislature.maine.gov * /eg1slature.mai11e.govlsenate



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     According to the Centers for Disease Control (CDC), suicide is the fourth leading cause of death for
     Mainers between the ages of 15 to 54. In 2021, 277 Maine people died by suicide in Maine. More than
     half involved a firearm. Enacting waiting periods in Maine could make a meaningful difference in
     suicide rates and could save lives.

     This bill can't and won't prevent all homicides and suicides. No piece oflegislation can. It can, however,
     lessen gun violence in general in the state and help to save lives and create safer and healthier
     communities.

     The same can be said for LD 2224, the Governor's bill. It is a thoughtful approach to addressing gun
     violence and mental health care. I am honored to sponsor this bill and am happy to provide details to you
     on what it does.

     The Governor's bill creates an Injury and Violence Prevention Program within the CDC. The program
     will be a clearinghouse for information and data from all over Maine to help us understand and prevent
     future incidents of violence. The more we know about the causes of these kinds of violence, the better
     we can adapt and prevent them in the future.

     As Chair of the Appropriations Committee, I am pleased to note that the Governor's proposed
     Supplemental Budget includes $1 million to fund this initiative.

     The bill also establishes a network of crisis receiving centers throughout Maine. These centers provide
     care for people suffering a mental health crisis. They are proven alternatives to the hospital emergency
     room or jail, which are common destinations for people who are experiencing these crises. The first of
     these centers opened in Portland just over two years ago. In the last year, over 170 people have visited
     the center in order to help resolve a mental health crisis.

     The bill contains plans for a center to be created in Lewiston and I am pleased that there is $1.4 million
     in the Supplemental Budget to fund its construction and staffing. This bill also directs the Department of
     Health and Human Services to develop a statewide plan to build centers throughout Maine in the future.

     LD 2224 would also strengthen Maine's extreme risk protection law. As we learned after the mass
     shooting in Lewiston, law enforcement officers had been unable to take the assailant, Robert Card, into
     custody and initiate our extreme risk protection law to confiscate his weapons. This bill addresses gaps
     in that law by allowing law enforcement to get a judge's approval, in unusual circumstances, to take a
     person into protective custody for a mental health assessment. If a law enforcement officer has made
     reasonable efforts to tal<:e the person into custody but has been unable to do so, and the officer can
     establish probable cause that the person has a mental illness and presents a likelihood of serious harm
     due to access to weapons, the court will issue a protective custody warrant.

     LD 2224 also expedites a judge's weapons restriction order, making sure the order is sent quickly from
     the courts to the State Bureau of Identification. This way the state database which is utilized by the
     National Instant Criminal Background Check System (NICS) can be updated as soon as possible,
     helping to ensure that a prohibited person will not be able to purchase a weapon. The bill will also
     extend statutory deadlines for court processes in order to provide District Attorneys additional time to
     prepare for hearings.




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   Under current law, a person may not purchase a weapon from a federally licensed firearm dealer when
   that person's name is entered into NICS. They may, however, be able to purchase a weapon in a private
   sale. The bill address this issue by requiring any sale of a firearm that is advertised to be checked against
   NICS.

   Additionally, this bill makes it easier to successfully prosecute anyone who sells a gun to someone who
   is not allowed to have one via private and unadvertised sales. The current crime of knowingly selling a
   firearm to someone who is a prohibited person - a misdemeanor - would be expanded by adding the
   term "recklessly" to intentionally or knowingly, making it a stronger standard and making it easier to
   successfully prosecute these sellers. It also makes that type of illegal sale a felony - not just a
   misdemeanor.

   The bill does not change the tradition of transferring a firearm to a relative or a friend who they know is
   allowed to own one. But it would mean that anyone selling a firearm to a stranger should have to visit a
   licensed firearm dealer to check the NICS system, and make sure they are not a prohibited person.

   Please know that Department of Public Safety Commissioner Mike Sauschuck is on hand to answer
   questions about this bill.

   I come from a community with broken hearts and shattered lives, a community where many people are
   still afraid to go out in public, a community where there are families that worry when their children go
   off to school, and wonder if those children will come home safely at night. As a legislator, I cannot do
   anything to bring back the lives of the grandparents, parents, children, friends and neighbors who lost
   their lives on October 25, nor can I miraculously heal those people that were terribly injured in the mass
   shooting, or take away the grief and pain that the families of the victims and survivors live with daily.
   What I can do is to do everything in my power as a legislator to put laws in place that help reduce the
   level of gun violence in our state and that make our communities safer places to live and work. That is
   why I am here today presenting these two bills to you and why I thank you for the serious consideration
   I know you will give these bills.

   I appreciate the Governor's leadership on this issue and look forward to working with her and others to
   find smart, effective solutions to protect the people of Maine. I am confident we can keep people safe
   while respecting the rights of responsible gun owners. I am confident we can get there by working hard
   and by working with respect, sensitivity, patience and compassion. We owe this to our children so they
   can go to school without fear. We owe this to Maine families so they can go out to a movie or to a
   restaurant without fear. We owe this to the memories of those people we lost on October 25th in
   Lewiston and to the loved ones they left behind. Thank you.

   I am happy to answer questions and I will note again that Commissioner Sauschuck is also here to
   answer questions about the Governor's bill.




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                                                                                             EXHIBIT 5
                                                   HOUSE OF REPRESENTATIVES
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                  Morgan Rielly
           16 Blue Spruce Farm Road, Apt #6
                 Westbrook, ME 04092
                Phone: (207) 228-5767
           Morgan.Rielly@legislature.maine.gov


                                                                                           March 13, 2024

                                Testimony of Rep. Morgan Rielly in support of
           LD 2238, An Act to Address Gun Violence in Maine by Requiring a Waiting Period for
                                         Certain Firearm Purchases
                              Before the Joint Standing Committee on Judiciary

         Dear Senator Camey, Representative Moonen and distinguished members of the Joint Standing
         Committee on Judiciary:

         My name is Morgan Rielly, and I represent House District 127, which includes part ofmy
         hometown of Westbrook. I am pleased to cosponsor and write in support ofLD 2238, An Act to
         Address Gun Violence in Maine by Requiring a Waiting Period for Certain Firearm
         Purchases.

         Waiting periods are designed to prevent individuals who pose an immediate threat to themselves
         or others from the impulsive purchase and use of a firearm, and currently, in our state, we need to
         support the passage of LD 2238. According to the CDC, suicide is the fourth leading cause of
         death for Mainers between the ages of 15-54. Most gun deaths in Maine are by suicide.

         The American Academy of Pediatrics found that states with waiting periods experienced 51
         percent fewer firearm suicides than states without these policies. Another study found that states
         that adopted waiting period laws experienced a 17 percent decrease in homicides and a six
         percent decrease in suicide.

         We need to stop and ask ourselves why people need access to firearms quickly. If we have the
         ability to allow our law enforcement more time to run thorough background checks on those
         purchasing firearms, and in that process, have the ability to save the lives of community
         members who are second guessing taking their own life or the lives of others, we must support
         LD 2238.

         Thank you for your time and consideration of this bill.



                                                 District 127: Westbrook




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                                                                                             EXHIBIT 6
                 131st Legislature                                                  Senator Eloise Vitelli
                                                                                  Senate Majority Leader
                Senate of                                                           3 State House Station
                                                                                 Augusta, ME 04333-0003
                 Maine                                                              Office (207) 287-1515

               Senate District 24

                                   Testimony of Senator Eloise Vitelli supporting
           LD 2238, An Act to Address Gun Violence in Maine by Requiring a Waiting
                             Period for Certain Firearm Purchases
                                 Before the Joint Standing Committee on Judiciary
                                                   March 7, 2024

         Senator Camey, Representative Moonen, and Esteemed Members of the Joint Standing
         Committee on Judiciary, my name is Eloise Vitelli, and I proudly represent Senate District 24,
         which includes all of Sagadahoc County and Dresden. Today I offer testimony in support of LD
         2238, "An Act to Address Gun Violence in Maine by Requiring a Waiting Period for Certain
         Firearm Purchases."

         As the Senator who represents Bowdoin, I have joined our community in grieving a quadruple
         homicide. There have been instances, such as these, where our gun laws have not protected
         Mainers. That's why it's clear we need to examine our state laws, find the gaps in our safety
         nets, and do all we can to help keep people safe.

          This is a crucial moment in our state's history, and we are here to meet that moment. It will take
          all of us working together and listening compassionately to chart a path forward. This bill
          represents the first step.

          LD 2238 would require a 72-hour waiting period between an agreement for the purchase and sale
          of a firearm and the delivery of that firearm to the purchaser. The measure includes certain
          exemptions for sales to law enforcement officers, to individuals who need a firearm for
          employment in security and to federally licensed firearm dealers.

          Waiting periods are designed to prevent individuals who pose an immediate threat to themselves
          or others from the impulsive purchase and use of a firearm. The goal is to save lives, and
          research shows that these policies work.

          The American Academy of Pediatrics found that states with waiting periods experienced 51
          percent fewer firearm suicides than states without these policies. Another study found that states
          that adopted waiting period laws experienced a 17 percent decrease in homicides and a six
          percent decrease in suicide.



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         According to the Maine CDC, suicide is the fourth leading cause of death for Mainers between
         the ages of 15-54. In 2021, 277 Mainers died by suicide -more than half involved a firearm.

         Thank you for your consideration and time. At this time, I will do my best to answer any
         questions you may have.


         &-;ve
         Eloise Vitelli
         Senate Majority Leader, Senate District 24
         Sagadahoc County and Dresden




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                                                              HOUSE OF REPRESENTATIVES
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     Sam.Zager@legislature.maine.gov

                                                       Testimony in support of

           LD 2238, An Act to Address Gun Violence in Maine by Requiring a Waiting
                            Period for Certain Firearm Purchases

                                                                March 7, 2024

          Senator Camey, Representative Moonen, and esteemed Judiciary committee members, thank you
          for hearing this bill. My name is Representative Sam Zager, and I represent District 116, Part of
          Portland, where I also practice family medicine.

          As this committee is well aware, this 3-day waiting period bill is one of severe proposals under
          consideration this session regarding firearm violence. No right under the US or Maine
          Constitution is absolute, and the Supreme Court of the United States in the Heller and Bruen
          decisions allows for tailored approaches to regulating firearms. There has to be a compelling
          public interest.

          To consider the public interest, we should first examine the scope and type of problem we have:
          more American children die each year involved with a firearm than a motor vehicle. See Figure 1
          of this article published in the medical journal Pediatrics by Dr. Bailey Roberts and co-authors
          two months before the Lewiston tragedy. 1 In addition to showing that firearms being the #1
          killer of American children, they also pointed out the problem is worsening: "From 2018 to
          2021, there was a 41.6% increase in the firearm death rate [among children]." We ought to be
          able to reduce the number of children dying in this manner. These numbers and trends constitute
          a public health crisis.

          In the face of public health crises, public policy and collective solutions have a remarkably good
          track record. Consider a public health crisis of the 20 th century: annual US deaths due to motor
          vehicles had nearly tripled in the 25 years from 1943 to 1968. Then, the federal
          government mandated the installation of seatbelts. 2 Motor vehicle deaths in this country reached
          56,000 per year in 1972, approximately the same number of deaths in the entire Vietnam War. It
          took another 25 years for actual seatbelt usage to reach a majority (54% in 1994). There were also

          1 https://publications.aap.org/pediatrics/article/152/3/e2023061296/ 193 711/Trends-and-Disparities-in-Firearm-Deaths-

          Among?autologincheck=redirected
          2 https://www.ghsa.org/issues/seat-belts




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        other government steps (e.g. speed limits and drunk driving enforcement), and citizen campaigns
        to change people's behaviors (e.g. Mothers Against Drunk Driving, MADD). The net effect was
        more than a 50% reduction in per capita motor vehicle fatalities (roughly 20,000 fewer Americans
        dying each year). Americans realized that we could make driving safer without taking away
        driving. Similarly, we can reduce deaths from firearms, while still respecting the Second
        Amendment right to well-regulated firearm possession and usage. As with motor vehicle
        accidents, we just have to decide we want to do something to save lives.

        When it comes to the 72-hour waiting period in this bill, there actually is good evidence that it
        would save lives. Michael Luca et al published a study in the Proceedings of the National
        Academies of Science in 2017. They found in a natural experiment, caused by the temporary
        implementation of the Brady Bill, that waiting periods reduce gun suicides by 6% and homicides
        by 17%. 3

        This bill addresses an imp01iant issue of firearm fatalities, a large and growing problem, in a way
        that has been demonstrated to reduce both suicides and homicides. I urge the committee to support
        it.

        Thank you for your service and attention.




        3 https://www.pnas.org/doi/epdf/10.1073/pnas.1619896114




                                                    District 116: Portland (part)




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  American Academy                         133                      EXHIBIT 8
  of Pediatrics
  DEDICATED TO THE HEALTH OF ALL CHILDREN®




      Waiting Periods for Firearms Purchases




Overview
Under current federal law, there is no waiting period requirement for the purchase of guns.
Waiting period laws give law enforcement additional time to perform an accurate background
check and create a "cooling off" period to prevent acts of violence or suicide attempts. If sold
from a federally licensed dealer, a gun can be transferred to a purchaser before a proper
background check is performed. However, the laws do not apply to private dealers in states that
do not require universal background checks.

Waiting periods can reduce the number of prohibited people from purchasing guns, along with
those who purchase a firearm with the intent of suicide. Waiting periods are an under-utilized,
evidence-based strategy for reducing death and injuries.

AAP Position
  •   The AAP is committed to protecting children from firearm-related injury and violence.

  •   The absence of guns in home and communities is the most reliable and effective measure
      to prevent firearm-related injuries in children and adolescents.

  •   The AAP supports a number of specific measures to reduce the destructive effects of guns
       in the lives of children and adolescents, including the manufacture, sale, purchase,
       ownership, storage, and use of firearms.

  •    Other measures aimed at regulating the access of guns should include mandatory waiting
       periods, closure of the gun show loophole, and mental health restrictions for gun
       purchasers.



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      mortality rate.

  •   According to several studies, suicide survivors contemplated their actions in a very brief
      window of time. Waiting periods could help address this period of impulsive behaviors.

  •   Waiting period laws have proven to lower the rates of suicide. States with such laws had
      51% fewer firearm suicides than states without. Another study showed that these states
      also experienced a 17% decrease in gun homicides. Over 900 firearm homicides could be
      prevented each year if every state implemented waiting periods.

  •   Over 70% of Americans without a firearm in the home support longer waiting periods for
      gun purchases.



 Progress
  •   6 states and DC- impose waiting periods for purchases of all firearms

  •   1 state- imposes waiting periods for purchases of handguns & assault weapons

  • 4states-impose waiting periods for handguns only


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For information on current law or pending legislation in your state, please contactAAP State
Advocacy at ggQl!(~~P..:!Q!

More
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     Handgun waiting periods reduce gun deaths                                                                                                         EXHIBIT 9
     Michael Lucaa· 1 , Deepak Malhotraa, and Christopher Poliquina
     •Harvard Business School, Boston, MA 02163

     Edited by Philip J, Cook, Duke University, Durham, NC, and accepted by Editorial Board Member Kenneth W. Wachter September 21, 2017 (received for review
     December 3, 2016)

     Handgun waiting periods are laws that impose a delay between                 also suggest that waiting periods reduce gun homicides by 17%.
     the initiation of a purchase and final acquisition of a firearm. We          The results of both analyses confirm a large and robust effect of
     show that waiting periods, which create a "cooling off" period               waiting periods on homicides. We also find a negative effect of
     among buyers, significantly reduce the incidence of gun violence.            waiting periods on suicides,,but the magnitude and statistical sig-
     We estimate the impact of waiting periods on gun deaths, exploit-            nificance of the suicide effect vary across model specification.
     ing all changes to state-level policies in the Unites States since
     1970. We find that waiting periods reduce gun homicides by                   Data and Research Design
     roughly 17%. We provide further support for the causal impact                We construct a panel of every change to waiting period laws in
     of waiting periods on homicides by exploiting a natural experi-              the United States between 1970 and 2014, which we obtained from
     ment resulting from a federal law in 1994 that imposed a tempo-              state statutes and session laws. We combine these changes with
     rary waiting period on a subset of states.                                   annual data on firearm-related deaths from the Centers for Disease
                                                                                  Control and Prevention, Fig. 1 shows the number of states with
     gun policy   I gun violence I waiting period I injury prevention             waiting periods over time. Overall, 44 states (including the District
                                                                                  of Columbia) have had a waiting period for at least some time

     M       ore than 33,000 people die in gun-related incidents each
             year in the United States, accounting for as many deaths as
     motor vehicle accidents (1). This is concerning both in absolute
                                                                                  between 1970 and 2014. Exploiting the significant geographic and
                                                                                  temporal variation in the adoption of waiting periods, we imple-
                                                                                  ment a difference-in-differences framework to estimate the causal
     terms and in comparison to other developed countries, all of which           impact of waiting periods on gun deaths. Essentially, we compare
     have lower rates of gun violence (2). For example, if the United             changes in firearm-related deaths within states that adopted waiting
     States could lower its firearm death rate to that of Finland (the high-      periods with changes in firearm-related deaths in other states. We
     income country with the second highest rate), roughly 20,000 fewer           control for changing economic and demographic factors that may
     people would die from guns every year, However, there has been no            be correlated with higher levels of gun violence or with the decision
     meaningful reduction in the US firearm-related death rate for more           of lawmakers to adopt policies that delay gun purchases,
     than a decade. Moreover, evidence about which policies would be                 To support our causal interpretation, we then restrict the
     effective at reducing violence remains limited (3), and the types of         analysis to the period from 1990 to 1998, during which federal
     bills that are enacted depend on the political party in power (4).           policy forced many states to implement waiting periods. The Brady
        One avenue for reducing gun deaths is to draw on insights from            Handgun Violence Prevention Act (hereinafter "Brady Act"),
     behavioral economics and psychology, which suggest that delaying             which went into effect in February 1994, required background
     gun purchases, even for a short time, might be an effective policy tool.     checks on handgun purchases from licensed firearm dealers and
     Visceral factors, such as anger or suicidal impulses, can spur people to     created a 5-d waiting period to allow sufficient time for the check.
     inflict harm on others or themselves, but tend to be transitory states       Although it was a federal policy, the Brady Act only created new
     (5, 6). For example, Card and Dahl (7) find that there is a 10% in-          waiting periods for 19 states, since some states already required a
     crease in domestic violence following an upset loss of the local Na-         background check and waiting period, and some implemented an
     tional Football League team, Moreover, behaviors triggered by such           "instant check" system that allowed for nearly immediate back-
     visceral states can be contrary to longer term self-interest (5, 6).         ground checks (thereby obviating the need for a waiting period).
        Delaying a gun purchase could create a "cooling off' period               We provide further details regarding the Brady Act and affected
     that reduces violence by postponing firearm acquisitions until after         states in Identifying Policy Changes and Materials and Methods.
     a visceral state has passed. Increasing the time it takes to acquire a
     gun might also close the window of opportunity for would-be                    Significance
     perpetrators of violence to use their weapons. Finally, a manda-
     tory delay has the potential to deter purchases among people who                Waiting period laws that delay the purchase of firearms by a few
     have malevolent, but temporary, motivations for owning a firearm.               days reduce gun homicides by roughly 17%. Our results imply
        This article explores the impact of ''waiting period" laws on                that the 17 states (including the District of Columbia) with waiting
     firearm-related homicides and suicides using 45 y of data on law                periods avoid roughly 750 gun homicides per year as a result of
     changes and mortality at the state level in the United States. A                this policy. Expanding the waiting period policy to all other US
     waiting period is a mandatory delay between the purchase and                    states would prevent an additional 910 gun homicides per year
     delivery of a gun; it requires purchasers to wait, typically between          - without imposing any restrictions on-who can~own a gun.---
     2 and 7 d, before receiving their weapons. We exploit plausibly
     exogenous temporal and geographic variation in waiting period laws           Author contributions: M,L, O.M., and C.P. designed research, performed research, ana-
     to implement a difference-in-differences approach that identifies            lyzed data, and wrote the paper,
     the causal impact of waiting periods on homicides and suicides.              The authors declare no conflict of interest,
        We find that waiting periods cause large and statistically sig-           This article Is a PNAS Direct Submission, P.J,C. Is a guest editor invited by the Editorial
     nificant reductions in homicides. Point estimates using our full             Board.
     45-y sample and all waiting period changes imply a 17% reduction             This Is an open access article distributed under the PNAS license.
     in gun homicides, We provide further evidence of a causal re-                See Commentary on page 12097,
     lationship between waiting periods and lower homicide rates                   1To whom correspondence should be addressed, Email: mluca@hbs.edu,

     based on a natural experiment in which federal law imposed                   This article contains supporting information on line at www.pnas.org/lookup/suppl/doi: 10,
     waiting periods on a subset of states. Estimates from this analysis          1073/pnas, 1619896114/-/DCSupplemental.


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                                                         Number of States with Waiting Periods and Background Checks
                                       50

                                                                                            Brady
                                                                                           Interim
                                       40



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                                 f                             Waiting Period
                                 j 20
                                 (J)




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                                       1970 1975   1980  1985  1990  1995   2000  2005  2010  2015

     Fig. 1. States with handgun waiting periods and background checks on dealer sales from 1970 to 2015. Many states were required to implement these
     policies during the Brady interim period between February 1994 and November 1998 (shaded gray). Following prior research (8), Alabama and Ohio are
     coded as not requiring background checks after the Supreme Court's decision in Printz v. United States. Not all states had waiting periods during the
     Brady interim period because they implemented or already had an instant background check system that obviated the need for a waiting period to
     investigate gun buyers.
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     Results                                                                          per year for a state with an average number of gun deaths. Waiting
     We begin by examining the effect of waiting periods across the                   periods also lead to a 7-11 % reduction in gun suicides (depending
     full sample period from 1970 to 2014. The results of Table 1 show                on the control variables used in the specification), which is
     that waiting periods are associated with a 17% reduction in gun                  equivalent to 22-35 fewer gun suicides per year for the average
     homicides. This effect is equivalent to ~36 fewer gun homicides                  state. The results in Table 1 use a log-linear specification; we


                          Table 1.      Effects of handgun waiting periods and background checks on violence, 1970-2014
                                                                                1970-2014                                       1977-2014

                          Type of violence                           (1)                             (2)                            (3)

                          All homicide
                            Waiting period                  -0.127 (0.059)**               -0.137 (0.059)**                 -0.132 (0.050)**
                             Background check                                               0.049 (0.082)                    0.025 (0.081)
                          Gun homicide
                            Waiting period                  -0.188 (0.077)**               -0.187 (0.086)**                 -0.186 (0.071)**
                             Background check                                              -0.004 (0.103)                    0.022 (0.107)
                          Non-gun homicide
                            Waiting period                  -0.016 (0.051)                 -0.048 (0.060)                   -0.035 (0.037)
                             Background check                                               0.153 (0.076)**                  0.036 (0.057)
                          All suicide
                            Waiting period                  -0.047 (0.021)**               -0.070 (0.023)***                -0.024 (0.011)**
                             Background check                                               0.113 (0.061)*                   0.023 (0.020)
                          Gun suicide
                            Waiting period                  -0.097 (0.034)***              -0.120 (0.031)***                -0.074 (0.017)***
                             Background check                                               0.111 (0.073)                    0.029 {0.028)
                          Non-gun suicide
                            Waiting period                  -0.017 {0.038)                 -0.058 (0.059)                   -0.006 (0.033)
                            Background check                                                0.199 (0.072)***                 0.084 (0.031)**

                             Coefficients represent the effects of waiting periods and background checks on the natural logarithm of
                          deaths per 100,000 adult residents. All models inciude state and year fixed effects. Models 1-2 include only the
                          policy variables shown. Model 3 follows the specification of Ludwig and Cook (8) and includes alcohol consump-
                          tion, poverty, income, urbanization, black population, and seven age groups. Model 3 uses fewer years of data
                          due to missing control variables in earlier years. Summary statistics for all variables are included in Table S1. The
                          1970-2014 period includes 2,295 state-year observations; the model for gun homicides omits three state-years,
                          and the model for non-gun homicides omits two state years because the death count was zero and the model is
                          specified with a logged dependent variable. Similarly, the 1977-2014 period includes 1,938 state-years, but omits
                          two state-years for gun homicides and one state-year for non-gun homicides. SEs, shown in parentheses, are
                          clustered by state. Alternative model specifications presented in Tables 57 and 58 are not logged and include all
                          state-years. *P < 0.10; **P < 0.05; ***P < 0.01.


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     present models with state-specific trends, models linear in the rate             17 fewer suicides per year for the average state). Both results are
     of violence, and Poisson models as part of Tables S3 and S5. The                 robust across models with and without controls for state-level
     conclusion that waiting periods reduce gun homicides is robust                   economic and demographic changes. Notably, exploiting the
     across all specifications. The conclusion regarding suicides is ro-              Brady Act as a natural experiment produces similar estimates as
     bust to all specifications except those that include state-specific,             the longer sample period from 1970 to 2014.
     linear trends (Table S3). Both conclusions are robust across                        Tables 1 and 2 also show that waiting periods have no signifi-
     models with and without controls for state-level economic and                    cant effect on non-gun homicides, suggesting that people subject
     demographic changes. We also investigate the robustness of the                   to waiting period laws do not substitute other means of commit-
     results to the exclusion of individual states in Fig. S1.                        ting homicide. This is consistent with other research (9) finding no
        To further support the hypothesis that waiting periods lead to                increase in non-gun homicides in response to policies restricting
     a reduction in gun homicides, we then focus on a natural ex-                     access to firearms. Results for non-gun suicides, however, are less
     periment created by the Brady Act, a federal law that forced                     clear; some specifications suggest partial substitution toward non-
     some states to adopt new waiting period and background check                     gun methods of suicide in response to handgun waiting periods.
     policies between 1994 and 1998. Ludwig and Cook (8) also use
     the Brady Act to study whether background checks and waiting                     Discussion
     periods affect violence. They compare "Brady states" that were                   Our results show that waiting periods reduce gun homicides.
     subject to the Brady Act with "Brady-exempt states" that were                    Waiting periods for gun purchases are supported not only by the
     not. However, some states that were classified as Brady states                   American Medical Association but also by a majority of Amer-
     already had waiting periods and background checks before the                     icans and a majority of gun owners (10, 11). Our point estimates,
     Brady Act, and other states chose to implement an "instant"                      based on 45 y of data, suggest that the 17 states (including the
     background check system instead of requiring a waiting period.                   District of Columbia) with waiting periods as of 2014 avoid
     As a result, the coding of Brady states in the study by Ludwig and               ~750 gun homicides. Expanding the waiting period policy to
     Cook (8) fails to capture all states that had preexisting waiting                states that do not currently have it would prevent an additional
     periods. In contrast, we precisely code which states had waiting                 910 gun homicides per year. Waiting periods would therefore
     periods (before 1994) and which implemented waiting periods                      reduce gun violence without imposing any restrictions on who
     only because of the Brady Act. In total, our coding differs from                 can own a gun.
     theirs for 16 states. This additional accuracy allows us to assess
     the causal impact of waiting periods resulting from the Brady                    Materials and Methods
     Act. The full list of differences between our coding and prior re-               Our main specifications are of the form:
     search, along with supporting citations, can be found in Table S4.
        We find that waiting periods led to large and statistically sig-
     nificant reductions in gun violence (Table 2) during the Brady                   where r;1 is the natural logarithm of the rate of violence (homicides or sui-
     interim period. Specifically, the results of column 3 of Table 2                 cides) per 100,000 adult residents, W;1 is an indicator for handgun waiting
     show that waiting periods implemented during the Brady interim                   periods and B;t is an indicator for whether background checks are required
     years resulted in a 17% reduction in gun homicides. This is                      for dealer handgun sales. We include an indicator variable for background
     equivalent to roughly 39 fewer homicides per year for the aver-                  checks on handgun purchases from licensed firearm dealers because a major
     age state. There was also a 6% reduction in gun suicides (i.e.,                  source of policy variation in our dataset (the Brady Act) also affected


                            Table 2.    Effects of handgun waiting periods and background checks on violence, 1990-1998
                                                                                       Brady period, 1990-1998

                            Type of violence                          (1)                          (2)                           (3)

                            All homicide
                              Waiting period                   -0.073 (0.084)              -0.130 (0.077)*               -0.145 (0.060)**
                              Background check                                              0.091 (0.064)                 0.010 (0.053)
                            Gun homicide
                              Waiting period                   -0.103 (0.093)              -0.179 (0.087)**              -0.181 (0.068)**
                               Background check                                             0.120 (0.080)                 0.033 (0.065)
                            Non-gun homicide
                              Waiting period                   -0.019 (0.068)              -0.035 (0.064)                -0.072 (0.050)
                              Background check                                              0.025 (0.044)                -0.043 (0.039)
                            All suicide
                              Waiting period                   -0.016 (0.021)              -0.022 (0.023)                -0.036 (0.020)*
                               Background check                                             0.009 (0.022)                -0.007 (0.019)
                            Gun suicide
                              Waiting period                   -0.039 (0.024)              -0.053 (0.028)*               -0.066 (0.021)***
                               Background check                                             0.023 (0.028)                -0.003 (0.024)
                            Non-gun suicide
                              Waiting period                    0.050 (0.021)**              0.035 (0.022)                 O.Q18 (0.022)
                               Background check                                              0.024 (0.023)                 0.009 (0.018)
                               Coefficients represent the effects of waiting periods and background checks on the natural logarithm of
                            deaths per 100,000 adult residents. All models include state and year fixed effects. Models 1-2 include only the
                            policy variables shown. Model 3 follows the specification of Ludwig and Cook {8) and includes alcohol consump-
                            tion, poverty, income, urbanization, black population, and seven age groups. Summary statistics for all variables
                            are included in Table S2. The sample includes 459 state-year observations for all models. SEs, shown in paren-
                            theses, are clustered by state. *P < 0.10; **P < 0.05; ***P < 0.01.


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     background check policies. As seen in Tables 1 and 2, the estimated impact               sales, and an additional five states have permitting systems for private and
     of background checks depends on model specification. We also incorporate                 dealer sales that result in a delay of firearm purchases. Forty-four states have
     time-varying state-level control variables that may influence rates of gun               had a handgun waiting period at some point since 1970, although
     violence (8), X1t, including alcohol consumption, poverty, income, urbaniza-             19 implemented the policy only due to the Brady Act's interim provisions, in
     tion, black population, and seven age groups. Summary statistics for these               effect from February 1994 to November 1998. These provisions required
     variables are included in Tables S1 and S2. The 111 and -It parameters repre-            local law enforcement agencies to conduct background checks on handgun
     sent state and year fixed effects. These fixed effects control for stable, state-        purchases from licensed firearm dealers and required a 5-d waiting period to
     specific factors affecting violence and time-varying factors that affect all             conduct the check. Some states already required background checks and/or
     states identically. It is impossible to control for all time-varying, state-specific     waiting periods before the Brady Act, and were therefore not affected by
     factors that affect gun violence. For example, policing tactics, drug use, and           the new law, but other states were forced to adopt a new waiting period
     environmental factors such as lead exposure might not have changed uni-                  due to the federal policy change. When the permanent provisions of the
     formly across states over time and may also affect violence. However, the                Brady Act took effect on November 30, 1998, the federal waiting period
     consistency between our estimates during the short (Brady interim) period                requirement was replaced with an instant background check system [the
     and the longer period (including all waiting period changes since 1970)                  National Instant Criminal Background Check System (NICS)). As a result,
     supports our interpretation of the results. The model parameters are esti-               many states discarded their waiting periods after 1998 because the NICS
     mated via least squares weighted by state population. We then calculate the              eliminated the need for a waiting period to investigate purchasers' back-
     percentage effect of waiting periods on violence using the estimator de-                 grounds. We use the subset of waiting period changes that resulted from
     scribed by Kennedy (12).                                                                 the Brady Act as a natural experiment to provide further support for our
        We code a state as having a waiting period if it imposes any mandatory                analysis of the full sample period from 1970 to 2014.
     delay on the purchase of a handgun or has a permitting system for dealer and                 Although nine states have also had a waiting period on long-guns (i.e.,
     private sales. (In Table SS, we estimate models with a separate control var-             rifles and shotguns) sometime since 1970, we focus on handgun waiting
     iable for handgun permit systems and show that the effect of waiting pe-                 periods because handguns account for 70-80% of firearm homicides (13) and
     riods is not limited to states with permitting systems.) Currently, 10 states            because a major source of variation in our data, the Brady Act's interim
     and the District of Columbia impose an explicit waiting period on handgun                period, only affected handgun sales.


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 Executive Committee                                                                                                             EXHIBIT 10
 President                           March 7, 2024
 Laura Blaisdell, MD, MPH, FAAP

 Vice President
 Brian Youth, MD, FAAP               Subject: Testimony in Support of LO 2238, "An Act to Address Gun
                                     Violence in Maine by Requiring a Waiting Period for Certain Firearm
 Treasurer                           Purchases"
 Christopher Matyi, DO, FAAP

 Secretary
 Genevieve Whiting, MD, FAAP         Senator Carney, Representative Moonen, and distinguished members of the
 Immediate Past President
                                     Committee on Judiciary, my name is Joe Anderson. I am a resident of
 Deborah Q. Hagler, MD, MPH,         Portland, a pediatric hospitalist in Lewiston, and I serve on the board of the
 FAAP                                Maine Chapter of the American Academy of Pediatrics. I am here to express
                                     our support for LO 2238, "An Act to Address Gun Violence in Maine by
 Board of Directors
                                     Requiring a Waiting Period for Certain Firearm Purchases."
 Mahmuda Ahmed, MD, FAAP
 Joseph Anderson, DO, FAAP           The Maine Chapter of the AAP is a professional organization representing over
 Amy Buczkowski, MD, FAAP            275 pediatricians and pediatric subspecialists working together to further our
 Melissa Burch, MD, FAAP
 Adrienne Carmack, MD, FAAP          mission to improve the lives of children and adolescents in Maine. Waiting
 Gabriel Civiello, MD, FAAP          periods are a prevention method for any impulsive act involving a firearm,
 Anne Coates, MD, FAAP               including both firearm suicide as well as intentional gun violence. We know
 Alyssa Goodwin, MD, FAAP            that in Maine, most gun deaths (upwards of 90%) are suicides, not homicides.
 Dan Hale, MD, FAAP
 Jessica Iyer, MD*                   Some may wonder why pediatricians feel the need to implement a waiting
 Jennifer Jewell, MD, MS, FAAP       period for firearm purchases as a suicide prevention tool, when in Maine, you
 Stephanie Joy, MD, FAAP             must be 18 years old to purchase a firearm.
 Emily Keller, MD, FAAP
 Alton Kremer, MD, PhD, FAAP
 Michele LaBotz, MD, FAAP            Often, we think of suicide in terms of the singular life lost - and certainly that is
 Maria Libertin, MD*                 the most identifiable and significant consequence. However, the impact of
 Lawrence Losey, MD, FAAP            suicide on our pediatric community, especially the suicide of trusted adults in
 Valerie O'Hara, DO, FAAP
 Gita Rao, MD, FAAP
                                     their lives, is significant. Experiencing suicide in the family and exposure to
 Sydney Sewall MD, MPH, FAAP         firearm violence are both independent adverse childhood experiences, which
 Austin Steward**                    are correlated with long-term negative health consequences.
 Jeffrey Stone, DO, FAAP
 Mary Tedesco-Schneck, PhD, NP
 Andrea Tracy, MD, FAAP              Suicide deaths by firearm are on the rise in Maine, as highlighted in the chart
 Jyotika Vallurupalli**              below. In 2021, 56% of those deaths involved a firearm.

 *Resident Board Representatives                              Suicide Deaths by Firearm in Maine
 **Medical Student Representatives
                                                                         2001- 2020 1
· Staff
                                      160
 Dee Kerry, BSEd                      140
 Executive Director                   120
 Emily Belanger, RN, BSN              100
 Project Coordinator                   80

 Tiffany Harrington, MBA               60
 Development Director                  40
 30 Association Drive, Box 190         20
 Manchester, ME 04351                   0
 office: 207-622-337 4                      2001   2003        2005          2007          2009         2011       2013   2015    2017   2019
 www.maineaap.org



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                          Waiting periods are an under-utilized, evidence-based strategy for reducing
                          death and injuries by firearms. Waiting periods give law enforcement sufficient
                          time to perform an accurate background check, and additionally create a
                          "cooling off" period to prevent acts of violence or suicide attempts. States with
                          such laws had 51 % fewer firearm suicides than those without. Over 70% of
                          Americans without a firearm in the home support longer waiting periods for gun
                          purchases. 2

                          Although a similar proposal was considered in 2023 and was ultimately
                          unsuccessful, we believe that recent events have been a turning point - for our
                          citizens and our elected representatives - to reconsider means of reducing
                          suicides and gun violence in our state. This waiting period is not intended to
                          infringe upon the rights of responsible gun owners, but rather to encourage
                          responsibility and ensure that the decision to purchase a firearm is made with
                          careful consideration and full awareness of the potential risks. We hope you
                          will vote ought to pass on this important piece of legislation which introduces a
                          temporary delay in firearm acquisition in order to prevent a permanent loss of
                          life via suicide or an act of gun violence.

                          Sincerely,

                            1~~
                          Joe Anderson, DO, FAAP
                          Advocacy Chair, Maine Chapter of the American Academy of Pediatrics


                          1 Maine CDC Report to the Legislature pursuant to 22 MRS, Ch. 256-A § 1425




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                                                                                   EXHIBIT 11
                       Maine Medical

                        TESTIMONY OF THE MAINE MEDICAL ASSOCIATION
                                           AND
                             THE MAINE OSTEOPATHIC ASSOCIATION

                                            IN SUPPORT OF

         LD 2224 - An Act to Strengthen Public Safety by Improving Maine's Firearm Laws and
                                        Mental Health System
                                                 and
        LD 2238 - An Act to Address Gun Violence in Maine by Requiring a Waiting Period for
                                     Certain Firearm Purchase


      Joint Standing Committee on Judiciary
      Room 438, State House, Augusta, Maine
      Thursday, March 7, 2024

      Good afternoon Senator Carney, Representative Moonen, and Members of the Joint
      Standing Committee on Judiciary. My name is Paul Cain, M.D., and I am a retired orthopedic
      surgeon and the President of the Maine Medical Association. I am submitting this
      testimony in support of LD 2224 - An Act to Strengthen Public Safety by Improving
      Maine's Firearm Laws and Mental Health System and LD 2238 - An Act to Address Gun
      Violence in Maine by Requiring a Waiting Period for Certain Firearm Purchase on behalf
      of the Maine Medical Association and the Maine Osteopathic Association.

      The Maine Medical Association (MMA) is a professional organization representing more
      than 4,000 physicians, residents, and medical students in Maine. MMA's mission is to
      support Maine physicians, advance the quality of medicine in Maine, and promote the
      health of all Maine people. The Maine Osteopathic Association (MOA) is a professional
      organization representing more than 1,200 osteopathic physicians, residents, and medical
      students in Maine whose mission is to serve the Osteopathic profession of the State of
      Maine through a coordinated effort of professional education, advocacy, and member
      services in order to ensure the availability of quality osteopathic health care to the people
      of this State.

      MMA and MOA have chosen gun safety reform as a priority issue for our Associations
      because we cannot continue to ignore one of America's most serious public health crises.
      Deaths by firearms have increased significantly in the last few years including homicide,
      suicide, and accidents. In 2020, firearms became the leading cause of death among our
      children from 1 to 19 years of age-eclipsing motor vehicle accidents, cancer, drug

                                                                                                 1




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      overdoses, suffocation, and drownings. 77% of homicides and more than 50% of suicides
      are the result of a firearm. One half of the murders of women are committed by a current
      or former intimate partner or spouse. Surely this is not what our forefathers imagined
      when they codified the right to bear arms in our Constitution.

      We, the physician caregivers for more than a million Mainers, stand up to end this
      mayhem through the passage of sensible firearm safety laws in Maine. The physicians of
      Maine are dedicated to the health and well-being of our communities. We take our role in
      advancing public health measures seriously. We have no choice: because we are on the
      front lines of caring for patients affected by gun-related injuries every day.

      Before I end, I wanted to note a few specific items about the two bills in front of you today.

      As to LD 2238, we support a waiting period because the medical community frequently
      participates in difficult conversations with patients about how a life event might cause
      them to be at a heightened risk of harm, both to themselves and others. Suicide is the 4th
      leading cause of death among 15-54 year old people in Maine, one of the highest rates in
      the country. LD 2238 would put a buffer between that person's emotions and impulses
      and an action that would not just hurt themselves but cause a ripple of loss throughout
      the entire person's community. We know this works because it can reduce firearm suicide
      rates by 7-11 %. 1 Saving just one life is worth the temporary inconvenience of needing to
      wait to purchase a firearm.

      As to LD 2224, we support the majority of the bill including strengthening background
      checks. Howeve1~ we just have a couple of suggestions and ultimately believe we should be
      implementing a red flag law.

      We would suggest amending section three of the bill to add §395 (3) (C) - "For the
      purpose of preventing imminent death or serious physical injury, and the provision lasts
      only as long as is necessary to prevent the death or serious physical injury." This is based
      on language out of Oregon and recognizes that there might be a situation where someone
      acknowledges that they need a pause from firearms in their home and this would allow
      them to give those firearms to a trusted individual for a temporary period of time. We
      should be encouraging and creating space in the law for that self recognition.

      We would also suggest amending section seven because the current law and this
      amendment would only allow firearms to be removed after taken into protective custody
      and a medical professional has identified foreseeable harm. This is problematic for a
      number of reasons including

            •   The standard for taking someone into protective custody is high and it is a severe
                loss of liberty for the individual. Although an extreme risk protection order/ red
                flag law sounds more intense, it would actually provide a path to a less severe


      1
          https://www.pnas.org/doi/10.1073/pnas.1619896114

                                                                                                   2




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                 intervention that can be responsive to less severe situations where a person poses
                 a risk but it's not as certain as to what their next steps might be.
             •   The current law and amendment would only allow law enforcement officers to
                 make the determinations that someone ought to be taken into protective custody.
                 Family members, community members, coworkers should be able to make a
                 petition to a court for extreme risk protection and not rely on law enforcement.

      We wanted to note our concern with continuing to rely on the yellow flag law as the one
      tool to protect the community from harm. At its core, physicians and other healthcare
      professionals' job is to build relationships with our patients so we can get them the best
      possible care. Putting health care professionals in the position of determining our
      patients' Second Amendment rights puts them at odds with building relationships with
      their patients. This should only be done in special circumstances like in the scope of a
      forensic psychiatric evaluation and not somewhere like the emergency department room
      by an ER doctor. If the State does want to place this responsibility on health care
      professionals then they should provide immunity to the clinician.

      Ultimately, we believe many of these points can be resolved by passing an extreme risk
      protection order /red flag law. We would be happy to discuss this more with the committee
      members but we would recommend reviewing Gifford's Law Center resources around
      these types of laws.2

      I practiced orthopedic surgery in Lewiston-Auburn for over 30 years and raised our
      family there. I know many of the victims of the mass shooting that took place there. This
      tragedy has shook our community and shattered our feeling of safety. How many people
      now avoid public gatherings or feel uncomfortable sending their children to schools? We
      need to do better. I am also a gun owner and responsible hunter, but I believe in limits to
      my Second Amendment Rights.

      Thank you for considering the support of Maine's physician community about L.D. 2224
      and LD 2238. Sensible gun safety reform needs to happen. We cannot wait for another
      one of our patients to die. We urge an "ought to pass" vote on both of these bills. I would
      be happy to respond to any questions you may have.

      Thank you,
      Paul Cain, M.D.

      Please contact Anne Sedlack, Director of Advocacy at the Maine Medical Association and
      Maine Osteopathic Association if you need to get in touch with me for any further
      questions




      2
          https: //giffords. org/lawcente r/gun-laws/pol icy-a reas/who-can-have-a-gu n/extreme-ris k-protecti on-orders/.

                                                                                                                             3




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                                                                                                        EXHIBIT 12
                                                                                                     101 Western Ave.
                                                                                                         P.O. Box 5188
                     The Maine Coalition                                                       Augusta, ME 04332-5188
                     to End Domestic Violence                                                            207,430.8334




                                       Testimony of Francine Garland Stark
                         In Support of LD 2238: 11 An Act to Address Gun Violence in Maine
                          by Requiring a Waiting Period for Certain Firearms Purchases"
                               Before the Joint Standing Committee on Judiciary
                                             Thursday, March 7, 2024

                 Senator Carney, Representative Moonen, and members of the Joint Standing
         Committee on Judiciary, I am writing on behalf of the Maine Coalition to End Domestic
         Violence (MCEDV) 1 in support of LD 2238 1 "An Act to Address Gun Violence in Maine by
         Requiring a Waiting Period for Certain Firearms Purchases." What MCEDV and our network
         of services providers would like Maine policymakers to understand on this issue is that the
         codification of a waiting period in connection to firearms in Maine will not cause domestic
         violence victims to be less safe.

                An abusive partner's access to firearms makes it five times more likely that a victim of
         domestic abuse will be killed. 2 Domestic violence assaults involving a gun are twelve times
         more likely to result in death than those assaults involving other weapons or bodily
         force.3 Abusers who possess guns tend to inflict the most severe abuse on their partner. 4
         These things are true without regard to who the actual owner of the firearm is.

                In Maine, firearms are the primary method abusers use to kill their current or former
         intimate partners; accounting for 62% of all of intimate partner violence homicides between
         2000 and 2019.5 In the cases reviewed for its 2020 report, Maine's Domestic Abuse Homicide
         Review Panel noted that approximately half (5 of 12) of the perpetrators who killed their
         intimate partner went on to commit suicide.



         1
           MCEDV serves a membership that includes Maine's eight regional domestic violence resource
         centers (DVRCs) across the state, as two culturally specific service providers. Last year, these programs
         together served more than 121000 Maine survivors of domestic abuse and violence and their children.
         2
           JC Campbell, et al., "Risk Factors for Femicide in Abusive Relationships: Results from a Multistate Case Control
         Study, American Journal of Public Health 93, no. 7 (2003).
         3 Saltzman, L. E., Mercy, J. A., O'Carroll, P. W., Rosenberg, M. L., & Rhodes, P. H. (1992). Weapon involvement

         and injury outcomes in family and intimate assaults. JAMA, 267(22), 3043-3047.
         4 JC Campbell, et al., "Risk Factors for Femicide in Abusive Relationships: Results from a Multistate Case Control

         Study, American Journal of Public Health 93 1 no. 7 (2003).
         5 2020 Domestic Abuse Homicide Review Panel Report.




                                                                 Connecting people, creating frameworks for change.
                                                                                                               mcedv.org




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                 Maine's Homicide Review Panel has recommended that bystanders who become
         aware that victims have acquired firearms understand that the presence of firearms may
         lead to increased danger for victims and that these bystanders take immediate steps to
         connect that person with Maine's domestic violence resource centers to explore high risk
         safety planning. The US Supreme Court has even noted the connection between access to
         guns and femicide. In US v. Castleman (2014), the Court observed, "This country witnesses
         more than a million acts of domestic violence, and hundreds of deaths from domestic
         violence, each year. Domestic violence often escalates in severity over time, and the
         presence of a firearm increases the likelihood that it will escalate to homicide ... '[A ]II too
         often... the only difference between a battered woman and a dead woman is the presence
         of a gun.111

                 Advocates from the domestic violence resource centers in Maine do not advise
         victims to obtain a firearm as part of their safety plan. This is because, as noted above,
         statistically, the victim is more likely to have it used against them than to find it helpful in
         defending themselves from the person abusing them. Of course, if a victim has a firearm or
         wants to have a firearm as part of their safety plan, our resource centers will support that,
         including making sure the survivor is aware of the heightened risk that comes with that
         choice. A waiting period would not impede efforts of survivors who see acquisition of a
         firearm as integral to their safety, as there are services in place that can help survivors be
         safe during that waiting period. For example, if a victim tells an advocate that they don't
         feel safe in their house without a firearm, and it turns out that they need to wait 3 days to
         get that firearm, our centers can either directly shelter, or arrange for temporary lodging in
         a hotel (in their community or in another community) until that person has what they have
         determined they need to be safe in their home.

                Implementation of a 72-hour waiting period on the purchasing of a firearm would
         reduce the likelihood of impulsive acts of lethal violence. Domestic violence homicide has
         devastating impact on surviving family members and on whole communities. MCEDV urges
         you to take this important step towards decreasing impulsive acts of gun violence by
         enacting this reasonable waiting period on gun purchase. Thank you for the opportunity to
         share our knowledge and perspective on this important issue. Please do not hesitate to let
         me know if we can be of assistance as this conversation continues.


         Contact Information:
         Francine Garland Stark, Executive Director
         Maine Coalition to End Domestic Violence (MCEDV)
         Email: francine@mcedv.org




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                                                                                   EXHIBIT 13
       Maine Association of sychiatric Physicians


       Testimony of David Moltz, MD
       To the Joint Standing Committee on Judiciary
       129th Maine State Legislature
       March 7, 2024

       Senator Carney, Representative Mooney, and Distinguished Members of the Judiciary
       Committee,

             My name is David Moltz, MD, and I live in Portland, Maine. I am here today
       representing the Maine Association of Psychiatric Physicians, in support of LD 2238.

       As a psychiatrist I am far too familiar with the problem of preventing suicide. A fact that
       is frequently overlooked in discussions of gun violence is that 89% of deaths by gun in
       Maine are suicides. More than half of suicide deaths in Maine are by gun. And this is
       because suicide attempts by gun are lethal 85% of the time, compared, for instance,
       with drug overdose, which is lethal only 3-5% of the time.
               Impulsiveness plays a part in many suicide attempts. In one study, 70% of
       people who survived serious suicide attempts said that the time between when they
       thought of suicide and when they attempted it was less than one hour, and 24% said it
       was less than 5 minutes. In that brief time, if a gun is available it will be used, and when
       you use a gun, there is no chance for second thoughts.
               This impulsivity is why it is vital to legislate a waiting period, such as 72 hours,
       before a gun can be purchased. It allows a cooling-off period, time to have second
       thoughts and to change your mind before acting. And it doesn't interfere with second
       amendment rights. You still get to have your gun; you just have to wait a few days to
       get it. But those few days may mean the difference between life and death.
               On behalf of the Maine Association of Psychiatric Physicians I urge you to save
       lives by voting "ought to pass" for LD 2238. Thank you.

       David Moltz, MD
       Chair, Clinical Practice Committee
       Maine Association of Psychiatric Physicians
       207-650-1017
       dmoltz2@gmail.com




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                                                                                                         EXHIBIT 14
     Janet T. Mills                                                          Maine Department of Health and Human Services
     Governor                                                                l\faine Center for Disease Cont1·ol and Prevention
                                                                                                               286 Water Street
                                                                                                    Augusta, Maine 04333-0011
     .Jeanne M. Lambrew, Ph.D.
                                                                                       Tel; (207) 287-8016; Fax (207) 287-9058
     Commissioner
                                                                                                  TTY: Dial 711 (Maine Relay)



                                           REPORT TO THE LEGISLATURE

       TO:            Joint Standing Committee on Health and Human Services
       FROM:          Maine Center for Disease Control and Prevention, Maine DHHS
       DATE:          February 2023
       RE:            Report pursuant to 22 MRS, Ch. 256-A §1425



        INTRODUCTION AND BACKGROUND

        Pursuant to 22 MRS § 1425, the Maine Center for Disease Control and Prevention (Maine CDC) at
        the Maine Department of Health and Human Services (DHHS) submits this second annual report
        representing the available data for firearm-related deaths and hospitalizations occurring in Maine
        from January 2021 through December 2021 as provided to Maine CDC by its partners, including
        Maine Health Data Organization (MHDO), the Office of the Medical Examiner and the Maine
        Department of Public Safety (DPS). Additional sources of data specific to incidents involving the
        use of a fireann and information beyond the scope of this legislative report mandate have been
        identified and these include, but are not limited to: Maine's Violent Death Reporting System,
        Maine's Domestic Violence and Homicide Review Panel and National Electronic Injury
        Surveillance System-All lnjllf'J Program (NEISS-AIP).

        FIREARM FATALITIES: OVERALL
                                                                                  Fireann Fatalities 2021
        In Maine in 2021, there were 178 deaths by firearms.
        Of these deaths, 2 were unintentional, 17 were
        homicides, 158 were suicides. There was one death
        where the manner could not be determined.


                      Firearm Fatalities by Category
                                      2020                2021
              Suicide             132 85.7%         158     88.7%
              Homicide             19 12.3%          17     9.6%
              Unintentional        3   1.9%          2       1.1%
              Undetennined          0   0%            1      .6%
                  Total                154 ,              178
              Categories are determined by the Office of the Chief Medical
              Examiner.
                                                                                     • Suicide       • Homicide
                                                                                     • Unintentional • Undetermined




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        UNINTENTIONAL FIREARM FATALITIES

        Unintentional firearm fatality is a case of a person's death caused by a firearm discharging
        unintentionally.

              Unintentional Deaths by Firearm
                       by Age Group
             Age Group      2020         2021
                <15           0            2
               15-24          1            0
               25-34          1            0
               35-44          0            0
               45-54          0            0
               55-64          1            0
                65+           0            0
               Total          3            2
        Source: Maine Center for Disease Control and Prevention,
        Maine Office ofData, Research and Vital Statistics, Death certificate data

         HOMICIDE

         In 2021, there were 17 firearm-related homicides in Maine. Of these deaths, more than 1 in 3 were
         domestic violence (DV) homicides. According to Maine's Domestic Violence Homicide Review
         Panel, about 40% of domestic violence homicide perpetrators use a firearm to kill their victim.

                              Homicides by Firearm                               Notes: Firearm homicide data were run
                                 by Age Group                                    from the death records filed and
                                 2020                          2021              registered with Data, Research, and Vital
                                                                                 Statistics, and compared with the Maine
              Age                         DV                         DV          State Police Report on homicides, found
                            Total                      Total
             Group                      (subset)                   (subset)
                                                                                 on their website 2021 Annual Homicides
              <15             0             0            0             2         IMaine State Police). The Office of Chief
             15-24            4             1             1            0         Medical Examiner provided input on
             25-34            5             1            7             0         records not found on the State Police
             35-44            3             1             2            0         website.
             45-54            1             0            6             0         The following ICD 10 codes were used to
             55-64            5             3             1            0         identify firearm deaths: W32, W33, W34,
              65+             1             1            0             0         X72, X73, X74, X94, X95, Y22, Y23, Y24,
             Total            19            7            17            6         Y35, and U0l4

          Source: Maine Vital Records, Maine CDC, Department ofHealth and Human Services,
          Maine State Police, Department ofPublic Safety, and the Office of ChiefMedical Examiner,
          Maine Attorney General's Office.

         Beginning January 2022, DPS will implement a revised data collection form to require law
         enforcement agencies to submit additional data elements for firearm-related incidents occurring
         January 1, 2022 and after.


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      SUICIDE

      Suicide is the fourth leading cause of death among those ages 15-54 years old in Maine 1. In 2021, 277
      Mainers died by suicide. Of these deaths, 56% (n=158) used a fireann. Men are more likely to die by
      suicide using a fireaim than women. Most suicide deaths that involved a firearm occurred among
      individuals older than 25 years of age.

            Number of Suicides b v- Firearm                  Notes: Suicide related deaths are defined as deaths of
         Age Group     2020            2021                  Maine residents for which the underlying cause of death
            <25          13              14                  was coded as ICD-10 U03 X60-X84 or Y87.0.
           25-44        33              56
           45-64        44              52
            65+         42              36
         2021 Total     132             158
       Data Source: Maine death certificates, Maine CDC Data, Research and Vital Statistics

       FIREARM-RELATED HOSPITALIZATIONS

      In 2021, there were 54 fireaim-related injuries that resulted in hospitalization in Maine, an increase
      from 39 in 2020. Of these, 48 (89%) were among men; 17 (31%) were among those aged 25-34 years.
      Most firearm-related injury hospitalizations were due to accidental discharge of a firearm, followed
      by assault by fireann.

         Non-fatal Firearm-related Hospital Discharges by Firearm-related Cause                        Notes: Data include
                          Cause of Iniury                 2020          2021                           MaineNon-
         Accidental discharge or malfunction of firearm    15            24                            F ederal/Non
                                                                                                       Psychiatric Acute
         Intentional self-harm by fireaim                   8            10
                                                                                                       Care Hospital
         Assault by firearm                                14            17                            Discharges with
         Terrorism involving fireaims                       0             0                            Principal Diagnosis
         Firearm discharge of undetennined intent           1             0                            ofinjmy and
         Legal intervention involving fireaim discharge     1             3                            firearm-related
         Total                                             39            54                            secondary diagnosis
                                                                                                       or injmy cause code
       Data Source: Maine Health Data Organization Hospital Inpatient Database 2021

    RELATED RESOURCES

    The U.S. Center for Disease Control and Prevention publishes data on causes of nonfatal injury via
    Web-based Injury Statistics Query and Reporting System (WISQARS) Nonfatal, providing data from
    the National Electronic Injury Surveillance System-All Injury Program (NEISS-AIP)2. The NEISS-AIP
    data provides information about types of nonfatal injuries in U.S. hospital emergency departrnents, how
    common they are, who they affect, and what causes them.
    1 Centers for Disease Control and Prevention, National Centers for Injury Prevention and Control. Web-based Injmy

    Statistics Query and Reporting System (WISQARS) (2021). Available at: www.cdc.gov/injury/wisgars
    2 https://wisgars.cdc.gov/data/non-fatal/home




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                                 CERTIFICATE OF SERVICE

                Pursuant to Fed. R. App. P. 25(d), I, Christopher C. Taub, Chief Deputy

       Attorney General for the State of Maine, hereby certify that on this, the 28th day of

       April, 2025, I filed the above Appendix electronically via the ECF system. I further

       certify that on this, 28th day of April, 2025, I served the above Appendix

       electronically on the following party, who is an ECF Filer, via the Notice of Docket

       Activity:

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                                                  s/ Christopher C. Taub
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